              IN THE CIRCUIT COURT OF PLATTE COUNTY,                                    MI~~ ~2 2: ~
                                                                                                SAf•JDHA L. DOWD
                                                                                         Clerk of the Circuit Court Platte County, MO
JAMES S. ALLEN, JR.

                                Plaintiff,

vs.                                                  Case No. J3~L-C.VCtX;

PIA ASSETS, LLC,                                     Division No.                   I J
                                                                                -----""==--
RP GOLF, LLC,

                               Defendants.

                                             PETITION

        Plaintiff James S. Allen, Jr., through his undersigned counsel, states as follows:

                                         INTRODUCTION

        1.     Plaintiff James S. Allen, Jr. ("Allen"), along with other partners, held a majority

interest in companies (including Defendant RP Golf, LLC) that owned large-scale investment

properties, including the golf courses, residential lots and country clubs at the National and Loch

Lloyd, as well as several commercial properties.           Allen oversaw the operations of these

properties.

       2.      In October 2006, there was a sale and restructuring of these companies and Neal

Patterson and Cliff Illig became majority owners. Specifically, the parties created PIA Assets,

LLC as a new holding company of the investment properties. After the transaction, Patterson

and Illig were majority Class A shareholders. Allen remained as a minority Class A shareholder

and president of Defendant PIA Assets, LLC. Allen's former partners became Class B

shareholders with no role in the operation of the properties.

       3.      Leading up to the restructuring, Plaintiff loaned money to RP Golf to fund the

day-to-day operations of the entities that were eventually consolidated under PIA.



                                             EXHIBIT
                                                           exhibitsticker.com




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         4.       It was agreed that these loans would be repaid as a part of the October 6, 2006

transaction. But the loans were not repaid at the closing of the transaction and the parties agreed

that the loans would be repaid at a later date.

         5.       These loans were authorized by RP Golfs Board of Managers.

         6.       Prior to January 1, 2008, these loans were on the balance sheets of RP Golf with

accruing interest.

         7.       In 2008, PIA created loans in favor of Allen in the principal amount of$817,585.

         8.       PIA's financial statements reflect the liability with a twenty percent internal rate

of return with a maturity date of February 2012.

        9.        The loans have never been repaid.

                                              PARTIES

         10.      Plaintiff James S. Allen, Jr. is a resident of Parkville, Missouri.     Allen owns

13.5% ofthe Class A shares of Defendant PIA Assets, LLC.

         11.      Defendant PIA Assets, LLC ("PIA") is a Missouri limited liability company

with its principal place of business at 8878 NW 63rd Street, Parkville, Platte County, Missouri.

PIA owns and manages The National Golf Club of Kansas City, The National II (Deuce) Golf

Club, Parkville Commons shopping district and Loch Lloyd Country Club, among other

properties. PIA may be served with process by serving its Registered Agent in Kansas City,

Jackson County, Missouri.

         12.      Defendant RP Golf, LLC is a Missouri limited liability company with its

principal place of business at 8878 NW 63rd Street, Parkville, Platte County, Missouri. RP

Golf holds 100% of the interests in clubs, golf courses and developments at the National. PIA

owns RP Golf. RP Golf may be served with process by serving its Registered Agent in Kansas

City, Missouri.

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                                  JURISDICTION AND VENUE

         13.    This Court has personal jurisdiction over Defendants pursuant to Missouri

Revised Statutes Sections 506.500(1) and/or 506.500(3) because the cause of action herein

asserted arises from Defendants' transaction of business within the State of Missouri and/or

Defendants' making of a contract within the State of Missouri.

         14.    Venue is proper in this county pursuant to Missouri Revised Statutes Section

508.010 because PIA has at all times material and presently does maintain and keep an office and

agent for transaction of its usual and customary business in Platte County, Missouri and the cause

of action accrued, at least in part, in Platte County, Missouri.

                                               FACTS

         15.    In 2006, Plaintiff Allen, along with two partners Jim Watson and Jack Manning,

controlled multiple large scale real-estate investment properties, including Parkville Commons,

the National (including residential lots, the golf courses ("The National" and "The Deuce") and

the country club), and Loch Lloyd (including residential lots, the golf course, and the country

club).

         16.    In October 2006, Allen, Watson and Manning entered into an agreement with two

of their investors, Neal Patterson and Cliff Illig, to restructure the management and control of

these significant assets.

         17.    Under the terms of their agreement, Manning and Watson gave up their majority

shares and all rights to control the assets to Patterson, Illig, and Allen in exchange for a regular

stream of payments. Manning and Watson became "Class B" shareholders of the newly-formed

PIA Assets, LLC.

         18.    PIA Assets, LLC (named for Patterson, Illig and Allen), was formed to own and

manage the investment properties.

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         19.     PIA is a holding company. Its primary assets are ownership interests in the assets

previously held by PANDI Development LLC, Allen, and Watson and Manning.

        20.      Since the formation of PIA, Patterson and Illig, along with Allen, were elected

and have served as the Managing Members of PIA. Patterson and Illig were replaced as

managing members in December 2012. The three were and are Class A shareholders of PIA.

Patterson and Illig share 86.5% of the Class A shares; Jim Allen holds 13.5%.

        21.      Patterson and Illig's interests in PIA are held by PANDI Development, LLC.

        22.      Allen signed an employment agreement in 2006 to serve as President of PIA.

        23.      Prior to October 2006, when Watson, Manning, Allen, Illig and Patterson were

negotiating the terms of the transaction, Plaintiff made loans to entities that controlled the

investment properties involved in the transaction. These loans were necessary to fund day-to-day

operations of the entities, such as utilities, payroll and tax payments.

        24.      All loans were approved by RP Golfs board of managers.

        25.      At the closing of the transaction in October 2006, PIA took over RP Golf and all

of its assets.

                 Plaintiff's Loans Were Reflected on the Balance Sheets of PIA

        26.      Plaintiffs loans were then reflected on the balance sheets of Defendant RP Golf,

LLC from 2006 to 2008. The loans were accruing interest.

        27.      In 2008, PIA transferred the balance ofthe debts to PIA's books.

        28.      The December 31, 2008, Balance Sheet of PIA Assets, LLC reflects Plaintiffs

loans as four Notes Payable to Plaintiff. These Notes are categorized as "Long Term Liabilities."

        29.      One Note Payable is reflected as payable to Jim and Nancy Allen for

$173,118.42.



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         30.    A second Note Payable is labeled "JSA #1" and reflected as payable to Jim Allen

for $301,024.22.

         31.    A third Note Payable is labeled "JSA #2" and reflected as payable to Jim Allen

for $127,007.37.

         32.    A fourth Note Payable is labeled "JSA #3" and reflected as payable to Jim Allen

for $216,435.79.

         33.    All four ofthese notes to Plaintiff remained on PIA's balance sheets through 2011

for the same amounts as they appeared on the December 31, 2008 Balance Sheet.

         34.    Upon information and belief, all four of the notes are currently on PIA's balance

sheet.

               Plaintiff's Loans are Reflected in Other PIA Company Documents

         35.    In a PIA document labeled "Notes Receivable Reconciliation as of December 31,

2011," the four notes payable to Plaintiff are consolidated as one note payable in the amount of

$817,585.00. This amount matches the total amount of the four notes payable that appeared on

PIA's balance sheets from 2008-2011.

         36.    PIA is listed as the borrower on the note payable to Allen for $817,585.00. The

Note has a maturity date of February 2012 at a 20% internal rate of return.

         37.    Plaintiffs loans are also reflected in a document titled "Amended and Restated

Employment Agreement" dated January 1, 2010.

         38.    In March 2012, counsel for Plaintiff sent a letter to counsel for PIA demanding

repayment of Plaintiffs loans in full.

         39.    In response, counsel for Defendants produced a document titled "Amended and

Restated Employment Agreement that referenced a note in favor of Jim Allen in the amount of

$900,000.

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         40.    Additionally, counsel for Defendants produced a note signed by Cliff Illig in the

amount of$817,585.00 with a 20% internal rate of return and a maturity date of January 1, 2013.

        41.     As of the date of this Petition, Plaintiffs loans have not been repaid.

                                     COUNT I
                      ACTION TO COLLECT ON PROMISSORY NOTE

         Plaintiff incorporates herein by reference the statements and allegations contained in

the paragraphs above as though more fully and completely set forth herein.

        42.     Defendants are in default to Plaintiff under the terms and conditions of the loan

from Plaintiff as reflected in the financial statements of PIA Assets, LLC.

        43.     The loan is in the principal amount of$817,585.00 with a 20% rate of return.

        44.     The amount is due and owing.

        45.     Defendants have failed to make any payments despite the demand to do so by

Plaintiff.

        46.     Defendants have refused to make any payments, refused to cure the default and

remain in material breach of their obligations.

         WHEREFORE, Plaintiff prays for judgment against Defendants in the amount of

$817,585.00 plus interest at the contractual return rate of 20%, for interest on such judgment,

including pre- and post-judgment interest, for his costs and expenses incurred herein, attorneys' fees,

and for such other and further relief as the Court may deem just and equitable.

                                          COUNT II
                                     BREACH OF CONTRACT

        Plaintiff incorporates herein by reference the statements and allegations contained in

the paragraphs above as though more fully and completely set forth herein.

        4 7.    PIA and RP Golf agreed with Plaintiff that Plaintiff would loan Defendant RP

Golf, LLC money to fund RP Golfs operations.

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         48.    Plaintiff made the loans to RP Golf.

         49.    Defendants agreed to repay Plaintiff's loans in 2006 during the transaction that

resulted in PIA's formation and acquisition ofRP Golf.

         50.    When Defendants did not repay Plaintiff's loans in 2006, Defendants agreed with

Plaintiff to repay the loans at a later date with interest.

         51.    A balance of $817,585.00 remained on Plaintiff's loans in 2008. The parties

agreed that this amount would be paid back at a 20% rate of return.

         52.    Defendants have not repaid the $817,585.00 remaining balance, which is due and

owmg.

         53.    Plaintiff has met all conditions precedent and Defendants remain in breach of

their agreement to repay Plaintiff.

         WHEREFORE, Plaintiff prays for judgment against Defendants in the amount of

$817,585.00 plus interest at the contractual return rate of 20%, for interest on such judgment,

including pre- and post-judgment interest, for his costs and expenses incurred herein, attorneys' fees,

and for such other and further relief as the Court may deem just and equitable.

                                    COUNT III
                       UNJUST ENRICHMENT I QUANTUM MERUIT

        Plaintiff incorporates herein by reference the statements and allegations contained in

the paragraphs above as though more fully and completely set forth herein.

        54.     PIA and RP Golf agreed with Plaintiff that Plaintiff would loan Defendant RP

Golf, LLC money to fund RP Golfs operations.

        55.     Plaintiff made the loans to RP Golf.

        56.     Defendants agreed to repay Plaintiffs loans in 2006 during the transaction that

resulted in PIA's formation and acquisition ofRP Golf.


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        57.     When Defendants did not repay Plaintiffs loans in 2006, Defendants agreed with

Plaintiff to repay the loans at a later date with interest.

        58.     A balance of $817,585.00 remains on Plaintiffs loans.

        59.     Defendants have retained the $817,585.00 remaining balance on the loans.

        60.     The full amount of the loans, plus interest, is due and owing.

        61.     Despite Plaintiffs demands for Defendants to repay the loans, Defendants have

failed and refused to pay Plaintiff the remaining balance of the loans or accrued interest thereon.

        WHEREFORE, Plaintiff prays for judgment against Defendants in the amount of

$817,585.00 plus interest at the contractual return rate of 20%, for interest on such judgment,

including pre- and post-judgment interest, for his costs and expenses incurred herein, attorneys' fees,

and for such other and further relief as the Court may deem just and equitable.




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ATTORNEYS FOR PLAINTIFFS




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                          IN THE CIRCUIT COURT OF PLATIE COUNTY, MISSOURI

         JAMES S. ALLEN, JR.,                          )
                                                       )
                                      Plaintiff,       )      Case No. 13AE-CV00013
         V.                                            )
                                                       )      Division No. 2
         PIA ASSETS, LLC and                           )
         RP GOLF, LLC,                                 )
                                                       )
                                      Defendants.      )

                       ANSWER OF DEFENDANTS PIA ASSETS. LLC AND RP GOLF. LLC

                  COME NOW Defendants PIA Assets, LLC ("PIA") and RP Golf, LLC ("RP Golf'),

         by and through their attorneys, McDowell, Rice, Smith & Buchanan, P.C., and for their

        Answer to Plaintiff's Petition. state as follows:

                                                    INTRODUCTION

                  1.      Defendants admit the allegations contained in paragraph 1 of the Petition.

                  2.      Defendants admit that in October 2006 there was a restructuring, that PIA

        was created by Allen and others, that after the transaction Allen remained as a minority

        Class A shareholder and president of PIA and that Allen's former partners became

        Class 8 shareholders with no role in the operation of the properties. Defendants deny

        that there was a sale, deny that after the restructuring Neal Patterson ("Patterson") and

        Cliff Illig (''Illig") were majority owners, and deny that after the transaction Patterson and

        Illig were majority Class A shareholders. Plaintiffs allegations in this paragraph and in

        the subsequent paragraphs that Patterson and Illig were owners or Class                                  A
        shareholders are false, and those allegations are made in bad faith in an attempt to

        sensationalize this matter and to cause Patterson and Illig damages. Defendants deny

        all other allegations contained in paragraph 2 of the Petition.

                 3.       Defendants admit the allegations contained in paragraph 3 of the Petition.

                                                    EXHIBIT
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                 4.      Defendants deny the allegations contained in paragraph 4 of the Petition.

                 5.      Defendants lack sufficient knowledge, information and belief to admit or

         deny the allegations contained in paragraph 5 of the Petition, which are therefore                   MO


         denied.

                 6.     Defendants admit the allegations contained in paragraph 6 of the Petition.

                 7.     Defendants deny that in 2008 PIA created loans in favor of Plaintiff and

        further deny all other allegations contained in paragraph 7 of the Petition.

                 8.     Defendants admit that PIA's financial statements reflect the liability of

         $817,585 to Allen but deny that the financial statements reflect a liability of twenty

         percent internal rate of return with a maturity date of February 2012 and deny all other

         allegations contained in paragraph 8 of the Petition.

                 9.     Defendants admit the allegations contained in paragraph 9 of the Petition,

        but further answering Defendants deny the loan balance is as alleged by Plaintiff and

        further aver that Plaintiff is claiming more interest due on the obligation than is due_

                                                  PARTIES

                 10.    Defendants admit the allegations contained        1n   paragraph 10 of the

        Petition.

                 11.    Defendants deny the allegation that PIA manages the entities listed in

        paragraph 11 of the Petition, but admit the remainder of the allegations contained in

        paragraph 11 of the Petition.

                12.     Defendants admit the allegations contained in paragraph 12 of the

        Petition, except that Defendants expressly deny that the percentage of ownership by RP

        Golf is 100%.



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                                          JURISDICTION AND VENUE

                 13.       Defendants admit the allegations contained in paragraphs 13 and 14 of

         the Petition.

                                           FACTUAL ALLEGATIONS

                 14.       Defendants admit the allegations contained in paragraph 15 of the

         Petition.

                 15.       Defendants deny that Patterson and Illig were investors who entered into

         an agreement with Allen, Watson and Manning, and Plaintiff's allegations that Patterson

         and Illig were personally parties to any such agreement is known by Plaintiff to be false

         and is alleged by Plaintiff in bad faith. Defendants deny all other allegations contained

         in paragraph 16 of the Petition.

                 16.      Defendants admit that Manning and Watson gave up their majority shares

         and became "Class 8" shareholders of the newly-formed PIA Assets, LLC. Defendants

         deny that Manning and Watson gave up their majority shares and control to Patterson

         and Illig, and Plaintiffs allegation that Patterson and Illig had majority shares is false,

         known by Plaintiff to be false and is alleged by Plaintiff in bad faith. Defendants deny all

         other allegations contained in paragraph 17 of the Petition.

                 17.      Defendants admit the allegations contained in paragraph 18 of the

         Petition, except that Defendants deny that PIA was formed to manage the investment

         properties and, further answering, state that Five Star Lifestyles, LLC was formed to

         manage the properties.

                 18.      Defendants admit the allegations contained in paragraph 19 of the

        Petition, except Defendants deny that Allen, Watson and Manning personally held

        ownership interests in such entities_
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                  19.      Defendants admit the allegations in paragraph 20 of the Petition, but deny

         that the named individuals were "Managing Members," deny that Patterson and Illig

         were ever members, deny that Patterson and Illig were replaced as managing members

         in December 2012, and deny that Patterson and Illig are shareholders of PIA or own

         any Class A shares. Plaintiff knows that Patterson and Illig are not members of PIA and

         he has made such allegations in bad faith in order to cause Patterson and Illig damage.

                 20.      Defendants deny that Patterson and Illig hold an interest in PIA as alleged

         in paragraph 21 of the Petition, but admit that PANDI Development, LLC holds an

         interest in PIA.

                 21.     Defendants admit the allegations contained in paragraph 22 of the

         Petition.

                 22.     Defendants admit that prior to 2006 Plaintiff made loans to HP Golf, LLC

        for its day-to-day operations but deny that Illig or Patterson negotiated any terms

         relating thereto. Defendants deny all other allegations contained in paragraph 23 of the

        Petition.

                 23.     Defendants lack sufficient knowledge, information and belief to admit or

        deny the allegations contained in paragraph 24 of the Petition, which are therefore

        denied.

                24.      Defendants admit that in October 2006, PIA acquired a percentage

        interest in RP Golf, LLC but deny the remaining allegations contained in paragraph 25

        of the Petition.

                25.      Defendants admit the allegations contained in paragraph 26 of the

        Petition.



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                 26.     Defendants admit that in 2008 the liability to Plaintiff was recorded on the

         books of PIA as well as RP Golf, LLC, but deny the remaining allegations contained in

         paragraph 27 of the Petition.

                27.      Defendants admit the allegations contained in paragraphs 28 through 32

         of the Petition.

                28.      Defendants admit that the obligation remained on the PIA balance sheet,

         but deny that the obligation is represented by four notes at present and deny all other

         allegations contained in paragraphs 33 and 34 of the Petition.

                29.     Defendants admit the allegations contained in paragraph 35 of the

         Petition.

                30.     Defendants admit that PIA is the maker of the note payable to Allen for

         $817,585 carrying an internal rate of return accruing after January 1, 2010, but deny the

         remaining allegations contained in paragraph 36 of the Petition.

                31.     Defendants admit that the obligation and note are reflected in the

        Amended and Restated Employment Agreement dated January 1, 2010, but deny the

        remaining obligations contained in paragraph 37 of the Petition.

                32.     Defendants admit that one of Plaintiff's lawyers sent a letter in March 2012

        but deny that the demand was for what was owed to Plaintiff and deny all other

        allegations contained in paragraph 36 of the Petition.

                33.     Defendants admit that counsel for Defendants produced such document,

        which speaks for itself, among other documents. Defendants deny all other allegations

        contained in paragraph 39 of the Petition.




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                  34.     Defendants admit that counsel produced a note for $817,585 signed by

         Cliff Illig in his representative capacity as an authorized signer of PIA, but Defendants

         deny all other allegations contained in paragraph 40 of the Petition.

                 35.      Defendants admit that the promissory note which embodies the obligation

         to Plaintiff has not been paid, but deny the remaining allegations contained in paragraph

         41 of the Petition.

                                               COUNT I
                                ACTION TO COLLECT ON PROMISSORY NOTE

                 36.      Defendants incorporate herein by reference their answer to the statements

         and allegations contained in paragraphs 1 through 41 of the Petition as though more

         fully and completely set forth herein.

                 37.      Defendants deny the allegations contained in paragraph 42 of the Petition.

                 38.     Defendants admit the principal balance alleged but lack sufficient

         knowledge information and belief to admit or deny the remaining allegations contained

         in paragraph 43 of the Petition, which are therefore denied.

                 39.     Defendants deny the allegations contained in paragraph 44 of the Petition.

                 40.     Defendants admit the allegations contained in paragraph 45 of the

        Petition.

                 41.     Defendants admit that Defendants have not made any payments, but deny

        the remaining obligations contained in paragraph 46 of the Petition.

                                               COUNT II
                                          BREACH OF CONTRACT

                42.      Defendants incorporate herein by reference their answer to the statements

        and allegations contained in paragraphs 1 through 46 of the Petition as though more

        fully and completely set forth herein.
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                  43.      Defendants admit that Plaintiff loaned money to RP Golf, deny that PIA

         was any part of the agreement, and lack sufficient knowledge information and belief to

         admit or deny the remaining allegations contained in paragraph 47 of the Petition, which

         are therefore denied.

                 44.      Defendants admit the allegations contained in paragraph 48 of the

         Petition.

                 45.      Defendants deny the allegations contained in paragraph 49 of the Petition.

                 46.      Defendants lack sufficient knowledge information and belief to admit or

         deny the allegations contained in paragraph 50 of the Petition, which are therefore

         denied.

                 47.     Defendants admit the balance of $817,585 remains unpaid, but lack

        sufficient knowledge information and belief to admit or deny the remaining allegations

         contained in paragraph 51 of the Petition, which are therefore denied.

                 48.     Defendants admit the allegations contained in paragraph 52 of the

        Petition.

                 49.     Defendants lack sufficient knowledge information and belief to admit or

        deny the allegations contained in paragraph 53 of the Petition, which are therefore

        denied.

                                                  COUNT Ill
                                     UNJUST ENRICHMENT I QUANTUM MERUIT

                 50.     Defendants incorporate herein by reference their answer to the statements

        and allegations contained in paragraphs 1 through 53 of the Petition as though more

        fully and completely set forth herein.




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                 51.     Defendants admit that Plaintiff loaned money to RP Golf, deny that PIA

         was any part of the agreement, and lack sufficient knowledge information and belief to

         admit or deny the remaining allegations contained in paragraph 54 of the Petition, which

         are therefore denied.

                 52.     Defendants admit the allegations contained in paragraph 55 of the

         Petition.

                 53.     Defendants deny the allegations contained in paragraph 56 of the Petition.

                 54.     Defendants lack sufficient knowledge information and belief to admit or

         deny the allegations contained in paragraph 57 of the Petition, which are therefore

         denied.

                 55.    Defendants admit the allegations contained m paragraph 58 of the

         Petition.

                 56.    Defendants deny the allegations contained in paragraph 59 of the Petition.

                 57.    Defendants admit that the principal balance is due, but Defendants

        dispute the amount and accrual date for interest due and therefore, deny the remaining

        allegations contained in paragraph 60 of the Petition.

                 58.    Defendants admit that the $817,585 has not been paid, but deny the

        remaining allegations contained in paragraph 61 of the Petition.

                 59.    Defendants deny all allegations not specifically admitted herein.

                                             AFARMATWEDEFENSES
                60.     Plaintiff's Petition fails to state a claim upon which relief may be granted.

                61.     By virtue of multiple subordination agreements executed by Plaintiff in

        favor of third party bank lenders, Plaintiff is not the real party in interest.


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                 62.     By virtue of one or more subordination agreements executed by Plaintiff in

         favor of third party bank lenders, Plaintiff is prohibited from enforcing his claim for

         payment against Defendants.

                 63.     Defendants reserve the right to assert additional affirmative defenses as

         this litigation continues.

                 WHEREFORE, Defendants pray that that Plaintiff's Petition be held for naught,

         that judgment be entered in their favor and against Plaintiff for the costs of this action

         and reasonable attorneys' fees incurred, and for such other relief as the Court deems

         just and proper under the circumstances.

                                                   Respectfully submitted,

                                                   McDOWELL, RICE, SMITH & BUCHANAN,
                                                   a Professional Corporation


                                                   By:~~~ R. Pete Smith           #35408
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                                                   ATTORNEYS FOR DEFENDANTS




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                                    CERTIFJCATE OF SERVICE

               I hereby certify that f1 true and correct copy of the above and foregoing was
         served via U.S_ Mail, thisSt ""-.day of February, 2013, to:

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                                                      &~~
                                                      Attorney for Defendants




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                            McDowell, Rice. Smith'&> Buchanan
                                                       A P~OFI'SSIONAL CORPORATION




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                                                             A'I'TOJ"INEYS AT LAW

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                                             (B16) 753-!5400                FAX (816) 7S:3-.!ii51El6                SANDRA L. DOWD
                                                                                                             Clerk of the Circuit Court Platte County, MO
                                               TELECOPY COVER SHEET
                                               PLEASE DELIVER PROMPTLY

          DATE:               February 5, 2013

          NUMBER OF PAGES (including this cover page): 11

          TO:         Platte County Circuit Clerk

          TELECOPIER NO.: (816) 858-3392

          FROM:              l(ristie Remster Orme

          RE:         James S. Alien, .Jr. v. PIA Assets, LLC,      e1   al. I Case No. 13AE-CVOOO 13

          OUR FILE NO.:               C12871.003

          MESSAGE:           Please tile the attached Answer in the above-referenced maner.




          PLEASE CONTACT Cindy Rook at (816) 960-7332 IF YOU EXPERIENCE ANY PROBLEMS RECBIVlNG
          THE ATTACHED DOCUMENT(S).


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          recommending to another pa1ty any transaction or matter addressed herein.




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                   IN THE CIRCUIT COURT OF PLATTE COUNTY, MISSOURI ~                                         n       n
                               AT PLATTE CITY, MISSOURI                                                      U       Lb       I§ ~
JAMES S. ALLEN, JR.,                                  )                                                    OCT 2 1 2013              IYJ
                              Plaintiff,              )                                                 SANDRA L. DOWD
                                                      )                                          Clerk of the Circuit COUlt PlaUe Counly, MO
                                                      )
vs.                                                   )                         Case No. 13AE-CV00013
                                                      )                         Division II
                                                      )
PIA ASSETS, LLC, ET AL.,                              )
                                                      )
                              Defendants.             )


                                             ORDER


       On the 4th day of October, 2013, Plaintiff appeared by counsel, Patrick Stueve, Andrew

Funk, and Robeli Shaw, and Defendants appeared by counsel, Kristie Orme. The COUli took up

Defendants' Motion for Leave to File Amended Answer filed September 17, 2013, Defendants'

Amended Cross-Motion for Protective Orders filed September 18,2013, Plaintiffs Motion to

Enforce Court's Order and for Sanctions for Failure to Attend Deposition filed September 27,

2013, and Plaintiffs Motion to Compel Document Production filed September 27,2013; the

Court took the matters under advisement.
                              (]{/
       Now on this      J(     /day of October, 2013, the Court having considered the pleadings

on file and the statements of counsel finds and

       IT IS ORDERED AND ADJUDGED:

       I. That Defendants' Motion for Leave to File Amended Answer filed September 17,

2013, is denied.

       2. That Defendants' Amended Cross-Motion for Protective Orders filed September 18,

2013, is granted regarding "financial information"; in other respects, it is denied. The Court

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previously granted Plaintiffs request for a protective order on September 20, 2013. It is ordered

that the parties submit a jointly agreed to protective order to the Court; if no agreement can be

reached, the Court should be so informed.

       3. That Plaintiffs Motion to Enforce Court's Order and for Sanctions for Failure to

Attend Deposition filed September 27, 2013, is granted. It is ordered that Dale Brouk is to

appear for a deposition within 20 days ofthe date of this Order. It is further ordered that

sanctions should be imposed pursuant to Missouri Supreme Court Rule 57.03, and Plaintiff is

awarded attorney fees in the amount of $488.00 and costs of the untaken deposition in the

amount of$119.50 and shall have a judgment against the Defendants in the total amount of

$607.50.

       4. That Plaintiffs Motion to Compel Document Production filed September 30, 2013, is

granted. It is ordered that Defendants are to provide documents responsive to Plaintiffs requests

set forth in the First Request for Production Nos. 2 and 4 within 20 days of the date of this Order.

       5. The Court defers ruling on any request for trial setting.



                                                                                                                                      ,


SO ORDERED:af--              eli, 020/3
                                                               STATE OF MISSOURI. COUNTY OF PLATTE
                                                               This Is to certify that the foregoing Is a true and
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            IN THE CIRCUIT COURT OF PLATTE COUNTY, MISSOURI

JAMES S. ALLEN, JR., AND
NANCY T. ALLEN

                      Plaintiffs,

       v.                                          Case No. 13AE-CV00013

PIA ASSETS, LLC,                                   Division No. 2
RP GOLF, LLC,
AND
FIVESTAR LIFESTYLES, LLC

                      Defendants,

and

PANDI CAPITAL, LLC
PANDI DEVELOPMENT, LLC,
NEAL L. PATTERSON, and
CLIFFORD W. ILLIG,

                      Intervenor-Defendants
                      and Counterclaimants.



  PLAINTIFFS’ FIRST AMENDED ANSWER TO AND COUNTERCLAIMS
 AGAINST INTERVENORS PANDI CAPITAL, LLC, PANDI DEVELOPMENT,
           LLC, NEAL PATTERSON, AND CLIFFORD ILLIG

       Plaintiffs James S. Allen, Jr. and Nancy Allen (together, “the Allens”), through their

undersigned counsel, submit their answer to Intervenor-Defendants and Counterclaimants Pandi

Development LLC, Neal L. Patterson, and Clifford W. Illig’s counterclaims and crossclaims and

submits their counterclaims as follows:

                    ALLEGATIONS COMMON TO ALL COUNTS

                                    Jurisdiction and Venue

       1.     Allen admits the allegations in paragraph 1.

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       2.      Allen admits the allegations in paragraph 2.

                                              Parties

       3.      Allen admits the allegations in paragraph 3.

       4.      Allen admits that PIA Assets owns and manages The National Golf Club of

Kansas City, The National II (Deuce) Golf Club, the Parkville Commons shopping district, and

Loch Lloyd Country Club. PIA Assets owns RP Golf, which holds 100% of the interests in the

clubs and golf courses. Allen denies all other allegations in paragraph 4.

       5.      Allen admits the allegations in paragraph 5.

       6.      Allen admits the allegations in paragraph 6.

       7.      Allen admits the allegations in paragraph 7.

       8.      Allen denies the allegations in paragraph 8.

       9.       Allen admits the allegations in paragraph 9.

       10.     Allen admits that on December 21, 2012, Patterson and Illig resigned as managers

and appointed Randall Nay and Dale Brouk to act on their behalf as managers of PIA Assets.

Allen admits that he remains a manager of PIA Assets. Allen denies all other allegations and

characterizations in paragraph 10.

       11.     Allen admits that Pandi Capital is owned by Patterson and Illig. Allen denies all

other allegations and characterizations in paragraph 11.

                              Pandi Capital’s Loans to PIA Assets

       12.     Allen denies the allegations in paragraph 12.

       13.     Allen denies the allegations in paragraph 13.

       14.     Allen denies the allegations in paragraph 14.

       15.     Allen denies the allegations in paragraph 15.



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       16.     Allen denies the allegations in paragraph 16.

                                           Allen’s Loan

       17.     Allen admits that he filed a lawsuit against PIA Assets on January 2, 2013, styled

James S. Allen, Jr. v. PIA Assets LLC and RP Golf, LLC, Case No. 13AE-CV00013 in the Circuit

Court of Platte County, Missouri, and that the Petition sets for the basis of that lawsuit. Allen

denies all other allegations in paragraph 17.

                         PIA and Its Affiliates Default on Bank Loans

       18.     Allen admits that the allegations in paragraph 18.

       19.     Allen admits the allegations in paragraph 19.

       20.     Allen is without sufficient information to admit or deny the allegations in

paragraph 20, and therefore denies the allegations.

       21.     Allen is without sufficient information to admit or deny the allegations in

paragraph 21, and therefore denies the allegations.

                                    PIA—Missouri Bank Note

       22.     Allen admits that Missouri Bank &Trust Co. of Kansas City made a loan to PIA

in the principal amount of $5,000,000 and PIA made a promissory note dated June 29, 2012, to

Missouri Bank in the same amount. Allen is without sufficient information to admit or deny the

allegations in paragraph 22, and therefore denies the allegations.

       23.     Allen admits that he signed a personal guaranty for 5% of the PIA-Missouri Bank

Note dated June 29, 2012. Allen denies the remaining allegations in paragraph 23.

       24.     Allen admits that Missouri Bank sent a Notice of Default on August 28, 2013.

Allen denies the remaining allegations in paragraph 24.




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       25.     Allen is without sufficient information to admit or deny the allegations in

paragraph 25, and therefore denies the allegations.

       26.     Allen denies the allegations in paragraph 26.

                                  J3-Pandi-Missouri Bank Note

       27.     Allen admits the allegations in paragraph 27.

       28.     Allen is without sufficient information to admit or deny the allegations in

paragraph 28, and therefore denies the allegations.

       29.     Allen admits the allegations in paragraph 29.

       30.     Allen is without sufficient information to admit or deny the allegations in

paragraph 30, and therefore denies the allegations.

       31.     Allen denies the allegations in paragraph 31.

                     Country Club at Loch Lloyd-Bank of Kansas City Note

       32.     Allen is without sufficient information to admit or deny the allegations in

paragraph 32, and therefore denies the allegations.

       33.     Allen is without sufficient information to admit or deny the allegations in

paragraph 33, and therefore denies the allegations.

       34.     Allen is without sufficient information to admit or deny the allegations in

paragraph 34, and therefore denies the allegations.

       35.     Allen denies the allegations in paragraph 35.

       36.     Allen admits that Pandi Capital and Pandi Development sent a Notice of Default

and Demand for Payment to Jim Allen. Allen denies the remaining allegations in paragraph 36.




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                               RP Golf-Bank of Kansas City Note

       37.     Allen is without sufficient information to admit or deny the allegations in

paragraph 37, and therefore denies the allegations.

       38.     Allen is without sufficient information to admit or deny the allegations in

paragraph 38, and therefore denies the allegations.

       39.     Allen admits the allegations in paragraph 39.

       40.     Allen is without sufficient information to admit or deny the allegations in

paragraph 40, and therefore denies the allegations.

       41.     Allen denies the allegations in paragraph 41.

                                 J3-Pandi-Bank of Kansas City

       42.     Allen is without sufficient information to admit or deny the allegations in

paragraph 42, and therefore denies the allegations.

       43.     Allen is without sufficient information to admit or deny the allegations in

paragraph 43, and therefore denies the allegations.

       44.     Allen is without sufficient information to admit or deny the allegations in

paragraph 44, and therefore denies the allegations.

       45.     Allen denies the allegations in paragraph 45.

       46.     Allen admits the allegations in paragraph 46.

                                LL-J3-Pandi-Bank Midwest Note

       47.     Allen is without sufficient information to admit or deny the allegations in

paragraph 47, and therefore denies the allegations.

       48.     Allen is without sufficient information to admit or deny the allegations in

paragraph 48, and therefore denies the allegations.



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       49.     Allen is without sufficient information to admit or deny the allegations in

paragraph 49, and therefore denies the allegations.

       50.     Allen is without sufficient information to admit or deny the allegations in

paragraph 50, and therefore denies the allegations.

       51.     Allen admits the allegations in paragraph 51.

       52.     Allen is without sufficient information to admit or deny the allegations in

paragraph 52, and therefore denies the allegations.

       53.     Allen denies the allegations in paragraph 53.

                                 LL North-Bank Midwest Note

       54.     Allen is without sufficient information to admit or deny the allegations in

paragraph 54, and therefore denies the allegations.

       55.     Allen is without sufficient information to admit or deny the allegations in

paragraph 55, and therefore denies the allegations.

       56.     Allen is without sufficient information to admit or deny the allegations in

paragraph 56, and therefore denies the allegations.

       57.     Allen is without sufficient information to admit or deny the allegations in

paragraph 57, and therefore denies the allegations.

       58.     Allen admits the allegations in paragraph 58.

       59.     Allen is without sufficient information to admit or deny the allegations in

paragraph 59, and therefore denies the allegations.

       60.     Allen denies the allegations in paragraph 60.




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                                 RP Golf-Enterprise Bank Note

       61.     Allen is without sufficient information to admit or deny the allegations in

paragraph 61, and therefore denies the allegations.

       62.     Allen is without sufficient information to admit or deny the allegations in

paragraph 62, and therefore denies the allegations.

       63.     Allen admits the allegations in paragraph 63.

       64.     Allen is without sufficient information to admit or deny the allegations in

paragraph 64, and therefore denies the allegations.

       65.     Allen denies the allegations in paragraph 65.

                               J3-Pandi-First National Bank Note

       66.     Allen is without sufficient information to admit or deny the allegations in

paragraph 66, and therefore denies the allegations.

       67.     Allen is without sufficient information to admit or deny the allegations in

paragraph 67, and therefore denies the allegations.

       68.     Allen is without sufficient information to admit or deny the allegations in

paragraph 68, and therefore denies the allegations.

       69.     Allen is without sufficient information to admit or deny the allegations in

paragraph 69, and therefore denies the allegations.

       70.     Allen denies the allegations in paragraph 70.

                         Litigation Regarding the Pandi Capital Debt

       71.     Allen admits that Pandi Capital brought suit in the Circuit Court of Jackson

County, Missouri. Allen denies all other allegations in paragraph 71.




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       72.     Allen admits that Pandi Capital has intervened in this case and has asserted

crossclaims. Allen denies all other allegations in paragraph 72.

       73.     Allen admits that Pandi Development, Patterson and Illig have also intervened in

this case and filed an Answer In Intervention. Allen admits that Pandi Development, Patterson

and Illig filed Counterclaims. Allen denies the remaining allegations in paragraph 73.

       74.     Allen admits the allegations in paragraph 74.

       75.     Allen denies the allegations in paragraph 75.

                  COUNT I-RECOVERY ON GUARANTY OF DEBT

                                   (PIA-Missouri Bank Note)

                        Pandi Development, Patterson, and Illig v. Allen

       76.     In response to the allegations in paragraph 76, Allen incorporates the responses

contained in the paragraphs above.

       77.     Allen is without sufficient information to admit or deny the allegations in

paragraph 77, and therefore denies the allegations.

       78.     Paragraph 78 is a legal conclusion to which no response is required, but to the

extent a response is required, paragraph 78 is denied.

       79.     Allen denies the allegations in paragraph 79.

       80.     Allen denies the allegations in paragraph 80.

       81.     Allen is without sufficient information to admit or deny the allegations in

paragraph 81, and therefore denies the allegations.

       82.     Allen is without sufficient information to admit or deny the allegations in

paragraph 82, and therefore denies the allegations.

       83.     Allen denies the allegations in paragraph 83.



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                 COUNT II-RECOVERY ON GUARANTY OF DEBT

                                (J3-Pandi-Missouri Bank Note)

                        Pandi Development, Patterson, and Illig v. Allen

       84.     In response to the allegations in paragraph 84, Allen incorporates the responses

responses contained in the paragraphs above.

       85.     Allen is without sufficient information to admit or deny the allegations in

paragraph 85, and therefore denies the allegations.

       86.     Paragraph 86 is a legal conclusion to which no response is required, but to the

extent a response is required, paragraph 86 is denied.

       87.     Allen denies allegations in paragraph 87.

       88.     Allen denies allegations in paragraph 88.

       89.     Allen is without sufficient information to admit or deny the allegations in

paragraph 89, and therefore denies the allegations.

       90.     Allen is without sufficient information to admit or deny the allegations in

paragraph 90, and therefore denies the allegations.

       91.     Allen denies the allegations in paragraph 91.

                 COUNT III-RECOVERY ON GUARANTY OF DEBT

                   (Country Club at Loch Lloyd-and of Kansas City Note)

                                   Pandi Development v. Allen

       92.     In response to the allegations in paragraph 92, Allen incorporates the responses

contained in the paragraphs above.

       93.     Allen is without sufficient information to admit or deny the allegations in

paragraph 93, and therefore denies the allegations.



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       94.     Paragraph 94 is a legal conclusion to which no response is required, but to the

extent a response is required, paragraph 94 is denied.

       95.     Allen denies the allegations in paragraph 95.

       96.     Allen denies the allegations in paragraph 96.

       97.     Allen is without sufficient information to admit or deny the allegations in

paragraph 97, and therefore denies the allegations.

       98.     Allen is without sufficient information to admit or deny the allegations in

paragraph 98, and therefore denies the allegations.

       99.     Allen denies the allegations in paragraph 99.


                 COUNT IV RECOVERY ON GUARANTY OF DEBT

                             (RP Golf-Bank of Kansas City Note)

                                   Pandi Development v. Allen

       100.    In response to the allegations in paragraph 100, Allen incorporates the responses

contained in the paragraphs above.

       101.    Allen is without sufficient information to admit or deny the allegations in

paragraph 101, and therefore denies the allegations.

       102.    Paragraph 102 is a legal conclusion to which no response is required, but to the

extent a response is required, paragraph 102 is denied.

       103.    Allen denies the allegations in paragraph 103.

       104.    Allen denies the allegations in paragraph 104.

       105.    Allen is without sufficient information to admit or deny the allegations in

paragraph 105, and therefore denies the allegations.

       106.    Allen denies the allegations in paragraph 106.


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       107.    Allen denies the allegations in paragraph 107.

                 COUNT V-RECOVERY ON GUARANTY OF DEBT

                             (J3-Pandi-Bank of Kansas City Note)

                        Pandi Development, Patterson, and Illig v. Allen

       108.    In response to the allegations in paragraph 108, Allen incorporates the responses

contained in the paragraphs above.

       109.    Allen is without sufficient information to admit or deny the allegations in

paragraph 109, and therefore denies the allegations.

       110.    Paragraph 110 is a legal conclusion to which no response is required, but to the

extent a response is required, paragraph 110 is denied.

       111.    Allen denies the allegations in paragraph 111.

       112.    Allen denies the allegations in paragraph 112.

       113.    Allen is without sufficient information to admit or deny the allegations in

paragraph 113, and therefore denies the allegations.

       114.    Allen denies the allegations in paragraph 114.

       115.    Allen denies the allegations in paragraph 115.

                 COUNT VI-RECOVERY ON GUARANTY OF DEBT

                              (Ll-J3-Pandi-Bank Midwest Note)

                        Pandi Development, Patterson, and Illig v. Allen

       116.    In response to the allegations in paragraph 116, Allen incorporates the responses

contained in the paragraphs above.

       117.    Allen is without sufficient information to admit or deny the allegations in

paragraph 117, and therefore denies the allegations.



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       118.    Paragraph 118 is a legal conclusion to which no response is required, but to the

extent a response is required, paragraph 118 is denied.

       119.    Allen denies the allegations in paragraph 119.

       120.    Allen denies the allegations in paragraph 120.

       121.    Allen is without sufficient information to admit or deny the allegations in

paragraph 121, and therefore denies the allegations.

       122.    Allen is without sufficient information to admit or deny the allegations in

paragraph 122, and therefore denies the allegations.

       123.    Allen is without sufficient information to admit or deny the allegations in

paragraph 123, and therefore denies the allegations.

       124.    Allen is without sufficient information to admit or deny the allegations in

paragraph 124, and therefore denies the allegations.

       125.    Allen denies the allegations in paragraph 125.

                COUNT VII-RECOVERY ON GUARANTY OF DEBT

                                (LL North-Bank Midwest Note)

                        Pandi Development, Patterson, and Illig v. Allen

       126.    In response to the allegations in paragraph 126, Allen incorporates the responses

contained in the paragraphs above.

       127.    Allen is without sufficient information to admit or deny the allegations in

paragraph 127, and therefore denies the allegations.

       128.    Paragraph 128 is a legal conclusion to which no response is required, but to the

extent a response is required, paragraph 128 is denied.

       129.    Allen denies the allegations in paragraph 129.



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       130.    Allen denies the allegations in paragraph 130.

       131.    Allen is without sufficient information to admit or deny the allegations in

paragraph 131, and therefore denies the allegations.

       132.    Allen is without sufficient information to admit or deny the allegations in

paragraph 132, and therefore denies the allegations.

       133.    Allen is without sufficient information to admit or deny the allegations in

paragraph 133, and therefore denies the allegations.

       134.    Allen denies the allegations in paragraph 134.

       135.    Allen denies the allegations in paragraph 135.

                COUNT VIII-RECOVERY ON GUARANTY OF DEBT

                               (RP Golf-Enterprise Bank Note)

                        Pandi Development, Patterson, and Illig v. Allen

       136.    In response to the allegations in paragraph 136, Allen incorporates the responses

contained in the paragraphs above.

       137.    Allen is without sufficient information to admit or deny the allegations in

paragraph 137, and therefore denies the allegations.

       138.    Paragraph 138 is a legal conclusion to which no response is required, but to the

extent a response is required, paragraph 138 is denied.

       139.    Allen is without sufficient information to admit or deny the allegations in

paragraph 139, and therefore denies the allegations.

       140.    Allen denies the allegations in paragraph 140.

       141.    Allen denies the allegations in paragraph 141.

       142.    Allen denies the allegations in paragraph 142.



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       143.    Allen denies the allegations in paragraph 143.

                COUNT IX-COLLECTION ON PROMISSORY NOTE

                            (J3-Pandi – First National Bank Note)

                        Pandi Development, Patterson, and Illig v. Allen

       144.    In response to the allegations in paragraph 144, Allen incorporates the responses

contained in the paragraphs above.

       145.    Allen is without sufficient information to admit or deny the allegations in

paragraph 145, and therefore denies the allegations.

       146.    Allen is without sufficient information to admit or deny the allegations in

paragraph 146, and therefore denies the allegations.

       147.    Allen is without sufficient information to admit or deny the allegations in

paragraph 147, and therefore denies the allegations.

       148.    Allen denies the allegations in paragraph 148.

       149.    Allen denies the allegations in paragraph 149.

     COUNT X-ALTERNATIVE CLAIM FOR DECLARATORY JUDGMENT

                        Pandi Development, Patterson, and Illig v. Allen

       150.    In response to the allegations in paragraph 150, Allen incorporates the responses

contained in the paragraphs above.

       151.    Paragraph 151 states legal conclusions to which no response is required, but to the

extent a response could be required, Allen denies the allegations in paragraph 151.

       152.    Paragraph 152 states legal conclusions to which no response is required, but to the

extent a response could be required, Allen denies the allegations in paragraph 152.




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        153.    Paragraph 153 states legal conclusions to which no response is required, but to the

extent a response could be required, Plaintiff denies the allegations in paragraph 153.


                     COUNT XI-RECOUPMENT AND/OR SET-OFF

                          Pandi Development, Patterson, and Illig v. Allen

        154.    In response to the allegations in paragraph 154, Allen incorporates his responses

contained in the paragraphs above.

        155.    Paragraph 155 states legal conclusions to which no response is required, but to the

extent a response could be required, Allen denies the allegations in paragraph 155.

               Allen’s Affirmative Defenses to Pandi Development, Neal Patterson
                               and Clifford Illig’s Counterclaims

        156.    Pursuant to his employment agreement with Defendants and Counterclaimants,

Allen is to be held harmless and/or indemnified on any guaranties or other obligations pertaining

debts of PIA or its subsidiaries or affiliates.

        157.    Count I fails to state a claim on which relief can be granted.

        158.    Count II fails to state a claim on which relief can be granted.

        159.    Count III fails to state a claim on which relief can be granted.

        160.    Count IV fails to state a claim on which relief can be granted.

        161.    Count V fails to state a claim on which relief can be granted.

        162.    Count VI fails to state a claim on which relief can be granted.

        163.    Count VII fails to state a claim on which relief can be granted.

        164.    Count VIII fails to state a claim on which relief can be granted.

        165.    Count IX fails to state a claim on which relief can be granted.

        166.    Count X fails to state a claim on which relief can be granted.



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       167.    Count XI fails to state a claim on which relief can be granted

       168.    Counterclaimants are not holders in due course of the debts discussed in Counts I-

VIII, and therefore cannot enforce Allen’s conditional guaranties.

       169.    Counterclaimants are not holders in due course of the debts discussed in Count

IX.

       170.    The alleged purchase of the loans from Missouri Bank discussed in Counts I and

II, of Allen’s guaranties, and the resulting “sale” of Allen’s claims against PIA Assets was not

commercially reasonable.

       171.    The alleged purchases of the debts discussed in Counts III-IX were not

commercially reasonable.

       172.    The alleged purchase of the loans from Missouri Bank discussed in Counts I and

II, of Allen’s guaranties, and the resulting “sale” of Allen’s claims against PIA Assets violates

the duty of good faith and fair dealing inherent in contracts subject to the Uniform Commercial

Code as adopted in Missouri.

       173.    The alleged purchase of the debts discussed in Counts III-IX and of Allen’s

guaranties violates the duty of good faith and fair dealing inherent in contracts subject to the

Uniform Commercial Code as adopted in Missouri.

       174.    Allen’s guaranty on the loan from Missouri Bank to PIA Assets was conditioned

upon Allen receiving an indemnification agreement from PIA.

       175.    The debts of PIA and J-3 Pandi discussed in Counts I and II have been satisfied,

extinguishing Allen’s guaranties.

       176.    The debts discussed in Counts III-IX have been satisfied, extinguishing Allen’s

guaranties.



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       177.      Count X fails to state a claim on which relief can be granted, in that

Counterclaimants have failed to allege any facts to support a conclusion that Allen’s Debt could

be considered equity contributions.

       178.      Count X fails to state a claim on which relief can be granted, in that

Counterclaimants have failed to allege any facts to support their conclusion that Allen’s claims to

collect on his Note to PIA Assets is an action to collect on an equity contribution.

       179.      Count X fails to state a claim on which relief can be granted, in that

Counterclaimants have failed to allege any facts to support their conclusion that the Allen Debt

must be re-characterized.

       180.      Count X fails to state a claim on which relief can be granted, in that the

characterization of Allen’s Debt is not a controversy before this Court.

       181.      Count X fails to state a claim on which relief can be granted, in that no justiciable

controversy exists regarding to collection or characterization of Allen’s Debt.

       182.      Count X fails to state a claim on which relief can be granted, in that the requested

declaration would not terminate the uncertainty or controversy giving rise to the proceeding.

       183.      Count X fails to state a claim on which relief can be granted because

Counterclaimants have an adequate remedy at law.

       184.      Count X fails to state a claim on which relief can be granted, in that

Counterclaimants have failed to plead a legally protectable interest in the characterization of

Allen’s Debt as an equity contribution.

       185.      Count X fails to state a claim on which relief can be granted, in that

Counterclaimants have failed to plead the existence of a controversy ripe for judicial

determination.



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       186.   Count XI fails to state a claim on which relief can be granted, in that

Counterclaimants have failed to plead a breach of contract by Allen, and Allen has not breached

any contract with Counterclaimants.

       187.   Count XI fails to state a claim on which relief can be granted, in that

Counterclaimants have failed to plead facts sufficient for an affirmative defense of

recoupment/set-off.

       188.   Allen reserves the right to add additional affirmative defenses as additional facts

are revealed through discovery.




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              ALLEGATIONS SUPPORTING ALLEN’S COUNTERCLAIMS

       Allen incorporates herein by reference the statements and allegations contained in the

paragraphs above as though more fully and completely set forth herein.

                                      Additional Parties

       189.    Plaintiff Nancy Allen is a Missouri resident residing at 7001 Waters Edge,

Parkville, Missouri 54152.

       190.    Defendant Neal L. Patterson is a Missouri resident residing at 20 E Dundy Circle,

Belton, Missouri 64012. At relevant times, he has served as one of three managers on the Board

of Managers of PIA Assets, LLC.

       191.    Defendant Clifford W. Illig is a Kansas resident residing at 11504 Pawnee Circle,

Leawood, Kansas 66211. At relevant times, he has served as one of three managers on the Board

of Managers of PIA Assets, LLC.

       192.    Defendant FiveStar Lifestyles, LLC (“FiveStar”) is a Missouri limited liability

company with its principal place of business at 8878 NW 63rd St, Parkville, Platte County

Missouri.

                                    Jurisdiction and Venue

       193.    This Court has personal jurisdiction over the counterclaim Defendants Illig,

Patterson, Pandi Capital, Pandi Development, and Five Star pursuant to Missouri Revised

Statutes Sections 506.500(1) and/or 506.500(3) because the cause of action herein asserted arises

from their transaction of business within the State of Missouri and/or their making of a contract

within the State of Missouri.




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       194.    Venue is proper in this county pursuant to Missouri Revised Statutes Section

508.010 because counterclaim Defendants transact usual and customary business in Platte County,

and the cause of action accrued, at least in part, in Platte County, Missouri.

                          Additional Facts Supporting Counterclaims

       195.    Illig and Patterson are the sole members and owners of Pandi Capital, LLC.

       196.    Illig and Patterson are the sole members and owners of Pandi Development, LLC.

       197.    FiveStar is a wholly-owned subsidiary of J3-Pandi, LLC (which itself is a wholly-

owned subsidiary of PIA Assets) and an affiliate of PIA Assets.

       198.    Pandi Development controls 86.5% of the interest in PIA Assets and appoints two

of the three managers of PIA Assets.

       199.    Pandi Capital is the alleged owner of the “Notes” and “Loans” purportedly

representing the monies advanced to PIA Assets and has made member contributions on behalf

of Pandi Development to fund the operation of PIA Assets.

       200.    Through Pandi Capital and Pandi Development, Patterson and Illig have

completely dominated the finances, policy and business practices of PIA Assets, RP Golf,

FiveStar, and other subsidiaries and affiliates of PIA Assets.

       201.    PIA Assets, RP Golf, Five Star, and other subsidiaries of PIA Assets have no

existence of their own, but have functioned as the alter ego and instruments of Illig and

Patterson.

       202.    Patterson and Illig have treated the assets of PIA Assets, RP Golf, Five Star, and

other subsidiaries of PIA Assets as their own personal assets in complete disregard for the rights

and interests of the minority members.




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       203.    As more fully described below, Patterson and Illig have used their control of PIA

Assets, RP Golf, Five Star, and other subsidiaries of PIA Assets to commit unjust acts in

contravention of the rights of true creditors of PIA Assets.

       204.    Through their control of PIA Assets, RP Golf, Five Star, and other subsidiaries

and affiliates of PIA Assets, Patterson and Illig proximately caused the injuries to the Allens and

PIA such that the Allens should be allowed to pierce the corporate veil and hold Patterson and

Illig personally liable for the obligations of PIA Assets, RP Golf, Five Star, and other

subsidiaries and affiliates of PIA Assets.

       205.    Patterson and Illig have taken an active role in the management and operations of

PIA Assets and its subsidiaries.

       206.    In an interview published in the June/July 2013 issue of North magazine, Dale

Brouk, the COO/CFO of PIA, is quoted as saying, “’What they [Neil and Cliff] did to make

SportingKC the best soccer venue in the country, they’re now doing with the golf clubs. They are

making us implement all of the things they believe in, the little things that help us differentiate

our club from every other club,’ says Dale.”

       207.    Patterson and Illig have repeatedly been mentioned as members of and assets to

the development team in public advertisements for the sale of residential developments owned

by PIA’s subsidiaries and affiliates.

       208.    As described below, Patterson and Illig have used their control of PIA Assets and

its subsidiaries and affiliates to strip the assets of PIA by reclassifying equity contributions as

debt, making PIA Assets insolvent with the intent of avoiding creditors.

       209.    For the period of time during which the alleged “Notes” were signed, Patterson

and Illig were members and managers of PIA Assets, but failed to call required members or



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managers’ meetings and maintain required records, including the records related to the alleged

“Notes” and “Loans” which are the subject of Pandi’s counterclaims.

       210.      By PIA’s Operating Agreement, to which Illig and Patterson are parties through

their ownership of Pandi Development, any indebtedness in excess of $50,000 must be approved

by the members of PIA Assets. Jim Allen, a member of PIA Assets, was not asked to and did not

approve any of the “Notes” or “Loans” which are the subject of Pandi’s counterclaims.

       211.      Upon information and belief, Patterson and Illig have made decisions regarding

the non-renewal of certain loans to PIA and its subsidiaries from third-party creditors without

consultation of the other members of PIA, in violation of the Operating Agreement of PIA.

       212.      Brouk, acting in conjunction with representatives from Pandi Capital, has

interrupted a stream of payments from the revenues of the Clubs which was being used to make

payments toward a loan to the Country Club of Loch Lloyd.

       213.      By interrupting the stream of payments, Brouk and the representative of Pandi

Capital allegedly put the loan to Loch Lloyd in default in furtherance of the conspiracy to

defraud Allen.

       214.      Upon information and belief, Patterson and Illig have refused proposals from

third-party creditors that would have resulted in releases for Jim Allen from guaranties to those

creditors. PIA, RP Golf, FiveStar and their subsidiaries and affiliates are contractually obligated

to provide those releases.

       215.      Patterson and Illig have made unilateral decisions to cease both required

payments to both Class B shareholders and tax payments to Platte County.

       216.      Patterson and Illig have made unilateral decisions to fund PIA’s legal defense

while claiming that PIA is insolvent.



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       217.    Patterson and Illig have unnecessarily encumbered assets to prevent recovery by

the Allens and other minority shareholders.

Illig and Patterson Reclassify Equity Contributions as Debt, Making PIA Assets Insolvent

       218.    As individuals and/or through Pandi Capital, Patterson and Illig have allegedly

contributed large sums of money to PIA. Then, as managers of PIA, Patterson and Illig

guaranteed themselves a large internal rate of return on their equity contributions to PIA.

       219.    Allen was advised by Patterson and Illig that the contributions by Patterson and

Illig would be considered equity. Allen’s understanding is in accordance with PIA’s

contemporaneous financial records which state the following:

           a. The December 31, 2009 Balance Sheet identifies an equity contribution from Neal

               Patterson for $13,135,092.50 and an equity contribution from Cliff Illig for

               $12,950,092.50. These equity contributions are categorized as “Equity” on PIA’s

               balance sheet.

           b. The January 31, 2010 Balance Sheet also reflected the same equity contributions

               from Illig and Patterson that appeared on the December 31, 2009 Balance Sheet.

               Those equity contributions were similarly categorized as “Equity” on the balance

               sheet.

       220.    Beginning in 2010, Patterson and Illig began using their position as managers of

PIA to implement a conspiracy to prioritize their equity contributions over the amounts PIA

owed to other members, and to further dilute the value of shares held by the minority PIA

Members. This scheme was in violation of the Operating Agreement and in breach of their

fiduciary duties to the minority shareholders.




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       221.    Upon information and belief, this conspiracy was implemented at least in part as a

response to a lawsuit filed by Class B shareholders of PIA Assets regarding Illig’s and

Patterson’s unilateral decision to cease required payments to those shareholders. The conspiracy

was designed to re-prioritize their equity contributions above the required payments to the Class

B shareholders and to make PIA appear insolvent.

       222.    In implementing this scheme, upon information and belief Patterson and Illig

instructed Dale Brouk, CFO of PIA Assets, to re-categorize their capital contributions as debt or

“Long-term liabilities” on the balance sheet.

       223.    Patterson and Illig did this despite contemporaneously representing to third-party

lenders that their contributions to PIA were equity, and not debt.

       224.    On PIA’s February 28, 2010 Balance Sheet, Patterson’s and Illig’s capital

contributions in the total amount of $26,085,185.00 had been moved from the “Equity” category

on the Balance Sheet and re-categorized as Long-term Liabilities.

       225.    Allen did not approve the decision to “reclassify” Patterson and Illig’s capital

contribution into debt. Accordingly, this unilateral decision on the part of Patterson and Illig was

in direct violation of the Operating Agreement which required unanimous approval of the Class

A Members before PIA could “incur indebtedness in excess of $50,000” or “knowingly do any

Act which would make it impossible to carry on the ordinary business of the Company…”

       226.    The amount of Long-term Liabilities to Patterson and Illig as reflected on PIA’s

balance sheets as of February 28, 2010 does not match the amounts Pandi Capital now claims it

loaned to PIA Assets as of February 28, 2010. There were no loans from Pandi Capital reflected

on PIA’s balance sheets in 2010.




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        227.    Since 2010, in furtherance of their scheme to prioritize their capital contributions

over the amounts owed to other shareholders, Patterson and Illig are incurring additional

indebtedness on behalf of PIA by “refinancing” PIA’s loans or paying off third-party loans

before the maturity date. Upon information and belief, Patterson and Illig are funding these

refinancing and pay-downs through their own personal lines of credit with banks at interest rates

between 1 and 4 percent.

        228.    Upon information and belief, Patterson and Illig are funding these refinancing and

paydowns of true third party obligations through personal lines of credit and Pandi Capital, LLC.

        229.    Patterson and Illig are being charged an interest rate on this line of credit that is

far lower than the 20% internal rate of return that they have promised themselves in their

capacity as managers of PIA.

        230.    By January 2011, the “Notes Payable” to Illig and Patterson had increased

substantially. On the January 31, 2011 Balance Sheet, the “Note Payable” to Illig was

$30,791,548.74. The “Note Payable” to Patterson was $30,976,548.75.

        231.    The amounts of the “Notes Payable” reflected on PIA’s balance sheets as of

January 2011 do not match the amounts Pandi Capital now asserts it had lent to PIA Assets of as

January 2011. There are no loans to Pandi Capital reflected on PIA’s balance sheets.

        232.    In violation of the Operating Agreement, Allen was not asked to consent to and

did not agree that PIA could incur indebtedness in excess of $80 million dollars to Patterson and

Illig at a 20 percent internal rate of return.

        233.    Allen did not contemporaneously receive copies of the Notes on which Pandi

Capital’s claims are based, and no Members or Managers meetings of PIA Assets were held to

discuss or ratify any notes from Patterson, Illig, or Pandi Capital.



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       234.    Even if the equity contributions from Patterson and Illig were characterized now

as loans, these “loans” violate the Operating Agreement which states in relevant part: “if a

Manager . . . is the lending Member, the rate of interest shall be determined by the Board of

Managers taking into consideration, without limitation, prevailing interest rates and the interest

rates the lender is required to pay in the event such lender has itself borrowed funds to loan or

advance to the Company and the terms and conditions of such loan, including the rate of interest,

shall be no less favorable to the Company than if the lender had been an independent third

party.” The interest rate being charged by Patterson and Illig exceeds the permissible amount,

especially when Patterson and Illig borrowed this money at low interest rates, and this rate was

not approved by a legitimate vote of the Board of Managers.

       235.    To further their intentional and deceptive scheme of prioritizing their capital

contributions above the amounts owed by PIA to Allen, in December 2011, Patterson and Illig

further re-characterized their capital contributions as debt from PANDI Capital, LLC in excess of

$80 million.

       236.    These self-serving “loans” only benefit Patterson, Illig and PANDI Capital as they

allow Patterson and Illig to take personal tax losses thereby significantly offsetting their other

income sources, including income from their company Cerner. These self-serving “loans” also

effectively dilute Allen’s shares or interest in PIA.

       237.    If Patterson and Illig’s contributions to PIA were properly characterized on PIA’s

financial statements as “Equity”, upon information and belief PIA would have a substantial net

worth with balance sheet solvency.

       238.    Patterson and Illig through Pandi Capital have now brought counterclaims in this

lawsuit seeking to collect on the alleged notes from Pandi Capital to PIA Assets.



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       239.    Those claims were originally asserted by Pandi Capital against PIA Assets in the

Sixteenth Judicial Circuit in Jackson County.

       240.    In that action, PIA was represented by a law firm that had previously represented

Illig and Patterson personally and had served as the registered agent for Pandi Capital.

       241.    Pandi Capital’s petition in Jackson County asserted twenty-four claims; the firm

representing PIA Assets answered the lengthy petition only three days after it was filed.

       242.    PIA’s answer made multiple admissions that were contrary to facts and

documents in PIA’s possession.

       243.    The circumstances surrounding the filing and the admissions made by PIA

necessitated Allen’s intervention in that lawsuit.

                                Breach of Agreements with Allen.

       244.    Prior to October 2006, when Jim Watson, Jack Manning, Allen, Illig and

Patterson were negotiating the terms of a restructuring transaction, Jim and Nancy Allen made

loans to entities that controlled the investment properties involved in the transaction.

       245.    These loans were necessary to fund day-to-day operations of the entities, such as

utilities, payroll and tax payments.

       246.    The Allens received notes from RP Golf, LLC documenting some of the loans and

the terms of repayment.

       247.    The parties to the formation of PIA had an agreement that the Allens’ loans would

be repaid at or near the time of the closing of the transaction in October 2006.

       248.    However, at closing Brouk advised Allen that there were insufficient funds to

repay the Allens, and no payments were made.

       249.    In 2008, PIA paid some of the accrued amounts on the loans from Jim and Nancy

Allen and created new loans in favor of the Allens in the principal amount of $817,585. PIA’s

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2012 financial planning documents reflect the liability with a twenty percent internal rate of

return with a maturity date of February 2012.

       250.    Additionally, at the time of the closing, Allen entered into a 10 year employment

agreement with PIA. In consideration for Allen leaving his long-term job and providing his

exclusive development knowledge to PIA as President, Allen was to be paid a salary of $325,000

per year, plus a yearly increase based upon the Consumer Price Index.

       251.    Also, per the term of Allen’s contract, Allen was to receive, an agreed-upon buy-

out of his Class A shares at the time of his termination.

       252.    At the end of 2009, Patterson, Illig and Allen discussed additional capital

contributions into PIA. Patterson and Illig were willing to make additional equity contributions

but did not want to do so unless Allen made some type of contribution to PIA as well. Patterson

and Illig requested that Allen, in lieu of capital contributions, reduce his salary.

       253.    Patterson and Illig agreed that the in exchange for the reduced salary, PIA would

offer Allen performance incentives based on sales of homes.

       254.    Based upon Patterson and Illig’s representations that they would make additional

equity contributions to PIA and offer incentives if Allen modified his employment agreement,

Allen agreed to modify his employment agreement. The parties began to negotiate a revised

employment agreement under which Allen would become an employee of FiveStar Lifestyles.

The agreement contained the following material terms: (a) reduction of his annual salary; (b) a

performance incentives; (c) car allowance; (d) a note for the aforementioned loans from the

Allens with terms satisfactory to Allen; and (e) release from guaranties on any debts related to

PIA or any of its subsidiaries and/or an obligation for PIA, FiveStar, RP Golf and all other




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subsidiaries of PIA to indemnify and hold Allen harmless upon termination of Allen’s

employment.

       255.      The parties negotiated the terms of the revised agreement and finally reached

agreement in principle. Acceptance of the revised employment agreement was conditioned upon

“(a) execution and delivery by all the parties, and (b) the execution and delivery of a note in form

and substance satisfactory to” Allen.

       256.      PIA has never signed the Agreement nor delivered a note acceptable to Allen.


       257.      In fact, Illig instructed employees of PIA Assets and Pandi not to deliver the note

to the Allens.

       258.      Rather it appears that Patterson and Illig never intended to execute on the

agreement. Patterson and Illig induced Allen into taking a reduced salary without ever intending

to honor the other provisions of the agreement or to make future equity contributions.

       259.      In March 2012, believing that PIA had never accepted the 2010 Agreement

because he had never received a sign copy or the agreement or a draft promissory note, let alone

a note acceptable to Allen, Allen made a demand upon PIA for the repayment of his loans in

accordance with PIA’s financial records. In response, Allen was presented with a copy of a

“Note” purportedly signed by Illig that indicated the loans were due on January 1, 2013. Allen

had never seen this note before, let alone approved the note given the various problems,

including that it was for the incorrect loan amount.

       260.      These loans have not been repaid and the debt to the Allens is not currently

reflected in any of PIA’s financial plans. Accordingly, it appears that Patterson and Illig have no

intention to ever repay the Allens.




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       261.    Additionally, at the direction of Patterson and Illig, and in furtherance of their

plan to drive Allen from PIA, PIA has breached Allen’s employment agreement, including but

not limited to by failing to provide Allen with his contractual raises and other benefits pursuant

to the agreement.

       262.    Also, shortly after the parties agreed to the 2010 Agreement in principle,

Patterson and Illig, without consent or discussion with Allen, nixed the various homebuilding

projects which were to generate the performance incentives under Allen’s agreement. As a result

Allen has never received any of the bonuses provided for in the contract.

       263.    Patterson and Illig also have attempted to recharacterize their “equity

contributions” as debt, suggesting that their stated reasons for wanting Allen to take a reduction

in salary were pretextual.

       264.    Allen never would have agreed to modify the terms of his employment

agreement, including to a reduced salary in order to provide PIA more working capital if he had

known at the time that Patterson and Illig had no intention of honoring the terms of the modified

agreement and intended to attempt to reclassify their capital contributions as third-party debt to

defraud Allen out of money he and his wife loaned to the company and to decrease the value of

his shares.

       265.    Despite these breaches, and Patterson and Illig’s claims that PIA is having

financial problems, employees of PIA received bonuses for PIA’s financial performance and

operating results in 2010. And, in 2011, PIA has provided pay raises to many of its high level

employees and hired additional, unnecessary staff at the National in 2012.

       266.    PIA, by and through its managing members, is also obligated to furnish to Allen

the annual reports within 180 days after the end of each fiscal year and additional reports within



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30 days after the end of each calendar quarter, which quarterly reports are to consist of unaudited

financial statements prepared by PIA in the ordinary course of business for the preceding quarter.

       267.    These reports have not been provided at all for certain quarters and untimely

provided for others.

   Patterson and Illig Use Their Control of PIA Assets to Avoid Obligations to Jim Allen

       268.    In November 2012, Jim Allen, Chief Executive Officer and a minority member of

PIA Assets, submitted his resignation, triggering a contractual duty for PIA Assets, FiveStar

Lifestyles, and PIA’s subsidiaries and affiliates to seek releases from guaranties that Allen

provided on several third-party loans to PIA Assets.

       269.    Until releases were obtained, FiveStar Lifestyles, PIA Assets, its subsidiaries and

affiliated entities had a contractual duty to indemnify and hold Allen harmless with respect to his

guaranties.

       270.    Allen’s resignation triggered a contractual duty for PIA Assets to buy out Allen’s

interest in PIA Assets for $6 million.

       271.    In January 2013, Allen filed a lawsuit to collect on the Allens’ loans to PIA which

had never been repaid. Allen had been in discussions with counsel for PIA for much of 2012

regarding satisfaction of the Allens’ loan, either through cash or through alternative means.

       272.    In response, Illig and Patterson have sought to avoid repaying the Allens and have

taken affirmative steps to prevent PIA and its affiliated companies from satisfying their

obligations to the Allens.

       273.    Though there has been no substantial change in PIA’s financial condition from

2010 to the present, shortly before Allen filed his lawsuit, Pandi and the managers of PIA




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appointed by Patterson and Illig have now begun to claim that PIA is insolvent and unable to

repay its debts.

       274.    Patterson and Illig appointed Dale Brouk and Randall Nay to PIA’s board of

managers to represent them and Pandi Development.

       275.    Brouk and Nay began calling for regular managers and members meetings, which

had not occurred since 2010.

       276.    The managers appointed by Pandi began demanding large financial contributions

from Allen to fund the operations of PIA and its subsidiaries.

       277.    After appointing Brouk and Nay, Patterson and Illig through Pandi Capital stated

that it was unwilling to continue funding PIA unless Allen agreed to relinquish his rights to

repayment of his loans and the buyout of his interests in PIA and its subsidiaries.

       278.    Pandi Capital also stated that it would not continue funding PIA unless the board

of managers agreed to amend the operating agreements of PIA’s subsidiaries to allow Pandi

Capital to loan money directly to PIA’s subsidiaries.

       279.    The managers appointed by Patterson and Illig through Pandi approved the

amended operating agreements over Allen’s objection.

       280.    Under PIA’s Operating Agreement, any decisions regarding incurring indebtness

or bankruptcy must be made by a unanimous vote of the board of managers.

       281.    Under the new operating agreements for PIA subsidiaries required by Pandi

Capital, decisions regarding incurring indebtedness and/or bankruptcy only require a majority

vote of the board of managers.

       282.    The amended operating agreements are also designed to allow the managers to put

certain subsidiaries into bankruptcy.



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          283.   Upon information and belief, the goal of the actions taken by Patterson and Illig

through Pandi and the managers appointed by Pandi are to make PIA’s balance sheet show

insolvency.

          284.   Upon information and belief, the purpose of the amended operating agreements

was to allow Illig and Patterson to encumber PIA’s underlying entities through purported “loans”

from Pandi Capital in such a way that would interfere with the rights of potential creditors by

loading the subsidiaries up with debt owed to Pandi.

          285.   Beginning in 2013, Pandi demanded security for its recent contributions to PIA.

          286.   The only ostensible purpose for the actions described above is to make it

impractical or impossible for PIA to repay its debts to Allen and to honor its obligations to

indemnify and hold Allen harmless.

          287.   Illig and Patterson have rejected proposals from third-party lenders, including

Missouri Bank, which would have released Allen from his guaranties on loans from third-party

lenders, a clear violation of the Operating Agreement and contractual duties owed to Allen by

PIA, FiveStar and the subsidiaries of PIA.

          288.   The managers appointed by Illig and Patterson have rejected proposals from Allen

to indemnify and hold him harmless on his guaranty on a loan using unencumbered assets of PIA

and its affiliates. The failure to accept Allen’s proposal was a violation of the Operating

Agreement and contractual duties owed to Allen by PIA, FiveStar and subsidiaries and affiliates

of PIA.

          289.   Patterson and Illig caused PIA to default on its loans from Missouri Bank.

          290.   Patterson and Illig caused PIA and its subsidiaries to default on the loans

discussed in Pandi Development’s Counterclaims III-IX.



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       291.    Patterson and Illig’s attempt to collect the “Notes” and “Loans” from Pandi

Capital through this lawsuit will cause irreparable harm absent relief from this Court.

       292.    Patterson and Illig’s continued attempts to categorize equity contributions as loans

to PIA Assets or its underlying entities will further encumber the assets of PIA Assets and

increase PIA’s insolvency.

       293.    There is no adequate remedy at law, as Patterson and Illig continue to encumber

the assets of PIA Assets by characterizing equity contributions from Pandi Development as debt

owed to Pandi Capital.

           COUNT I -- BREACH OF THE IMPLIED DUTY OF GOOD FAITH
                             AND FAIR DEALING

              (Allen v. Illig, Patterson, Pandi Development, and Pandi Capital, LLC)

       294.    Allen incorporates herein by reference the statements and allegations

contained in the paragraphs above as though more fully and completely set forth herein.

       295.    Entering into the operating agreements with Pandi Development, Patterson and

Illig, and based upon the intertwined relationship of the parties including their corporate

positions and ownership as well as their course of dealing, among other things, required that:

                 a. Pandi, Patterson, and Illig, would act with good faith and fairness toward

                     Allen on all matters concerning corporate affairs.

                 b. Neither Pandi, Patterson nor Illig would take any action to unfairly prevent

                     Allen from obtaining the benefits of his corporate position, his

                     compensation, his employment agreement, or his rights under the Operating

                     Agreement.




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                    c. Pandi, Patterson and Illig would comply with their own rules, policies and

                       procedures with respect to providing and making financial information

                       available to Allen and consulting with him on corporate matters.

       296.    Pandi, Patterson or Illig’s conduct as set forth above was conducted in bad faith

and done with the purpose and intention of avoiding or diminishing payments owed to Allen for

compensation and the value of his shares in PIA and to impair indemnity and hold harmless

obligations owed to Allen.

       297.    Pandi, Patterson and/or Illig breached their covenant of good faith and fair dealing

in one or more of the respects set forth herein:

               a.        Pandi, Patterson or Illig purposefully and wrongfully failed and refused to

                         pay Allen for the sums due him under the terms of the employment

                         agreement;

               b.        Pandi, Patterson or Illig unilaterally and in direct violation of the operating

                         agreement made unauthorized corporate decisions to the detriment of Allen,

                         and PIA.

               c.        Pandi, Patterson or Illig unilaterally and in direct violation of the operating

                         agreement re-characterized their equity contributions as debt and imposed

                         unreasonable repayment terms and conditions.

               d.        Pandi, Patterson or Illig did the other wrongful acts described herein.

       298.    Such breaches were performed by Pandi, Patterson or Illig to exploit economic

conditions to their own benefit, and to intentionally undermine the fulfillment of PIA’s and

FiveStar’s contractual obligations to Allen.




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       299.    Pandi, Patterson or Illig’s breach of the covenant of good faith and fair dealing

was a substantial factor in causing damage and injury to Allen.

       300.    As a direct and proximate result of Pandi, Patterson or Illig’s unlawful conduct

alleged in this Petition, Allen has lost substantial compensation and other benefits. Allen has

further suffered extreme anguish and emotional distress due to such conduct in an amount to be

determined at trial.

       301.    Because of the irreparable harm that would result from Illig, Patterson and

Pandi’s collection of the “Notes” and “Loans” and/or from a judgment characterizing the equity

contributions as debt, Allen prays for an injunction from this Court:

                 a. Enjoining further “loans” made pursuant to the amended operating

                       agreements adopted by PIA’s board of managers in 2013;

                 b. Commanding the managers of PIA to satisfy PIA’s debts with

                       unencumbered assets, as required by PIA’s Operating Agreement;

                 c. Enjoining the managers of PIA and Pandi from characterizing future

                       contributions from Pandi as third party debt.

       WHEREFORE, Allen prays for judgment in an amount to be determined at trial, for his

costs incurred herein; for pre-judgment and post-judgment interest; for punitive damages; for an

injunction as described above, and for such other and further legal and equitable relief as the

Court deems just and proper.

      COUNT II – VIOLATION OF MISSOURI FRAUDULENT TRANSFER ACT
   (Jim and Nancy Allen v. Illig, Patterson, PANDI Development, and PANDI Capital, LLC)

       302.    Allen incorporates herein by reference the statements and allegations

contained in the paragraphs above as though more fully and completely set forth herein.




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       303.     As described above, the Allens took steps to collect loans made to PIA and

asserted Jim Allen’s right to certain contractual obligations owed by PIA, FiveStar and PIA’s

subsidiaries.

       304.     In anticipation of and response to Allen’s suit and demand, Patterson and Illig

through Pandi Development began taking the actions described in more detail above, including

appointing new managers, calling for meetings, claiming that PIA was in financial crisis,

demanding large capital contributions from Allen, refusing to continue making contributions to

PIA through Pandi Capital as they had for years before Allen made his demands unless Allen

abandoned his demands, and filing their counterclaims in this lawsuit.

       305.     Patterson and Illig’s pursuit of their counterclaims through Pandi Capital to

recharacterize equity contributions as debt is an attempt to hinder, delay or defraud creditors of

PIA, including the Allens.

       306.     Patterson and Illig made the alleged “loans” and “notes” from one company they

owned, Pandi Capital, to another company they controlled, PIA Assets.

       307.     Patterson and Illig made the alleged “loans” and “notes” in anticipation of a

substantial long-term gain, as the prospects of short-term repayment at substantial interest on

unsecured notes from PIA was low.

       308.     Pandi received inadequate consideration for its “Loans” or “Notes,” in that it

would have had no reasonable expectation of repayment given short maturity terms of the

alleged loans combined with the large principal amounts, high interest rates.

       309.     The “Notes” were not made in the usual method of transacting business, in that

the “Notes” and “Loans” were made without the approval of the members of PIA as required by

the Operating Agreement, and no copies of the “Notes” were provided to PIA.



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        310.    Pandi has begun demanding security on its alleged loans.

        311.    The amount of the “Loans” and “Notes” is such that demanding repayment from

PIA is in effect a transfer of all or nearly all of PIA’s property.

        312.    Repayment of the “Loans” and “Notes” would cause PIA’s insolvency.

        313.    The circumstances surrounding the execution and delivery of the “Notes” and

“loans” are suspicious as described above, in that the amounts claimed do not match the amounts

on PIA’s books, PIA did not have copies of the “Notes” or “Loans,” and several of the Notes

reflected a debt owed to a Pandi Capital before Pandi Capital existed.

        WHEREFORE, the Allens pray for judgment in an amount to be determined at trial, for

their costs incurred herein; for pre-judgment and post-judgment interest; for punitive damages;

for an injunction, and for such other and further legal and equitable relief as the Court deems just

and proper.

                     COUNT III – DECLARATORY JUDGMENT
 (Jim and Nancy Allen v. Illig, Patterson, Pandi Development, LLC and PANDI Capital, LLC)

        314.    Allen incorporates herein by reference the statements and allegations

contained in the paragraphs above as though more fully and completely set forth herein.

        315.    A justiciable controversy regarding the characterization of contributions made by

Illig and Patterson through Pandi Capital exists in that Pandi Capital’s counterclaims for breach

of contract are based on “Notes” described in Pandi Capital’s counterclaims.

        316.    For the reasons described above, the contributions made by Patterson and Illig

through Pandi Capital were not contractual obligations owed by PIA to Pandi Capital, but were

equity contributions made by Illig and Patterson that have been re-characterized as loans in order

to re-prioritize repayment.




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          317.   If Patterson and Illig through Pandi Capital are successful through their lawsuit in

converting their equity contributions into debts, PIA and its subsidiaries will be perpetually insolvent,

rendering it unable to repay debts or satisfy its contractual duties to third-party creditors like Allen.

          318.   The disposition of Illig and Patterson’s claims in this suit will impair or impede

Allen’s ability to protect both his interest as a Member of PIA in protecting PIA’s financial

solvency, and Jim and Nancy Allens’ personal interests in protecting the priority of their loans

made in 2006 over Illig and Patterson’s equity contributions made from 2009-13.

          319.   Allen therefore asks this Court for a declaration that the “Notes” described in

Pandi Capital’s counterclaims were in fact equity contributions to PIA Assets.

          WHEREFORE, the Allens pray for a declaration of rights as described above, for their

costs and fees incurred herein; and further legal and equitable relief as the Court deems just and

proper.

                       COUNT IV—FRAUDULENT INDUCEMENT
            (Jim Allen v. Patterson, Illig, and Pandi Capital and Pandi Development)

          Plaintiff incorporates herein by reference the statements and allegations contained in

the paragraphs above as though more fully and completely set forth herein.

          320.   At the end of 2009, Patterson, Illig and Allen discussed additional capital

contributions into PIA. Patterson and Illig were willing to make additional equity contributions

but did not want to do so unless Allen made some type of contribution to PIA as well. Patterson

and Illig requested that Allen, in lieu of capital contributions, modify his employment agreement

with PIA, including taking a reduction in salary and other benefits.

          321.   Based upon Patterson and Illig’s representations that they would make additional

capital contributions to PIA if Allen modified his employment agreement thereby reducing his

salary and providing additional capital to PIA, Allen agreed to modify his employment


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agreement. The parties began to negotiate a revised employment agreement that contained the

following material terms: (a) reduction of his annual salary; (b) an incentive provision; (c) car

allowance; (d) a note for the aforementioned loans from Jim and Nancy Allen under terms

satisfactory to Allen; and (e) release, indemnification and hold harmless on guaranties relating to

debts of PIA Assets or its subsidiaries.

         322.   The parties negotiated the terms of the revised agreement and finally reached

agreement in principle. Acceptance of the revised employment agreement was conditioned upon

“(a) execution and delivery by all the parties, and (b) the execution and delivery of a note in form

and substance satisfactory to” Allen.

         323.   PIA has never signed the revised agreement nor delivered a Note acceptable to

Allen.

         324.   Unbeknownst to Allen, Illig directed that a note for Allen’s debt not be delivered

to Allen.

         325.   Shortly after the parties agreed to the revised agreement in principle, and before

any signatures of the parties, Allen began receiving a reduced salary.

         326.   Additionally, Patterson and Illig, without consent or discussion with Allen, nixed

a townhome project which was to generate a significant portion of the bonuses under Allen’s

modified employment agreement. Allen has never received any of the bonuses provided for in

the revised employment agreement.

         327.   Allen also never received any drafts of a note as was contemplated by the

modified employment agreement.

         328.   In March 2012, believing that PIA had never accepted the 2010 Agreement

because he had never received a sign copy or the agreement or a draft promissory note, let alone



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a note acceptable to Allen, Allen made a demand upon PIA for the repayment of his loans in

accordance with PIA’s financial records. In response, Allen was presented with a “Note” signed

by Illig that indicated the loans were due on January 1, 2013. Allen had never seen this note

before, let alone approved the note given the various problems, including that it was for the

incorrect loan amount.

       329.    Illig had previously directed that the Note not be delivered to Allen.

       330.    The Allens’ loans have not been repaid and the debt to the Allens is not currently

reflected in any of PIA’s financial plans. Accordingly, it appears that Patterson and Illig have no

intention to ever repay the Allens.

       331.    It further appears that Patterson and Illig through Pandi Development induced

Allen into taking a reduced salary without ever intending to honor the other provisions of the

agreement.

       332.    Additionally, at the direction of Patterson and Illig, and in furtherance of their

plan to drive Allen from PIA, Patterson and Illig through Pandi Development and Pandi Capital

also have attempted to recharacterize their “capital contributions” as debt suggesting that their

stated reasons for wanting Allen to take a reduction in salary were pretextual.

       333.    Patterson and Illig’s failure to disclose that they did not consider their capital

contributions as such, and rather considered them as loans which would take priority above other

payments was willful misconduct or was made with reckless indifference to the rights of Allen

and was done with the intent to induce Allen to enter into a modified employment agreement.

       334.    Allen did not have any independent knowledge of Patterson and Illig’s

misrepresentations or intent to defraud him at the time.




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          335.   In entering into the modified employment agreement, which increased cash flow

to PIA without any ability by Allen to benefit from that increased cash flow, Patterson and Illig

intended Allen to rely on their representations.

          336.   Allen never would have agreed to modify the terms of his original employment

agreement, including to a reduced salary in order to provide PIA more working capital if he had

known at the time that Patterson and Illig had no intention of honoring the terms of the modified

agreement and intended to attempt to reclassify their capital contributions as third-party debt to

defraud the Allens out of money they loaned to the company and to decrease the value of Allen’s

shares.

          337.   As a result of these fraudulent inducements, Allen gave up rights and benefits

granted to him by his original agreement, including but not limited to a higher base salary and a

six million dollar buyout provision of his Class A shares.

          WHEREFORE, Plaintiff prays for judgment against Defendants Pandi Capital, Pandi

Development, Patterson and Illig, jointly and severally, for fraudulent inducement through

misrepresentations, including for their willful misconduct and intentional breach of Plaintiff’s

employment agreement, for his costs and expenses incurred herein, for punitive damages in such

an amount that is fair and reasonable, and for such other and further relief as the Court may deem

just and equitable.




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COUNT V—BREACH OF CONTRACT – RELEASE, INDEMNIFICATION AND
                     HOLD HARMLESS ON GUARANTIES
   (Allen v. PIA, FiveStar, Patterson, Illig, Pandi Capital and Pandi Development)

          Plaintiff incorporates herein by reference the statements and allegations contained in

the paragraphs above as though more fully and completely set forth herein.

          338.   At the end of 2009, Patterson, Illig and Allen discussed additional capital

contributions into PIA. Patterson and Illig were willing to make additional equity contributions

but did not want to do so unless Allen made some type of contribution to PIA as well. Patterson

and Illig requested that Allen, in lieu of capital contributions, modify his employment agreement

with PIA, including taking a reduction in salary and other benefits.

          339.   Based upon Patterson and Illig’s representations that they would make additional

capital contributions to PIA if Allen modified his employment agreement thereby reducing his

salary and providing additional capital to PIA, Allen agreed to modify his employment

agreement. The parties began to negotiate a revised employment agreement that contained the

following material terms: (a) reduction of his annual salary; (b) an incentive provision; (c) car

allowance; (d) a note for the Allens’ aforementioned loans; and (e) release, indemnification and

hold harmless on guaranties relating to debts of PIA Assets or its subsidiaries.

          340.   Per the revised agreement, within one year of Allen’s resignation from his

employment, FiveStar and “the other PIA Companies” were obligated to obtain releases on

personal guaranties Allen had signed on debt obligations of PIA, Five Star, and other subsidiaries

of PIA.

          341.   If releases were not immediately obtained, FiveStar and the other PIA Companies

were obligated to indemnify and hold Allen harmless.




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       342.    Releases were not obtained on the conditional guaranties Allen signed on PIA

loans from Missouri Bank.

       343.    If those guaranties were or are effective, FiveStar and the PIA Companies had an

obligation to indemnify or hold Allen harmless with respect to those loans.

       344.    Allen has not received any indemnification or hold harmless agreement from

FiveStar or any of the PIA Companies.

       345.    After causing PIA to default on the loans from Missouri Bank, Pandi, Illig and

Patterson now claim to have purchased the Missouri Bank loans and seek to enforce Allen’s

guaranties.

       346.    Pandi, Illig and Patterson, as the alter egos of PIA, FiveStar and the PIA

Companies, have an affirmative obligation to release, indemnify and hold Allen harmless on

those guaranties.

       347.    Defendants now seek to insulate themselves from liability for the wrongful acts

described above, from their obligation to repay Allen’s loans, and from their obligations to

indemnify, hold harmless and/or release Allen from the very guaranties Defendants now seek to

enforce through a purported foreclosure “sale” of Allen’s claims against PIA.

       348.    Defendants have breached their duty to release and/or indemnify and hold Allen

harmless on not only the loans from Missouri Bank, but also several other loans third parties

made to PIA, FiveStar and the PIA Companies.

       349.    As a result, Allen has been damaged.

WHEREFORE, Plaintiff prays for judgment against Defendants jointly and severally for breach

of Plaintiff’s employment agreement, including for their willful misconduct and intentional




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breach of Plaintiff’s employment agreement, for his costs and expenses incurred herein, and for

such other and further relief as the Court may deem just and equitable.

                         COUNT VI—CIVIL CONSPIRACY
      (Jim and Nancy Allen v. PIA, FiveStar, Patterson, Illig, Pandi Capital and Pandi
                                      Development)

       Plaintiffs incorporate herein by reference the statements and allegations contained in

the paragraphs above as though more fully and completely set forth herein.

       350.    As described above, Patterson and Illig together and through PIA, FiveStar, Pandi

Capital and Pandi Development had an agreement and meeting of the minds to defraud Jim Allen

out of the benefits of his employment contract, to defraud and prevent Jim and Nancy Allen from

being repaid on their loan, and to insulate themselves from liability.

       351.    Patterson and Illig together and through PIA, FiveStar, Pandi Capital and Pandi

Development took the affirmative steps described above in furtherance of their conspiracy.

       352.    Defendants’ conspiracy and the actions taken in furtherance of that conspiracy

have damaged Plaintiffs by delaying and frustrating repayment of their loan and defrauding Jim

Allen out of the benefit of his employment contract.

WHEREFORE, the Allens pray for judgment against Defendants jointly and severally for the

conspiracy, including for their willful misconduct and intentional breach of Plaintiff’s

employment agreement, for his costs and expenses incurred herein, and for such other and

further relief as the Court may deem just and equitable.




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                                        JURY DEMAND

       The Allens hereby requests a trial by jury of all issues triable by jury.


 Respectfully submitted,

 STUEVE SIEGEL HANSON LLP


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ATTORNEYS FOR PLAINTIFFS AND
COUNTERCLAIM-DEFENDANT




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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was served via email and First-Class U.S. Mail this

sixth day of October, 2014 to the following:

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                                SANDRA L. DOWD
                                 CIRCUIT CLERK
                               PLATTE COUNTY, MO




EXHIBIT
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  21
              IN THE CIRCUIT COURT OF PLATTE COUNTY, MISSOURI
JAMES S. ALLEN, JR.,                                                                      FILED
                                                                                         10/28/2014
and
                                                                                        11:29 AM
NANCY T. ALLEN                                                                      SANDRA L. DOWD
                                                   Case No. 13AE-CV00013             CIRCUIT CLERK
                       Plaintiffs                                                  PLATTE COUNTY, MO
        v.                                         Division No. 2

PIA ASSETS, LLC,
RP GOLF, LLC, and
FIVESTAR LIFESTYLES, LLC

                       Defendants,

and

PANDI CAPITAL, LLC
PANDI DEVELOPMENT, LLC,
NEAL L. PATTERSON, and
CLIFFORD W. ILLIG,

                       Intervenor-Defendants
                       and Counterclaimants.


                                            ORDER

        For the reasons set forth Plaintiffs’ Opposition to Missouri Bank’s Motion for Protective

Order Regarding Subpoena, the Motion is hereby denied.



DATE:
        October 28             , 2014
                                             Honorable James W. Van Amburg, Circuit Judge




                                                EXHIBIT
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                                                   22
              IN THE CIRCUIT COURT OF PLATTE COUNTY, MISSOURI
JAMES S. ALLEN, JR.,
                                                                                        FILED
and                                                                                    10/28/2014
                                                                                      11:30 AM
NANCY T. ALLEN                                                                    SANDRA L. DOWD
                                                  Case No. 13AE-CV00013            CIRCUIT CLERK
                       Plaintiffs                                                PLATTE COUNTY, MO
                                                  Division No. 2
        v.

PIA ASSETS, LLC,
RP GOLF, LLC, and
FIVESTAR LIFESTYLES, LLC

                       Defendants,

and

PANDI CAPITAL, LLC
PANDI DEVELOPMENT, LLC,
NEAL L. PATTERSON, and
CLIFFORD W. ILLIG,

                       Intervenor-Defendants
                       and Counterclaimants.


                                           ORDER

        Pandi Capital, LLC, Pandi Development, LLC, Neal Patterson and Cliff Illig’s Joint

Amended Motion for Protective Order is hereby denied. Missouri Bank and Trust of Kansas

City’s Motion for Protective Order is hereby denied. The production of documents required by

the subpoena served on Missouri Bank and Trust of Kansas City will be subject to the terms of

the Protective Order governing this case, entered on October 14, 2014.




DATE:
         October 28 , 2014
                                            Honorable James W. Van Amburg, Circuit Judge



                                               EXHIBIT
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                                                 23
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              IN THE CIRCUIT COURT OF PLATTE COUNTY, MISSOURI

JAMES S. ALLEN, JR.,                                 )
                                                     )
        Plaintiff,                                   )
                                                     )
        v.                                           )      Case No. 13AE-CV00013
                                                     )      Division II
PIA ASSETS, LLC,                                     )
RP GOLF, LLC,                                        )
                                                     )
        Defendants,                                  )
                                                     )
and                                                  )
                                                     )
PANDI CAPITAL, LLC,                                  )
PANDI DEVELOPMENT, LLC,                              )
NEAL L. PATTERSON, and                               )
CLIFFORD W. ILLIG,                                   )
                                                     )
        Intervenor-Defendants,                       )
        Counterclaimants, and Crossclaimants.        )

              INTERVENOR-DEFENDANTS / COUNTERCLAIMANTS
      PANDI DEVELOPMENT, LLC, NEAL PATTERSON, AND CLIFFORD ILLIG’S
          ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED
             COUNTERCLAIMS OF JAMES ALLEN AND NANCY ALLEN

        Intervenor-Defendants and Counterclaimants Pandi Development, LLC (“Pandi

Development”), Neal Patterson (“Patterson”), and Clifford Illig (“Illig”) (collectively

“Intervenor-Defendants”) submit their Answer To Plaintiffs’ First Amended Counterclaims

Against Intervenors Pandi Capital, LLC, Pandi Development, LLC, Neal Patterson, and Clifford

Illig. In their preliminary paragraph, James Allen and Nancy Allen (the “Allens”), incorporate

their Answer and Affirmative Defenses into their Counterclaims. In response to that preliminary

paragraph, Intervenor-Defendants state they lack knowledge or information sufficient to form a

belief about the truth of those averments, and therefore, deny the averments. Additionally,

Intervenor-Defendants state the affirmative defenses herein to the Allens’ Counterclaims and

also state the avoidances herein to the affirmative defenses pleaded by Allen.

                                                 EXHIBIT
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          ANSWER TO THE ALLENS’ FIRST AMENDED COUNTERCLAIMS

       189.      Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 189. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 189.

       190.      Intervenor-Defendants deny the averments contained in paragraph 190.

       191.      Intervenor-Defendants admit the averments contained in paragraph 191.

       192.      Intervenor-Defendants deny the averments contained in paragraph 192.

       193.      The averments contained in paragraph 193 are legal conclusions to which no

response is required.

       194.      The averments contained in paragraph 194 are legal conclusions to which no

response is required.

       195.      Intervenor-Defendants admit the averments contained in paragraph 195.

       196.      Intervenor-Defendants admit the averments contained in paragraph 196.

       197.      Intervenor-Defendants lack sufficient knowledge, information, and belief as to the

meaning of “affiliate” as used in paragraph 197 and, therefore, deny the averments contained in

paragraph 197.

       198.      Intervenor-Defendants admit the averments contained in paragraph 198.

       199.      Intervenor-Defendants admit that Pandi Capital is the owner of the Notes and

Loans representing the monies loaned to PIA Assets. Intervenor-Defendants deny the remaining

averments contained in paragraph 199.

       200.      Intervenor-Defendants deny the averments contained in paragraph 200.



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       201.   Intervenor-Defendants deny the averments contained in paragraph 201.

       202.   Intervenor-Defendants deny the averments contained in paragraph 202.

       203.   Intervenor-Defendants deny the averments contained in paragraph 203.

       204.   Intervenor-Defendants deny the averments contained in paragraph 204.

       205.   Intervenor-Defendants admit that Patterson and Illig were managers of PIA Assets

from its inception until December 21, 2012.       Intervenor-Defendants deny the remaining

averments contained in paragraph 205.

       206.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 206. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 206.

       207.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 207. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 207.

       208.   Intervenor-Defendants deny the averments contained in paragraph 208.

       209.   Intervenor-Defendants deny the averments contained in paragraph 209.

       210.   PIA’s Operating Agreement speaks for itself, and Intervenor-Defendants deny the

averments contained in paragraph 210 to the extent they are inconsistent with the Operating

Agreement. Intervenor-Defendants deny all other averments contained in paragraph 210.

       211.   Intervenor-Defendants deny the averments contained in paragraph 211.

       212.   Intervenor-Defendants deny the averments contained in paragraph 212.

       213.   Intervenor-Defendants deny the averments contained in paragraph 213.

       214.   Intervenor-Defendants deny the averments contained in paragraph 214.

       215.   Intervenor-Defendants deny the averments contained in paragraph 215.



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       216.   Intervenor-Defendants deny the averments contained in paragraph 216.

       217.   Intervenor-Defendants deny the averments contained in paragraph 217.

       218.   Intervenor-Defendants admit that Pandi Capital made loans to PIA Assets.

Intervenor-Defendants deny the remaining averments contained in paragraph 218.

       219.   Intervenor-Defendants deny the averments contained in paragraph 219.

                 a. Intervenor-Defendants lack sufficient knowledge, information, and belief

                      to admit or deny the averments contained in subparagraph 219(a).

                      Intervenor-Defendants, therefore, deny the averments contained in

                      subparagraph 219(a).

                 b.   Intervenor-Defendants lack sufficient knowledge, information, and belief

                      to admit or deny the averments contained in subparagraph 219(b).

                      Intervenor-Defendants, therefore, deny the averments contained in

                      subparagraph 219(b).

       220.   Intervenor-Defendants deny the averments contained in paragraph 220.

       221.   Intervenor-Defendants deny the averments contained in paragraph 221.

       222.   Intervenor-Defendants deny the averments contained in paragraph 222.

       223.   Intervenor-Defendants deny the averments contained in paragraph 223.

       224.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 224. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 224.

       225.   Intervenor-Defendants deny the averments contained in paragraph 225.




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       226.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 226. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 226.

       227.   Intervenor-Defendants deny the averments contained in paragraph 227.

       228.   Intervenor-Defendants deny the averments contained in paragraph 228.

       229.   Intervenor-Defendants deny the averments contained in paragraph 229.

       230.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 230. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 230.

       231.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 231. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 231.

       232.   Intervenor-Defendants deny the averments contained in paragraph 232.

       233.   Intervenor-Defendants lack sufficient knowledge, information, and belief as to the

averment that “Allen did not contemporaneously receive copies of the Notes on which Pandi

Capital’s claims are based…” and, therefore, deny that averment. Intervenor-Defendants deny

the remaining averments contained in paragraph 233.

       234.   Intervenor-Defendants deny the averments contained in paragraph 234.

       235.   Intervenor-Defendants deny the averments contained in paragraph 235.

       236.   Intervenor-Defendants deny the averments contained in paragraph 236.

       237.   Intervenor-Defendants deny the averments contained in paragraph 237.




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       238.   Intervenor-Defendants admit that Pandi Capital has brought counterclaims in this

lawsuit seeking to collect on the Notes from Pandi Capital to PIA Assets. Intervenor-Defendants

deny the remaining averments contained in paragraph 238.

       239.   Intervenor-Defendants admit the averments contained in paragraph 239.

       240.   Intervenor-Defendants deny the averments contained in paragraph 240.

       241.   Intervenor-Defendants admit that Pandi Capital’s Petition in Jackson County

asserted claims to collect on its Notes to PIA Assets on April 30, 2013. Intervenor-Defendants

also admit that PIA Assets filed an Answer to Pandi Capital’s Petition on May 3, 2013.

Intervenor-Defendants deny the remaining averments contained in paragraph 241.

       242.   Intervenor-Defendants deny the averments contained in paragraph 242.

       243.   Intervenor-Defendants deny the averments contained in paragraph 243.

       244.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 244. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 244.

       245.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 245. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 245.

       246.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 246. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 246.

       247.   Intervenor-Defendants deny the averments contained in paragraph 247.




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       248.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 248. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 248.

       249.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 249. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 249.

       250.   Intervenor-Defendants admit that Allen entered into an employment agreement

with PIA Assets the terms of which speak for itself. Intervenor-Defendants deny the remaining

averments contained in paragraph 250.

       251.   The terms of the referenced agreement speak for themselves, and Intervenor-

Defendants deny the remaining averments in paragraph 251.

       252.   Intervenor-Defendants deny the averments contained in paragraph 252.

       253.   The terms of the referenced agreement speak for themselves, and Intervenor-

Defendants deny the remaining averments in paragraph 253.

       254.   Intervenor-Defendants deny the averments contained in paragraph 254.

       255.   Intervenor-Defendants admit the existence of a document entitled “Amended and

Restated Employment Agreement” the terms of which speak for itself. Intervenor-Defendants

deny the remaining averments in paragraph 255.

       256.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 256. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 256.

       257.   Intervenor-Defendants deny the averments contained in paragraph 257.

       258.   Intervenor-Defendants deny the averments contained in paragraph 258.



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       259.   Interrvenor-Defendants deny the averments contained in paragraph 259.

       260.   Intervenor-Defendants deny the averments contained in paragraph 260.

       261.   Intervenor-Defendants deny the averments contained in paragraph 261.

       262.   Intervenor-Defendants deny the averments contained in paragraph 262.

       263.   Intervenor-Defendants deny the averments contained in paragraph 263.

       264.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 264. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 264.

       265.   Intervenor-Defendants deny the averments contained in paragraph 265.

       266.   Intervenor-Defendants deny the averments contained in paragraph 266.

       267.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 267. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 267.

       268.   Intervenor-Defendants deny the averments contained in paragraph 268.

       269.   Intervenor-Defendants deny the averments contained in paragraph 269.

       270.   Intervenor-Defendants deny the averments contained in paragraph 270.

       271.   Intervenor-Defendants admit that Allen filed a lawsuit against PIA in January

2013 and that lawsuit speaks for itself.    Intervenor-Defendants lack sufficient knowledge,

information, and belief to admit or deny the remaining averments contained in paragraph 271.

Intervenor-Defendants, therefore, deny the remaining averments contained in paragraph 271.

       272.   Intervenor-Defendants deny the averments contained in paragraph 272.

       273.   Intervenor-Defendants deny the averments contained in paragraph 273.

       274.   Intervenor-Defendants deny the averments contained in paragraph 274.



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       275.   Intervenor-Defendants deny the averments contained in paragraph 275.

       276.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 276. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 276.

       277.   Intervenor-Defendants deny the averments contained in paragraph 277.

       278.   Intervenor-Defendants deny the averments contained in paragraph 278.

       279.   Intervenor-Defendants deny the averments contained in paragraph 279.

       280.   Intervenor-Defendants deny the averments contained in paragraph 280.

       281.   Intervenor-Defendants deny the averments contained in paragraph 281.

       282.   Intervenor-Defendants deny the averments contained in paragraph 282.

       283.   Intervenor-Defendants deny the averments contained in paragraph 283.

       284.   Intervenor-Defendants deny the averments contained in paragraph 284.

       285.   Intervenor-Defendants deny the averments contained in paragraph 285.

       286.   Intervenor-Defendants deny the averments contained in paragraph 286.

       287.   Intervenor-Defendants deny the averments contained in paragraph 287.

       288.   Intervenor-Defendants deny the averments contained in paragraph 288.

       289.   Intervenor-Defendants deny the averments contained in paragraph 289.

       290.   Intervenor-Defendants deny the averments contained in paragraph 290.

       291.   Intervenor-Defendants deny the averments contained in paragraph 291.

       292.   Intervenor-Defendants deny the averments contained in paragraph 292.

       293.   Intervenor-Defendants deny the averments contained in paragraph 293.

           COUNT I – BREACH OF THE IMPLIED DUTY OF GOOD FAITH
                                     AND FAIR DEALING
            (Allen v. Illig, Patterson, Pandi Development, and Pandi Capital, LLC)



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        294.    Intervenor-Defendants incorporate herein by reference the responses contained in

the paragraphs above as though more fully and completely set forth herein.

        295.    Intervenor-Defendants deny the averments contained in paragraph 295 and all of

its subparts.

        296.    Intervenor-Defendants deny the averments contained in paragraph 296.

        297.    Intervenor-Defendants deny the averments contained in paragraph 297 and all of

its subparts.

        298.    Intervenor-Defendants deny the averments contained in paragraph 298.

        299.    Intervenor-Defendants deny the averments contained in paragraph 299.

        300.    Intervenor-Defendants deny the averments contained in paragraph 300.

        301.    Intervenor-Defendants deny the averments contained in paragraph 301 and all of

its subparts.

    COUNT II – VIOLATION OF THE MISSOURI FRAUDULENT TRANSFER ACT
     (Jim and Nancy Allen v. Illig, Patterson, Pandi Development, and Pandi Capital, LLC)

        302.    Intervenor-Defendants incorporate herein by reference the responses contained in

the paragraphs above as though more fully and completely set forth herein.

        303.    Intervenor-Defendants deny the averments contained in paragraph 303.

        304.    Intervenor-Defendants deny the averments contained in paragraph 304.

        305.    Intervenor-Defendants deny the averments contained in paragraph 305.

        306.    Intervenor-Defendants deny the averments contained in paragraph 306.

        307.    Intervenor-Defendants deny the averments contained in paragraph 307.

        308.    Intervenor-Defendants deny the averments contained in paragraph 308.

        309.    Intervenor-Defendants deny the averments contained in paragraph 309.

        310.    Intervenor-Defendants deny the averments contained in paragraph 310.

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       311.   Intervenor-Defendants deny the averments contained in paragraph 311.

       312.   Intervenor-Defendants deny the averments contained in paragraph 312.

       313.   Intervenor-Defendants deny the averments contained in paragraph 313.

                     COUNT III – DECLARATORY JUDGMENT
  (Jim and Nancy Allen v. Illig, Patterson, Pandi Development, LLC and Pandi Capital, LLC)

       314.   Intervenor-Defendants incorporate herein by reference the responses contained in

the paragraphs above as though more fully and completely set forth herein.

       315.   Intervenor-Defendants deny the averments contained in paragraph 315.

       316.   Intervenor-Defendants deny the averments contained in paragraph 316.

       317.   Intervenor-Defendants deny the averments contained in paragraph 317.

       318.   Intervenor-Defendants deny the averments contained in paragraph 318.

       319.   Intervenor-Defendants deny the averments contained in paragraph 319.

                       COUNT IV – FRAUDULENT INDUCEMENT
              (Jim Allen v. Patterson, Illig, Pandi Capital and Pandi Development)

       Intervenor-Defendants incorporate herein by reference the responses contained in the

paragraphs above as though more fully and completely set forth herein.

       320.   Intervenor-Defendants deny the averments contained in paragraph 320.

       321.   Intervenor-Defendants deny the averments contained in paragraph 321.

       322.   Intervenor-Defendants admit the existence of a document entitled “Amended and

Restated Employment Agreement” the terms of which speak for itself. Intervenor-Defendants

deny the remaining averments contained in paragraph 322.

       323.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 323. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 323.



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       324.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 324. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 324.

       325.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 325. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 325.

       326.   Intervenor-Defendants deny the averments contained in paragraph 326.

       327.   Intervenor-Defendants lack sufficient knowledge, information, and belief to admit

or deny the averments contained in paragraph 327. Intervenor-Defendants, therefore, deny the

averments contained in paragraph 327.

       328.   Intervenor-Defendants lack sufficient knowledge, information, and belief as to

what Allen “believed” in March 2012. Intervenor-Defendants, therefore, deny the averments

contained in paragraph 328.

       329.   Intervenor-Defendants deny the averments contained in paragraph 329.

       330.   Intervenor-Defendants deny the averments contained in paragraph 330.

       331.   Intervenor-Defendants deny the averments contained in paragraph 331.

       332.   Intervenor-Defendants deny the averments contained in paragraph 332.

       333.   Intervenor-Defendants deny the averments contained in paragraph 333.

       334.   Intervenor-Defendants deny the averments contained in paragraph 334.

       335.   Intervenor-Defendants deny the averments contained in paragraph 335.

       336.   Intervenor-Defendants deny the averments contained in paragraph 336.

       337.   Intervenor-Defendants deny the averments contained in paragraph 337.




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COUNT V – BREACH OF CONTRACT – RELEASE, INDEMNIFICATION AND HOLD
                           HARMLESS ON GUARANTIES
     (Allen v. PIA, FiveStar, Patterson, Illig, Pandi Capital and Pandi Development)

              Intervenor-Defendants incorporate herein by reference the responses contained in

the paragraphs above as though more fully and completely set forth herein.

       338.   Intervenor-Defendants deny the averments contained in paragraph 338.

       339.   Intervenor-Defendants deny the averments contained in paragraph 339.

       340.   Intervenor-Defendants admit the existence of a document entitled “Amended and

Restated Employment Agreement” and the document speaks for itself. Intervenor-Defendants

deny the remaining averments contained in paragraph 340.

       341.   Intervenor-Defendants deny the averments contained in paragraph 341.

       342.   Intervenor-Defendants deny that Allen’s guaranties were “conditional”.

Intervenor-Defendants admit the remaining averments contained in paragraph 342.

       343.   Intervenor-Defendants deny the averments contained in paragraph 343.

       344.   Intervenor-Defendants deny the averments contained in paragraph 344.

       345.   Intervenor-Defendants admit that Pandi Capital, Pandi Development, Patterson,

and Illig purchased the Missouri Bank loans and that they seek to enforce Allen’s guaranty in

this lawsuit. Intervenor-Defendants deny the remaining averments contained in paragraph 345.

       346.   Intervenor-Defendants deny the averments contained in paragraph 346.

       347.   Intervenor-Defendants deny the averments contained in paragraph 347.

       348.   Intervenor-Defendants deny the averments contained in paragraph 348.

       349.   Intervenor-Defendants deny the averments contained in paragraph 349.

                           COUNT VI – CIVIL CONSPIRACY
 (Jim and Nancy Allen v. PIA, FiveStar, Patterson, Illig, Pandi Capital and Pandi Development)




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       Intervenor-Defendants incorporate herein by reference the responses contained in the

paragraphs above as though more fully and completely set forth herein.

       350.   Intervenor-Defendants deny the averments contained in paragraph 350.

       351.   Intervenor-Defendants deny the averments contained in paragraph 351.

       352.   Intervenor-Defendants deny the averments contained in paragraph 352.

       353.   Intervenor-Defendants deny all averments not expressly admitted herein.

                     AFFIRMATIVE DEFENSES AND AVOIDANCES

       353.   Allen fails to state a claim upon which relief may be granted against Intervenor-

Defendants for breach of the implied covenant of good faith and fair dealing because Intervenor-

Defendants and Pandi Capital were not parties to the agreement upon which Allen’s averments

are based.

       354.   Any claim for relief or cause of action of the Allens with respect to Pandi

Capital’s loans to PIA Assets is extinguished under Mo. Rev. Stat. § 428.049 and / or entitled to

protection under the provisions of Mo. Rev. Stat. § 428.044, including, but not limited to, the

following reasons:

              a.      The alleged “transfers” or “obligations” were made more than one year

                      before the Allens brought this action.


              b.      Any alleged “transfer” or “obligation” incurred as a result of Pandi

                      Capital’s Loans and Notes to PIA Assets was in good faith and gave new

                      value to and for the benefit of PIA Assets after the alleged “transfer” or

                      “obligation” was made in that Pandi Capital provided PIA Assets with

                      loaned funds so that PIA Assets could continue to operate.




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               c.     PIA Assets received reasonably equivalent value for any alleged “transfer”

                      or “obligation,” including the loaned funds from Pandi Capital.


       355.    Allen fails to state a claim upon which relief may be granted because his claims

are barred by the Operating Agreement of PIA Assets.          Section 5.1(b) of the Operating

Agreement states: “[e]ach Manager, in making any decisions or determinations or taking any

actions in the capacity of a Manager, may and shall be entitled to consider and favor the rights

and interests of the member that designated such Manager rather than the rights and interests of

all Members, or the Company as a whole.”

       356.    Allen fails to state a claim upon which relief may be granted because his claims

are barred by Mo. Rev. Stat. § 347.088.4 because Pandi Development is merely a member of the

manager-managed PIA Assets. A member has no duties to the LLC or the other members solely

by reason of acting in its capacity as a member.

       357.    Allen fails to state a claim upon which relief may be granted against Intervenor-

Defendants for breach of the implied covenant of good faith and fair dealing because the conduct

Allen alleges was authorized by the Operating Agreement.

       358.    Allen fails to state a claim upon which relief may be granted against Intervenor-

Defendants for breach of the implied covenant of good faith and fair dealing because the

Operating Agreement addresses the conduct of which Allen complains.

       359.    The Allens, and each of them, fail to state a claim upon which relief may be

granted against Intervenor-Defendants for violation of the Missouri Fraudulent Transfer Act

because no transfer of PIA’s property has been alleged or has occurred.

       360.    The Allens, and each of them, fail to state a claim upon which relief may be

granted against Intervenor-Defendants for violation of the Missouri Fraudulent Transfer Act


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because the Allens have not established that they are creditors of PIA Assets and have no

standing to pursue any claims under the Act.

       361.    The Allens, and each of them, fail to state a claim upon which relief may be

granted against Intervenor-Defendants because the Allens do not allege that PIA Assets received

inadequate consideration for the Loans and Notes from Pandi Capital.

       362.    Allen ratified PIA Assets’ decision to accept Loans and Notes from Pandi Capital.

       363.    The Allens’ claims are barred by the doctrines of laches, acquiescence, and

equitable estoppel. Allen accepted the benefits of the Loans and Notes from Pandi Capital as a

member, manager, and employee of PIA Assets in that he was allowed to continue operating PIA

Assets even though it did not have sufficient cash flow to fund its operations. Allen’s salary and

his generous benefits were, in part, paid out of these funds. Allen approved these Loans and

Notes and did not object to them at the time they were made. Pandi Capital loaned funds to PIA

Assets based on its understanding from Allen’s actions and express approval that he approved of

the loans. Pandi Capital would not have continued to loan money to fund PIA Assets and

Allen’s salary if it knew of the Allens’ current asserted objections to the Loans and Notes.

       364.    The Allens, and each of them, fail to state a claim upon which relief may be

granted under the Missouri Fraudulent Transfer Act because the Allens’ claims did not arise

before any alleged “transfer” or “obligation” was made.

       365.    The Allens, and each of them, have unclean hands to assert their claims because

they are currently seeking repayment of a promissory note for money they allegedly loaned to

PIA Assets in this lawsuit. The Allens cannot, in this case, claim that attempts to collect on any

of Pandi Capital’s Loans and Notes to PIA Assets are in any way fraudulent or breaches of the




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implied covenant of good faith and fair dealing while they seek to collect debts allegedly owed

them by PIA Assets in the same suit.

         366.   Patterson and Illig are not in contractual privity with Allen because they are not

parties to the Operating Agreement of PIA Assets or to Allen’s alleged employment agreement.

Allen, therefore, fails to state a claim upon which relief may be granted against Patterson and

Illig.

         367.   Pandi Development is not a party to Allen’s alleged employment agreement and,

therefore, Allen fails to state a claim upon which relief may be granted against Pandi

Development based on the alleged employment agreement.

         368.   The actions of Intervenor-Defendants alleged by the Allens were taken in good

faith to fund PIA Assets’ operations.

         369.   The Allens do not have standing to assert any claims against PIA Assets,

including his fraudulent transfer, breach of contract, civil conspiracy, piercing the corporate veil,

and/or alter ego claims because, by virtue of the sale of PIA Assets’ loan from Missouri Bank &

Trust Co. of Kansas City to Pandi Capital, Pandi Development, Patterson, and Illig, the Allens

claims now belong to Pandi Capital, Pandi Development, Patterson, and Illig, and Allen is not

the real party in interest.

         370.   The Allens, and each of them, fail to state a claim upon which relief may be

granted for piercing the corporate veil against Patterson and Illig because Patterson and Illig are

not members of PIA Assets.

         371.   The Allens, and each of them, fail to state a claim upon which relief may be

granted for piercing the corporate veil because the Allens have failed to allege facts that show

Intervenor-Defendants or Pandi Capital have domination or control of the corporate entity.



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       372.     The Allens, and each of them, fail to state a claim upon which relief may be

granted for piercing the corporate veil because they have failed to allege facts that show

Intervenor-Defendants or Pandi Capital have committed fraud or violated any legal duty.

       373.    The Allens, and each of them, fail to state a claim upon which relief may be

granted for piercing the corporate veil because they have failed to allege facts that show that

Intervenor-Defendants or Pandi Capital proximately caused their alleged injury.

       374.    To the extent that Intervenor-Defendants owe any debts or obligations to the

Allens, which Intervenor-Defendants deny, Intervenor-Defendants are entitled to recoup and/or

set-off the repayment of any such debt against amounts adjudged to be owed by the Allens to

Intervenor-Defendants.

       375.    The declaratory judgment sought by the Allens fails to state a claim upon which

relief may be granted because the requested declaration would not terminate the uncertainty or

controversy giving rise to the proceeding.        The Allens seek a declaratory judgment re-

characterizing Pandi Capital’s loans to PIA Assets as equity contributions on behalf of Patterson

and Illig, but they seek no re-characterization or determination as to their own alleged loan to

PIA Assets.

       376.    The declaratory judgment sought by the Allens fails to state a claim upon which

relief may be granted because the Allens have an adequate remedy at law by asserting a claim for

damages.

       377.    The declaratory judgment sought by the Allens fails to state a claim upon which

relief may be granted because a justiciable controversy does not exist. The Allens’ purported

basis for declaratory judgment is that if Pandi Capital’s loans are classified as debt, “PIA and its




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subsidiaries will be perpetually insolvent”. Such an assertion seeks an advisory opinion on a

hypothetical situation that may or may not come to pass.

       378.    The declaratory judgment sought by the Allens fails to state a claim upon which

relief may be granted because the Allens do not have a legally-protected interest consisting of a

pecuniary or personal interest directly at issue and subject to immediate or prospective

consequential relief. The Allens do not have any claim or interest in whether Pandi Capital’s

loans to PIA Assets are characterized as loans or equity contributions.

       379.    The declaratory judgment sought by the Allens fails to state a claim upon which

relief may be granted because it is not ripe for judicial determination. The factual basis for the

declaratory judgment – that “PIA and its subsidiaries will be perpetually insolvent” – is

hypothetical and not certainly impending.

       380.    The Allens, and each of them, fail to state a claim upon which relief may be

granted for fraud because they fail to allege with particularity the circumstances constituting

fraud as required by Mo. R. Civ. P. 55.15.

       381.    The Allens, and each of them, fail to state a claim upon which relief may be

granted for fraud because they had knowledge of the truth that the Notes and Loans provided by

Pandi Capital to PIA Assets were indeed loans.

       382.    Allen alleges that he did not receive the note for his alleged credit to PIA in

paragraph 207 of his Counterclaims. Allen, therefore, had knowledge that the note was not

delivered to him. If the alleged conduct occurred, it occurred with Allen’s knowledge. Allen,

therefore, fails to state a claim upon which relief may be granted for fraud.

       383.    Allen fails to state a claim upon which relief may be granted for fraud because he

merely alleges that Patterson and Illig “discussed” additional capital contributions to PIA Assets.



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Allen alleges no statement of future intent on behalf of Patterson and Illig to make capital

contributions to PIA. Further, statements of intent as to future events are not actionable under

Missouri law.

       384.     The Allens, and each of them, fail to state a claim upon which relief may be

granted for conspiracy because Patterson and Illig are agents and members of Pandi

Development and cannot conspire with that LLC.

       385.     The Allens, and each of them, fail to state a claim upon which relief may be

granted because Pandi Development is a member of PIA Assets and members of LLCs cannot

conspire with their own LLC.

       386.     Patterson and Illig, as members of Pandi Development, are shielded from liability

under Mo. Rev. Stat. § 347.057.

       387.     Pandi Development, as a member of PIA Assets, is shielded from liability under

Mo. Rev. Stat. § 347.057.

       388.     Pandi Development, Patterson, Illig, and Pandi Capital have purchased the

Missouri Bank Notes and are now the owners of the Notes and Allen’s guaranties on the Notes.

Allen’s claims against PIA Assets, including his initial Petition and Counts V and VI of his

counterclaims, were collateral for the PIA Note. Pandi Development, Patterson, Illig, and Pandi

Capital foreclosed on Allen’s claims against PIA Assets as collateral and held a foreclosure sale

of Allen’s claims against PIA Assets. Pandi Development, Patterson, Illig, and Pandi Capital

purchased the collateral at the sale. Allen is, therefore, no longer the real party in interest and

has no standing to assert claims against PIA Assets.

       389.     Pandi Development, Patterson, Illig, and Pandi Capital have purchased the

Missouri Bank Notes and are now the owners of the Notes and Allen’s guaranties on the Notes.



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Allen’s claims against PIA Assets were collateral for the PIA Note. Pandi Development,

Patterson, Illig, and Pandi Capital foreclosed on Allen’s claims against PIA Assets as collateral

and held a foreclosure sale of Allen’s claims against PIA Assets. Pandi Development, Patterson,

Illig, and Pandi Capital purchased the collateral at the sale. Allen is, therefore, no longer the real

party in interest and has no standing to assert claims against PIA Assets. Accordingly, Allen

does not have standing to pursue claims against Pandi Development, Patterson, Illig, and Pandi

Capital by asserting claims against PIA Assets and attempting to pierce PIA Assets’ corporate

veil.

        390.   Pandi Development, Patterson, Illig, and Pandi Capital have purchased the

Missouri Bank Notes and are now the owners of the Notes and Allen’s guaranties on the Notes.

Allen’s claims against PIA Assets, including his initial Petition and Counts V and VI of his

counterclaims, were collateral for the PIA Note. Pandi Development, Patterson, Illig, and Pandi

Capital foreclosed on Allen’s claims against PIA Assets as collateral and held a foreclosure sale

of Allen’s claims against PIA Assets. Pandi Development, Patterson, Illig, and Pandi Capital

purchased the collateral at the sale. Allen, therefore, fails to state a claim upon which relief may

be granted.

        391.   Allen has subordinated his claims to third-party lenders in certain guaranties of

promissory notes to the rights and claims of the third-party lenders. Pandi Capital, Pandi

Development, Patterson, and Illig purchased certain of those notes and are now the owners of

those notes and Allen’s guaranties of those notes. By virtue of those note purchases, Pandi

Capital, Pandi Development, Patterson, and Illig are now the lender under those notes. Allen’s

claims in this suit, therefore, are subordinated to the rights and claims of Pandi Capital, Pandi

Development, Patterson, and Illig under those notes and Allen’s guaranties of those notes.



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       392.    Nancy Allen executed multiple joinders of Allen’s guaranties in favor of third-

party lenders guarantying the debts of PIA affiliates, effectively making her a co-guarantor of the

debt. These joinders contained subordination agreements in favor of the third-party lenders in

which she subordinated any right or claim she had or may acquire against the “Lender” to all the

rights of the “Lender” accruing directly or indirectly under Allen’s guaranties and Nancy Allen’s

joinder in those guaranties.    Pandi Capital, Pandi Development, Patterson, and Illig have

purchased certain notes guaranteed by Allen’s guaranties and Nancy Allen’s joinder in those

guaranties. Pandi Capital, Pandi Development, Patterson, and Illig are now the Lender under the

loan documents, including Nancy Allen’s joinder in Allen’s guaranties. Nancy Allen’s claims

against Pandi Capital, Pandi Development, Patterson, and Illig, therefore, are subordinated to

Pandi Capital’s, Pandi Development’s, Patterson’s, and Illig’s claims against Allen and Nancy

Allen under the guaranties and joinder of those guaranties.

       393.    Allen fails to state a claim upon which relief may be granted for fraud because he

fails to plead facts that evidence a present intent not to perform the contract at the time the

contract was made.

       394.    The Allens, and each of them, knew that Pandi Capital had made loans to PIA

Assets and, therefore, he knew that Pandi Capital’s loans to PIA were not equity contributions on

behalf of Patterson and Illig, as Allen alleges in his Counterclaims. The Allens, therefore, fail to

state a claim upon which relief may be granted for fraud.

       395.    Nancy Allen fails to state a claim upon which relief may be granted because she is

not a party to the alleged promissory note.




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       396.    Counts IV and V of Allen’s Counterclaims are barred by the doctrines of laches,

acquiescence, and equitable estoppel. He accepted the benefits of the alleged contracts and he

did not raise the issues complained of at the time they occurred.

       397.    The affirmative defenses contained in paragraphs 157-167, 170-173 and 180-185

are mere conclusions, and do not contain “a short and plain statement of the facts showing that

the pleader is entitled to the defense” as required by Mo. R. Civ. P. 55.08.

       398.    The affirmative defenses in paragraphs 170-172 that the sale of Allen’s claims

was not commercially reasonable and/or violated the duty of good faith and fair dealing under

the Missouri Uniform Commercial Code are barred by the doctrines of waiver, laches,

acquiescence, and estoppel. Allen received notice of the disposition of his claims in compliance

with the Missouri Uniform Commercial Code and he did not raise a valid objection to the

commercial reasonableness and/or the good faith of the sale.              Neither Allen, nor his

representative attended the sale.

       399.    Allen’s affirmative defense in paragraph 174 is barred by the doctrines of waiver,

laches, acquiescence, and estoppel. Allen did not receive an indemnification agreement when he

signed the guaranty nor did he raise the issue at that time.

       400.    The purchases of the notes and instruments which are the subject of Intervenor-

Defendants’ claims were at arms-length, in good faith, in a commercially reasonable manner, and

a result of fair dealing. Those purchases complied with all requirements, if any, of the Missouri

Uniform Commercial Code.

       401.    Intervenor-Defendants need not be holders in due course to assert their

counterclaims, and to any extent they must be holders in due course, they are.




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       402.    No debts, whether by virtue of a guaranty or otherwise, owed by Allen and the

subject of Intervenor-Defendants’ counterclaims have been extinguished. The obligations of any

obligors were not altered as a result of any purchases.

       403.    Intervenor-Defendants reserve the right to add additional affirmative defenses

and/or avoidances as additional facts are revealed through discovery.




                                              Respectfully submitted,




                                              ROUSE HENDRICKS GERMAN MAY PC

                                                     /s/ Kirk T. May             _______
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                                              F. Ryan Van Pelt              MO Bar #64208
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                                              Email: kirkm@rhgm.com
                                              Email: ryanv@rhgm.com
                                              Attorneys for Defendants Pandi Development, LLC,
                                              Neal Patterson, and Clifford Illig




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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing was served by US mail, postage
prepaid on the 5th of November and by electronic mail upon:

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       1000 Walnut, Suite 1400
       Kansas City, Missouri 64106


                                                                 /s/ Kirk T. May
                                                          Attorney for Defendants




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             EXHIBIT
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                                                                                                        Electronically Filed - Platte - March 28, 2016 - 04:11 PM
                                                                    FILED
                                                                   3/30/2016
                                                                  11:02 AM
                                                            KIMBERLY K JOHNSON
              IN THE CIRCUIT COURT OF PLATTE COUNTY, MISSOURI CIRCUIT CLERK
                                                             PLATTE COUNTY, MO
JAMES S. ALLEN, JR.,                                  )
                                                      )
        Plaintiff,                                    )
                                                      )
        v.                                            )                         Case No. 13AE-CV00013
                                                      )                         Division II
PIA ASSETS, LLC,                                      )
RP GOLF, LLC,                                         )
                                                      )
        Defendants,                                   )
                                                      )
and                                                   )
                                                      )
PANDI CAPITAL, LLC,                                   )
PANDI DEVELOPMENT, LLC,                               )
NEAL L. PATTERSON, and                                )
CLIFFORD W. ILLIG,                                    )
                                                      )
        Intervenor-Defendants,                        )
        Counterclaimants, and Crossclaimants          )

                 ORDER TO CONTINUE JUNE 20, 2016 TRIAL SETTING
        Upon motion of Pandi Development, Clifford Illig, and Neal Patterson, there being no

objection from any party, and for good cause shown, it is hereby ORDERED that the June 20,

2016 trial setting is continued until further notice. It is further ORDERED that his matter is set
                    April 15, 2016                9:00 a.m.
for a hearing on _______________________ at ____, at which time the court will schedule a

new trial setting.




IT IS SO ORDERED.


       3/30/2016
Date:________________________                         ______________________________
                                                      James W. Van Amburg, Circuit Judge




                                             EXHIBIT
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             EXHIBIT
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            IN THE CIRCUIT COURT OF PLATTE COUNTY, MISSOURI

JAMES S. ALLEN, JR.,                               )
                                                   )
                     Plaintiff,                    )
                                                   )
And                                                )
                                                   )
NANCY T. ALLEN                                     )
                                                   )
                     Counterclaim Plaintiff        )
       v.                                          )      Case No. 13AE-CV00013
                                                   )      Division No. 2
PIA ASSETS, LLC,                                   )
RP GOLF, LLC,                                      )
AND                                                )
FIVESTAR LIFESTYLES, LLC                           )
                                                   )
                     Defendants,                   )
                                                   )
And                                                )
                                                   )
PANDI CAPITAL, LLC,                                )
PANDI DEVELOPMENT, LLC,                            )
NEAL L. PATTERSON, and                             )
CLIFFORD W. ILLIG,                                 )
                                                   )
                     Intervenor-Defendants         )
                     and Counterclaimants.         )

        DEFENDANTS’ CONSENT TO PLAINTIFFS’ MOTION FOR LEAVE
         TO AMEND THEIR PETITION AND FIRST AMENDED ANSWER
         TO INTERVENOR DEFENDANTS PANDI DEVELOPMENT, LLC,
        NEAL PATTERSON, AND CLIFFORD ILLIG’S COUNTERCLAIMS
      AND CROSS-CLAIMS, AND COUNTERCLAIMS AGAINST DEFENDANTS

       Pursuant to Mo. R. Civ. Pro. 55.33(a), Defendants PIA Assets, LLC, RP Golf, LLC,

Fivestar Lifestyles, LLC, Pandi Capital, LLC, Pandi Development, LLC, Neal L. Patterson, and

Clifford W. Illig hereby consent to Plaintiffs’ Motion for Leave to Amend Their Petition and

First Amended Answer to Intervenor Defendants Pandi Development, LLC, Neal Patterson, and

Clifford Illig’s Counterclaims and Cross-Claims, and Counterclaims against Defendants, filed on

October 4, 2016 (the “Consent”).
                                                           EXHIBIT
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       The pleadings attached as Exhibits 1 and 2 to Plaintiff’s motion are deemed filed and

properly served on Defendants as of the date of this Consent.

       The Consent is in no respect an admission as to the merits of any claims, allegations, or

positions set forth in Allen’s motion, or the now operative amended pleadings, and the parties

against whom Allen asserts all such claims reserve all rights and defenses, including the right to

move to dismiss any claim on the pleadings (with the exception of a motion based on the

propriety or sufficiency of service, to which Defendants have consented).

       The Consent is not a waiver of the attorney-client or attorney work product privileges

applicable to documents Plaintiffs cited in whole or in part in the now operative amended

pleadings, and Defendants reserve all rights to seek appropriate relief from the Court with

respect to any such document or documents.



Dated: October 17, 2016                      Respectfully submitted,

                                             GERMAN MAY PC

                                             By       /s/ Phillip G. Greenfield
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                                                      Phillip G. Greenfield MO Bar #37457
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                                             Attorneys for Defendants Pandi Development, LLC,
                                             Neal Patterson, and Clifford Illig




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                                           By: __/s/Kristie Orme______________
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                                          Attorneys for Defendants PIA Assets, LLC,
                                          RP Golf, LLC, and FiveStar Lifestyles, LLC

                                             By: __/s/Douglas M. Weems___________
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                                                 sgoldstein@spencerfane.com

                                          Attorneys for Defendant Pandi Capital, LLC



                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 17th day of October, 2016, the foregoing
document was filed with the clerk of the court by using the Missouri e-filing system, which
sends notification of such filing to all counsel of record.


                                                               /s/ Phillip G. Greenfield
                                                               Attorney for Defendants




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              IN THE CIRCUIT COURT OF PLATTE COUNTY, MISSOURI


JAMES S. ALLEN, JR.

                      Plaintiff,
and
                                                  Case No. 13AE-CV00013
NANCY T. ALLEN
                                                  Division No. 2
                      Counterclaim Plaintiff

vs.

PIA ASSETS, LLC,
RP GOLF, LLC,
and
FIVESTAR LIFESTYLES, LLC

                      Defendants,
and
PANDI CAPITAL, LLC
PANDI DEVELOPMENT, LLC,
NEAL L. PATTERSON, and
CLIFFORD W. ILLIG,

                      Intervenor-Defendants
                      and Counterclaimants.


                      PLAINTIFFS’ SECOND AMENDED PETITION

       Plaintiffs James S. Allen, Jr., and Nancy T. Allen, through undersigned counsel, state as

follows:

                                       INTRODUCTION

       1.      Plaintiff James S. Allen, Jr. (“Allen”), along with other partners, held a majority

interest in companies (including Defendant RP Golf, LLC) that owned large-scale investment

properties, including the golf courses, residential lots and country clubs at the National and Loch


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Lloyd, as well as several commercial properties.         Allen oversaw the operations of these

properties.

       2.      In October 2006, there was a sale and restructuring of these companies and Neal

Patterson and Cliff Illig became majority owners. Specifically, the parties created PIA Assets,

LLC as a new holding company of the investment properties. After the transaction, Patterson

and Illig were majority Class A shareholders. Allen remained as a minority Class A shareholder

and president of Defendant PIA Assets, LLC. Allen’s former partners became Class B

shareholders with no role in the operation of the properties.

       3.      Leading up to the restructuring, Plaintiffs loaned money to RP Golf to fund the

day-to-day operations of the entities that were eventually consolidated under PIA.

       4.      It was agreed that these loans would be repaid as a part of the October 6, 2006

transaction. But the loans were not repaid at the closing of the transaction and the parties agreed

that the loans would be repaid at a later date.

       5.      These loans were authorized by RP Golf’s Board of Managers.

       6.      Prior to January 1, 2008, these loans were on the balance sheets of RP Golf with

accruing interest.

       7.      In 2008, PIA created loans in favor of Allen in the principal amount of $817,585.

       8.      PIA’s financial statements reflect the liability with a twenty percent internal rate

of return with a maturity date of February 2012.

       9.      The loans have never been repaid.

                                             PARTIES

       10.     Plaintiff James S. Allen, Jr. is a resident of Parkville, Missouri. Allen owns

13.5% of the Class A shares of Defendant PIA Assets, LLC.

       11.     Plaintiff Nancy T. Allen is a resident of Parkville, Missouri.

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       12.     Defendant PIA Assets, LLC (collectively with its subsidiaries “PIA”) is a

Missouri limited liability company with its principal place of business at 8878 NW 63rd Street,

Parkville, Platte County, Missouri. PIA owns and manages The National Golf Club of Kansas

City, The National II (Deuce) Golf Club, Parkville Commons shopping district and Loch Lloyd

Country Club, among other properties.         PIA may be served with process by serving its

Registered Agent in Kansas City, Jackson County, Missouri.

       13.     Defendant RP Golf, LLC is a Missouri limited liability company with its principal

place of business at 8878 NW 63rd Street, Parkville, Platte County, Missouri. RP Golf holds

100% of the interests in clubs, golf courses and developments at the National. PIA owns RP

Golf. RP Golf may be served with process by serving its Registered Agent in Kansas City,

Missouri.

                                 JURISDICTION AND VENUE

       14.     This Court has personal jurisdiction over Defendants pursuant to Missouri

Revised Statutes Sections 506.500(1) and/or 506.500(3) because the cause of action herein

asserted arises from Defendants’ transaction of business within the State of Missouri and/or

Defendants’ making of a contract within the State of Missouri.

       15.     Venue is proper in this county pursuant to Missouri Revised Statutes Section

508.010 because PIA has at all times material and presently does maintain and keep an office and

agent for transaction of its usual and customary business in Platte County, Missouri and the

cause of action accrued, at least in part, in Platte County, Missouri.

                                              FACTS

       16.     In 2006, Plaintiff Allen, along with two partners Jim Watson and Jack Manning,

controlled multiple large scale real-estate investment properties, including Parkville Commons,

the National (including residential lots, the golf courses (“The National” and “The Deuce”) and

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the country club), and Loch Lloyd (including residential lots, the golf course, and the country

club).

         17.    In October 2006, Allen, Watson and Manning entered into an agreement with two

of their investors, Neal Patterson and Cliff Illig, to restructure the management and control of

these significant assets.

         18.    Under the terms of their agreement, Manning and Watson gave up their majority

shares and all rights to control the assets to Patterson, Illig, and Allen in exchange for a regular

stream of payments. Manning and Watson became “Class B” shareholders of the newly-formed

PIA Assets, LLC.

         19.    PIA Assets, LLC (named for Patterson, Illig and Allen), was formed to own and

manage the investment properties.

         20.    PIA is a holding company. Its primary assets are ownership interests in the assets

previously held by PANDI Development LLC, Allen, and Watson and Manning.

         21.    Since the formation of PIA, Patterson and Illig, along with Allen, were elected

and have served as the Managing Members of PIA. Patterson and Illig were replaced as

managing members in December 2012. The three were and are Class A shareholders of PIA.

Patterson and Illig share 86.5% of the Class A shares; Jim Allen holds 13.5%.

         22.    Patterson and Illig’s interests in PIA are held by PANDI Development, LLC.

         23.    Allen signed an employment agreement in 2006 to serve as President of PIA.

         24.    Prior to October 2006, when Watson, Manning, Allen, Illig and Patterson were

negotiating the terms of the transaction, Plaintiffs made loans to entities that controlled the

investment properties involved in the transaction. These loans were necessary to fund day-to-day

operations of the entities, such as utilities, payroll and tax payments.

         25.    All loans were approved by RP Golf’s board of managers.

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         26.    In or around the closing of the transaction in October 2006, PIA took over RP

Golf and all of its assets, liabilities and obligations.

                 Plaintiff’s Loans Were Reflected on the Balance Sheets of PIA

         27.    Plaintiff’s loans were then reflected on the balance sheets of Defendant RP Golf,

LLC from 2006 to 2008. The loans were accruing interest.

         28.    In 2008, PIA transferred the balance of the debts to PIA’s books.

         29.    The December 31, 2008, Balance Sheet of PIA Assets, LLC reflects Plaintiff’s

loans as four Notes Payable to Plaintiff. These Notes are categorized as “Long Term Liabilities.”

         30.    One Note Payable is reflected as payable to Jim and Nancy Allen for

$173,118.42.

         31.    A second Note Payable is labeled “JSA #1” and reflected as payable to Jim Allen

for $301,024.22.

         32.    A third Note Payable is labeled “JSA #2” and reflected as payable to Jim Allen

for $127,007.37.

         33.    A fourth Note Payable is labeled “JSA #3” and reflected as payable to Jim Allen

for $216,435.79.

         34.    All four of these notes to Plaintiffs remained on PIA’s balance sheets through

2011 for the same amounts as they appeared on the December 31, 2008 Balance Sheet.

         35.    Upon information and belief, all four of the notes are currently on PIA’s balance

sheet.

               Plaintiff’s Loans are Reflected in Other PIA Company Documents

         36.    In a PIA document labeled “Notes Receivable Reconciliation as of December 31,

2011,” the four notes payable to Plaintiffs are consolidated as one note payable in the amount of



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$817,585.00. This amount matches the total amount of the four notes payable that appeared on

PIA’s balance sheets from 2008-2011.

       37.     PIA is listed as the borrower on the note payable to Allen for $817,585.00. The

Note has a maturity date of February 2012 at a 20% internal rate of return.

       38.     Plaintiff’s loans are also reflected in a document titled “Amended and Restated

Employment Agreement” dated January 1, 2010.

       39.     In March 2012, counsel for Plaintiffs sent a letter to counsel for PIA demanding

repayment of Plaintiff’s loans in full.

       40.     In response, counsel for Defendants produced a document titled “Amended and

Restated Employment Agreement” that referenced a note in favor of Jim Allen in the amount of

$900,000.

       41.     Additionally, counsel for Defendants produced a note signed by Cliff Illig in the

amount of $817,585.00 with a 20% internal rate of return and a maturity date of January 1, 2013,

and a default interest rate of 25% that applies upon the occurrence, and during the continuation

of an Event of Default. “Event of Default” is defined to include, among other things, PIA failing

to pay the Principal under the Note in accordance with the terms of the Note.

       42.     As of the date of this Petition, Plaintiff’s loans have not been repaid. An Event of

Default therefore occurred as of January 1, 2013, and has been continuing since then.

                                      COUNT I
                     ACTION TO COLLECT ON PROMISSORY NOTE
                                (The Allens against PIA)

       Plaintiffs incorporate herein by reference the statements and allegations contained in the

paragraphs above as though more fully and completely set forth herein.

       43.     Defendants are in default to Plaintiffs under the terms and conditions of the loan

from Plaintiffs as reflected in the financial statements of PIA Assets, LLC.

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        44.     The loan is in the principal amount of $817,585.00 with a 20% rate of return, and

a “default rate” of 25%.

        45.     The amount is due and owing.

        46.     Defendants have failed to make any payments despite the demand to do so by

Plaintiffs.

        47.     Defendants have refused to make any payments, refused to cure the default and

remain in material breach of their obligations.

        WHEREFORE, Plaintiffs pray for judgment against Defendants in the amount of

$817,585.00, for costs and expenses (including attorneys fee) incurred herein as provided by the

note, plus interest at the contractual return rate of 20% until January 1, 2013, and 25% interest

continuing from January 1, 2013 until the note is paid in full, and for such other and further relief

as the Court may deem just and equitable.

                                           COUNT II
                                    BREACH OF CONTRACT
                                     (The Allens against PIA)

        Plaintiffs incorporate herein by reference the statements and allegations contained in the

paragraphs above as though more fully and completely set forth herein.

        48.     PIA and RP Golf agreed with Plaintiffs that Plaintiffs would loan Defendant RP

Golf, LLC money to fund RP Golf’s operations.

        49.     Plaintiffs made the loans to RP Golf.

        50.     Defendants agreed to repay Plaintiffs’ loans in 2006 during the transaction that

resulted in PIA’s formation and acquisition of RP Golf.

        51.     When Defendants did not repay Plaintiffs’ loans in 2006, Defendants agreed with

Plaintiffs to repay the loans at a later date with interest.



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         52.     A balance of $817,585.00 remained on Plaintiffs’ loans in 2008. The parties

agreed that this amount would be paid back at a 20% rate of return and a default rate of 25%.

         53.     Defendants have not repaid the $817,585.00 remaining balance, which is due and

owing.

         54.     Plaintiffs have met all conditions precedent and Defendants remain in breach of

their agreement to repay Plaintiffs.

         WHEREFORE, Plaintiffs pray for judgment against Defendants in the amount of

$817,585.00 plus interest at the contractual return rate of 20% and default rate of 25%, for

interest on such judgment, including pre- and post-judgment interest, for his costs and expenses

incurred herein, attorneys’ fees, and for such other and further relief as the Court may deem just

and equitable.

                                     COUNT III
                       UNJUST ENRICHMENT / QUANTUM MERUIT
                                  (The Allens v. PIA)

         Plaintiffs incorporates herein by reference the statements and allegations contained in the

paragraphs above as though more fully and completely set forth herein.

         55.     PIA and RP Golf agreed with Plaintiffs that Plaintiffs would loan Defendant RP

Golf, LLC money to fund RP Golf’s operations.

         56.     Plaintiffs made the loans to RP Golf.

         57.     Defendants agreed to repay Plaintiff’s loans in 2006 during the transaction that

resulted in PIA’s formation and acquisition of RP Golf.

         58.     When Defendants did not repay Plaintiffs’ loans in 2006, Defendants agreed with

Plaintiffs to repay the loans at a later date with interest.

         59.     A principal balance of $817,585.00 remains on Plaintiffs’ loans.



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         60.   Defendants have retained the $817,585.00 remaining principal balance on the

loans.

         61.   The full amount of the loans, plus interest, is due and owing.

         62.   Despite Plaintiffs’ demands for Defendants to repay the loans, Defendants have

failed and refused to pay Plaintiffs the remaining balance of the loans or accrued interest thereon.

         WHEREFORE, Plaintiffs pray for judgment against Defendants in the amount of

$817,585.00 plus interest at 20% until maturity and a rate of 25% after maturity, for interest on

such judgment, including pre- and post-judgment interest, for his costs and expenses incurred

herein, attorneys’ fees, and for such other and further relief as the Court may deem just and

equitable.

Dated: September 30, 2016
                                                     Respectfully submitted,

                                                     STUEVE SIEGEL HANSON LLP



                                                     By:
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                                                       ATTORNEYS FOR PLAINTIFFS

                                                 9
                                                                                               Electronically Filed - Platte - October 04, 2016 - 08:13 AM
                              CERTIFICATE OF SERVICE
       I hereby certify that the foregoing was served via email on September 30, 2016 to the

following:


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Attorneys for Defendants Neal Patterson, Clifford Illig,
and Pandi Development, LLC




                                                   J. Toji Calabro



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            IN THE CIRCUIT COURT OF PLATTE COUNTY, MISSOURI

JAMES S. ALLEN, JR., AND
NANCY T. ALLEN

                     Plaintiffs,

       v.                                         Case No. 13AE-CV00013

PIA ASSETS, LLC,                                  Division No. 2
RP GOLF, LLC,
AND
FIVESTAR LIFESTYLES, LLC

                     Defendants,

and

PANDI CAPITAL, LLC
PANDI DEVELOPMENT, LLC,
NEAL L. PATTERSON, and
CLIFFORD W. ILLIG,

                     Intervenor-Defendants
                     and Counterclaimants.




PLAINTIFFS’ SECOND AMENDED ANSWER TO INTERVENOR DEFENDANTS
 PANDI DEVELOPMENT, LLC, NEAL PATTERSON, AND CLIFFORD ILLIG’S
COUNTERCLAIMS AND CROSS-CLAIMS, AND COUNTERCLAIMS AGAINST
                         DEFENDANTS

       Plaintiffs James S. Allen, Jr. and Nancy Allen (together, “the Allens” or “Plaintiffs”),

through their undersigned counsel, submit their answer to Intervenor-Defendants and

Counterclaimants Pandi Development LLC (“Pandi Development”), Neal L. Patterson, and

Clifford W. Illig’s amended counterclaims and crossclaims and submit their counterclaims

against Pandi Development, Patterson, Illig, Pandi Capital, LLC (Pandi Capital”), PIA Assets,

LLC, RP Golf, LLC, and FiveStar Lifestyles, LLC (“FiveStar,” collectively with PIA Assets,



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LLC and RP Golf, LLC and all of their subsidiaries (“PIA”); PIA with Patterson, Illig, Pandi

Development, Pandi Capital (“Defendants”)) as follows:

                     ALLEGATIONS COMMON TO ALL COUNTS

                                     Jurisdiction and Venue

       1.      Allen admits the allegations in paragraph 1.

       2.      Allen admits the allegations in paragraph 2.

                                             Parties

       3.      Allen admits the allegations in paragraph 3.

       4.      Allen admits that PIA Assets owns and manages The National Golf Club of

Kansas City, The National II (Deuce) Golf Club, the Parkville Commons shopping district, and

Loch Lloyd Country Club. PIA Assets owns RP Golf, which holds 100% of the interests in the

The National. Allen denies all other allegations in paragraph 4.

       5.      Allen admits the allegations in paragraph 5.

       6.      Allen admits the allegations in paragraph 6.

       7.      Allen admits the allegations in paragraph 7.

       8.      Allen denies the allegations in paragraph 8.

       9.      Allen admits the allegations in paragraph 9.

       10.     Allen admits that on December 21, 2012, Patterson and Illig resigned as managers

and appointed Randall Nay and Dale Brouk to act on their behalf as managers of PIA Assets.

Allen admits that he remains a manager of PIA Assets. Allen denies all other allegations and

characterizations in paragraph 10.

       11.     Allen admits that Pandi Capital is owned by Patterson and Illig. Allen denies all

other allegations and characterizations in paragraph 11.



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                               Pandi Capital’s Loans to PIA Assets

       12.     Allen denies the allegations in paragraph 12.

       13.     Allen denies the allegations in paragraph 13.

       14.     Allen denies the allegations in paragraph 14.

       15.     Allen denies the allegations in paragraph 15.

       16.     Allen denies the allegations in paragraph 16.

                                           Allen’s Loan

       17.     Allen admits that he filed a lawsuit against PIA Assets on January 2, 2013, styled

James S. Allen, Jr. v. PIA Assets LLC and RP Golf, LLC, Case No. 13AE-CV00013 in the Circuit

Court of Platte County, Missouri, and that the Petition sets forth the basis of that lawsuit. Allen

denies all other allegations in paragraph 17.

                         PIA and Its Affiliates Default on Bank Loans

       18.     Allen admits that PIA and its subsidiaries have obtained funding through loans

from third-party banks, but is without sufficient information to admit or deny the remaining

allegations in paragraph 18.

       19.     Allen admits that Allen, Patterson, and Illig have guaranteed the repayment of

certain Bank Loans to PIA and its subsidiaries, Allen denies that he has guaranteed the

repayment of certain Bank Loans to PIA’s non-subsidiary affiliates, and is without sufficient

information to admit or deny the remaining allegations in paragraph 19.

       20.     Allen is without sufficient information to admit or deny the allegations in

paragraph 20, and therefore denies the allegations.

       21.     Allen denies the allegations in paragraph 21




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                                   PIA—Missouri Bank Note

       22.    Allen admits that Missouri Bank &Trust Co. of Kansas City made a loan to PIA

in the principal amount of $5,000,000 and PIA made a promissory note dated June 29, 2012, to

Missouri Bank in the same amount. Allen denies all other allegations in paragraph 22.

       23.    Allen admits that he signed a personal guaranty for 5% of the PIA-Missouri Bank

Note dated June 29, 2012. Allen denies the remaining allegations in paragraph 23.

       24.    Allen admits that Missouri Bank sent a Notice of Default on August 28, 2013.

Allen denies the remaining allegations in paragraph 24.

       25.    Allen denies the allegations in paragraph 25.

       26.    Allen denies the allegations in paragraph 26.

                                 J3-Pandi-Missouri Bank Note

       27.    Allen admits the allegations in paragraph 27.

       28.    Allen admits the allegations in paragraph 28.

       29.    Allen admits the allegations in paragraph 29.

       30.    Allen denies the allegations in paragraph 30.

       31.    Allen denies the allegations in paragraph 31.

                    Country Club at Loch Lloyd-Bank of Kansas City Note

       32.    Allen admits the allegations in paragraph 32.

       33.    Allen admits the allegations in paragraph 33.

       34.    Allen denies the allegations in paragraph 34.

       35.    Allen denies the allegations in paragraph 35.

       36.    Allen admits that Pandi Capital and Pandi Development sent a Notice of Default

and Demand for Payment to Jim Allen. Allen denies the remaining allegations in paragraph 36.



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                               RP Golf-Bank of Kansas City Note

       37.     Allen admits the allegations in paragraph 37.

       38.     Allen admits the allegations in paragraph 38.

       39.     Allen admits the allegations in paragraph 39.

       40.     Allen denies the allegations in paragraph 40.

       41.     Allen denies the allegations in paragraph 41.

                                 J3-Pandi-Bank of Kansas City

       42.     Allen admits the allegations in paragraph 42.

       43.     Allen admits the allegations in paragraph 43.

       44.     Allen denies the allegations in paragraph 44.

       45.     Allen denies the allegations in paragraph 45.

       46.     Allen admits the allegations in paragraph 46.

                                LL-J3-Pandi-Bank Midwest Note

       47.     Allen admits the allegations in paragraph 47.

       48.     Allen is without sufficient information to admit or deny the allegations in

paragraph 48, and therefore denies the allegations.

       49.     Allen is without sufficient information to admit or deny the allegations in

paragraph 49, and therefore denies the allegations.

       50.     Allen is without sufficient information to admit or deny the allegations in

paragraph 50, and therefore denies the allegations.

       51.     Allen admits the allegations in paragraph 51.

       52.     Allen denies the allegations in paragraph 52.

       53.     Allen denies the allegations in paragraph 53.



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                                 LL North-Bank Midwest Note

       54.     Allen admits the allegations in paragraph 54.

       55.     Allen is without sufficient information to admit or deny the allegations in

paragraph 55, and therefore denies the allegations.

       56.     Allen is without sufficient information to admit or deny the allegations in

paragraph 56, and therefore denies the allegations.

       57.     Allen is without sufficient information to admit or deny the allegations in

paragraph 57, and therefore denies the allegations.

       58.     Allen admits the allegations in paragraph 58.

       59.     Allen denies the allegations in paragraph 59.

       60.     Allen denies the allegations in paragraph 60.

                                 RP Golf-Enterprise Bank Note

       61.     Allen is without sufficient information to admit or deny the allegations in

paragraph 61, and therefore denies the allegations.

       62.     Allen is without sufficient information to admit or deny the allegations in

paragraph 62, and therefore denies the allegations.

       63.     Allen admits the allegations in paragraph 63.

       64.     Allen is without sufficient information to admit or deny the allegations in

paragraph 64, and therefore denies the allegations.

       65.     Allen denies the allegations in paragraph 65.

                               J3-Pandi-First National Bank Note

       66.     Allen denies the allegations in paragraph 66.




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       67.      Allen is without sufficient information to admit or deny the allegations in

paragraph 67, and therefore denies the allegations.

       68.      Allen is without sufficient information to admit or deny the allegations in

paragraph 68, and therefore denies the allegations.

       69.      Allen is without sufficient information to admit or deny the allegations in

paragraph 69, and therefore denies the allegations.

       70.      Allen denies the allegations in paragraph 70.

                          Litigation Regarding the Pandi Capital Debt

       71.      Allen admits that Pandi Capital brought suit in the Circuit Court of Jackson

County, Missouri. Allen denies all other allegations in paragraph 71.

       72.      Allen admits that Pandi Capital has intervened in this case and has asserted

crossclaims. Allen denies all other allegations in paragraph 72.

       73.      Allen admits that Pandi Development, Patterson and Illig have also intervened in

this case and filed an Answer In Intervention. Allen admits that Pandi Development, Patterson

and Illig filed Counterclaims. Allen denies the remaining allegations in paragraph 73.

       74.      Allen admits the allegations in paragraph 74.

       75.      Allen admits that he and his wife answered Pandi Capital’s, Pandi Development,

Patterson and Illig’s counterclaims and filed counterclaims. Allen denies all other allegations in

paragraph 75.

                    COUNT I-RECOVERY ON GUARANTY OF DEBT
                              (PIA-Missouri Bank Note)

                         Pandi Development, Patterson, and Illig v. Allen

       76.      In response to the allegations in paragraph 76, Allen incorporates the responses

contained in the paragraphs above.


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       77.     Allen is without sufficient information to admit or deny the allegations in

paragraph 77, and therefore denies the allegations.

       78.     Paragraph 78 is a legal conclusion to which no response is required, but to the

extent a response is required, paragraph 78 is denied.

       79.     Allen denies the allegations in paragraph 79.

       80.     Allen denies the allegations in paragraph 80.

       81.     Allen denies the allegations in paragraph 81.

       82.     Allen denies the allegations in paragraph 82.

       83.     Allen denies the allegations in paragraph 83.

                  COUNT II-RECOVERY ON GUARANTY OF DEBT

                                (J3-Pandi-Missouri Bank Note)

                        Pandi Development, Patterson, and Illig v. Allen

       84.     In response to the allegations in paragraph 84, Allen incorporates the responses

contained in the paragraphs above.

       85.     Allen is without sufficient information to admit or deny the allegations in

paragraph 85, and therefore denies the allegations.

       86.     Paragraph 86 is a legal conclusion to which no response is required, but to the

extent a response is required, paragraph 86 is denied.

       87.     Allen denies allegations in paragraph 87.

       88.     Allen denies allegations in paragraph 88.

       89.     Allen denies the allegations in paragraph 89.

       90.     Allen denies the allegations in paragraph 90.

       91.     Allen denies the allegations in paragraph 91.



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                  COUNT III-RECOVERY ON GUARANTY OF DEBT

                  (Country Club at Loch Lloyd-Bank of Kansas City Note)

                                   Pandi Development v. Allen

       92.     In response to the allegations in paragraph 92, Allen incorporates the responses

contained in the paragraphs above.

       93.     Allen is without sufficient information to admit or deny the allegations in

paragraph 93, and therefore denies the allegations.

       94.     Paragraph 94 is a legal conclusion to which no response is required, but to the

extent a response is required, paragraph 94 is denied.

       95.     Allen denies the allegations in paragraph 95.

       96.     Allen denies the allegations in paragraph 96.

       97.     Allen is without sufficient information to admit or deny the allegations in

paragraph 97, and therefore denies the allegations.

       98.     Allen is without sufficient information to admit or deny the allegations in

paragraph 98, and therefore denies the allegations.

       99.     Allen denies the allegations in paragraph 99.


                  COUNT IV RECOVERY ON GUARANTY OF DEBT

                             (RP Golf-Bank of Kansas City Note)

                                   Pandi Development v. Allen

       100.    In response to the allegations in paragraph 100, Allen incorporates the responses

contained in the paragraphs above.

       101.    Allen is without sufficient information to admit or deny the allegations in

paragraph 101, and therefore denies the allegations.

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       102.    Paragraph 102 is a legal conclusion to which no response is required, but to the

extent a response is required, paragraph 102 is denied.

       103.    Allen denies the allegations in paragraph 103.

       104.    Allen denies the allegations in paragraph 104.

       105.    Allen is without sufficient information to admit or deny the allegations in

paragraph 105, and therefore denies the allegations.

       106.    Allen denies the allegations in paragraph 106.

       107.    Allen denies the allegations in paragraph 107.

                  COUNT V-RECOVERY ON GUARANTY OF DEBT

                             (J3-Pandi-Bank of Kansas City Note)

                        Pandi Development, Patterson, and Illig v. Allen

       108.    In response to the allegations in paragraph 108, Allen incorporates the responses

contained in the paragraphs above.

       109.    Allen is without sufficient information to admit or deny the allegations in

paragraph 109, and therefore denies the allegations.

       110.    Paragraph 110 is a legal conclusion to which no response is required, but to the

extent a response is required, paragraph 110 is denied.

       111.    Allen denies the allegations in paragraph 111.

       112.    Allen denies the allegations in paragraph 112.

       113.    Allen is without sufficient information to admit or deny the allegations in

paragraph 113, and therefore denies the allegations.

       114.    Allen denies the allegations in paragraph 114.

       115.    Allen denies the allegations in paragraph 115.



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                  COUNT VI-RECOVERY ON GUARANTY OF DEBT
                         (LL-J3-Pandi-Bank Midwest Note)

                        Pandi Development, Patterson, and Illig v. Allen

       116.    In response to the allegations in paragraph 116, Allen incorporates the responses

contained in the paragraphs above.

       117.    Allen is without sufficient information to admit or deny the allegations in

paragraph 117, and therefore denies the allegations.

       118.    Paragraph 118 is a legal conclusion to which no response is required, but to the

extent a response is required, paragraph 118 is denied.

       119.    Allen denies the allegations in paragraph 119.

       120.    Allen denies the allegations in paragraph 120.

       121.    Allen is without sufficient information to admit or deny the allegations in

paragraph 121, and therefore denies the allegations.

       122.    Allen is without sufficient information to admit or deny the allegations in

paragraph 122, and therefore denies the allegations.

       123.    Allen is without sufficient information to admit or deny the allegations in

paragraph 123, and therefore denies the allegations.

       124.    Allen is without sufficient information to admit or deny the allegations in

paragraph 124, and therefore denies the allegations.

       125.    Allen denies the allegations in paragraph 125.

                 COUNT VII-RECOVERY ON GUARANTY OF DEBT
                          (LL North-Bank Midwest Note)

                        Pandi Development, Patterson, and Illig v. Allen

       126.    In response to the allegations in paragraph 126, Allen incorporates the responses

contained in the paragraphs above.

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       127.    Allen is without sufficient information to admit or deny the allegations in

paragraph 127, and therefore denies the allegations.

       128.    Paragraph 128 is a legal conclusion to which no response is required, but to the

extent a response is required, paragraph 128 is denied.

       129.    Allen denies the allegations in paragraph 129.

       130.    Allen denies the allegations in paragraph 130.

       131.    Allen is without sufficient information to admit or deny the allegations in

paragraph 131, and therefore denies the allegations.

       132.    Allen is without sufficient information to admit or deny the allegations in

paragraph 132, and therefore denies the allegations.

       133.    Allen is without sufficient information to admit or deny the allegations in

paragraph 133, and therefore denies the allegations.

       134.    Allen denies the allegations in paragraph 134.

       135.    Allen denies the allegations in paragraph 135.

                 COUNT VIII-RECOVERY ON GUARANTY OF DEBT
                          (RP Golf-Enterprise Bank Note)

                        Pandi Development, Patterson, and Illig v. Allen

       136.    In response to the allegations in paragraph 136, Allen incorporates the responses

contained in the paragraphs above.

       137.    Allen is without sufficient information to admit or deny the allegations in

paragraph 137, and therefore denies the allegations.

       138.    Paragraph 138 is a legal conclusion to which no response is required, but to the

extent a response is required, paragraph 138 is denied.




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       139.    Allen is without sufficient information to admit or deny the allegations in

paragraph 139, and therefore denies the allegations.

       140.    Allen denies the allegations in paragraph 140.

       141.    Allen denies the allegations in paragraph 141.

       142.    Allen denies the allegations in paragraph 142.

       143.    Allen denies the allegations in paragraph 143.

                 COUNT IX-COLLECTION ON PROMISSORY NOTE

                            (J3-Pandi – First National Bank Note)

                        Pandi Development, Patterson, and Illig v. Allen

       144.    In response to the allegations in paragraph 144, Allen incorporates the responses

contained in the paragraphs above.

       145.    Allen is without sufficient information to admit or deny the allegations in

paragraph 145, and therefore denies the allegations.

       146.    Allen is without sufficient information to admit or deny the allegations in

paragraph 146, and therefore denies the allegations.

       147.    Allen is without sufficient information to admit or deny the allegations in

paragraph 147, and therefore denies the allegations.

       148.    Allen denies the allegations in paragraph 148.

       149.    Allen denies the allegations in paragraph 149.

      COUNT X-ALTERNATIVE CLAIM FOR DECLARATORY JUDGMENT

                        Pandi Development, Patterson, and Illig v. Allen

       150.    In response to the allegations in paragraph 150, Allen incorporates the responses

contained in the paragraphs above.


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        151.    Paragraph 151 states legal conclusions to which no response is required, but to the

extent a response could be required, Allen denies the allegations in paragraph 151.

        152.    Paragraph 152 states legal conclusions to which no response is required, but to the

extent a response could be required, Allen denies the allegations in paragraph 152.

        153.    Paragraph 153 states legal conclusions to which no response is required, but to the

extent a response could be required, Plaintiff denies the allegations in paragraph 153.

                      COUNT XI-RECOUPMENT AND/OR SET-OFF

                          Pandi Development, Patterson, and Illig v. Allen

        154.    In response to the allegations in paragraph 154, Allen incorporates his responses

contained in the paragraphs above.

        155.    Paragraph 155 states legal conclusions to which no response is required, but to the

extent a response could be required, Allen denies the allegations in paragraph 155.

               Allen’s Affirmative Defenses to Pandi Development, Neal Patterson
                               and Clifford Illig’s Counterclaims

        156.    Pursuant to his employment agreement with Defendants, Allen is to be fully and

completely released, indemnified and held harmless from any guaranties or other obligations

pertaining to debts of PIA or its subsidiaries or affiliates.

        157.    Count I fails to state a claim on which relief can be granted.

        158.    Count II fails to state a claim on which relief can be granted.

        159.    Count III fails to state a claim on which relief can be granted.

        160.    Count IV fails to state a claim on which relief can be granted.

        161.    Count V fails to state a claim on which relief can be granted.

        162.    Count VI fails to state a claim on which relief can be granted.

        163.    Count VII fails to state a claim on which relief can be granted.

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       164.    Count VIII fails to state a claim on which relief can be granted.

       165.    Count IX fails to state a claim on which relief can be granted.

       166.    Count X fails to state a claim on which relief can be granted.

       167.    Count XI fails to state a claim on which relief can be granted.

       168.    Counterclaimants are not holders in due course of the debts discussed in Counts I-

VIII, and therefore cannot enforce Allen’s conditional guaranties, because the loans discussed in

Counts I-VIII were in default prior to their alleged purchase by Counterclaimants.

       169.    Counterclaimants are not holders in due course of the debts discussed in Count

IX.

       170.    The alleged purchase of the loans from Missouri Bank discussed in Counts I and

II, of Allen’s guaranties, and the resulting “sale” of Allen’s claims against PIA Assets was not

commercially reasonable.

       171.    The alleged purchases of the debts discussed in Counts III-IX were not

commercially reasonable.

       172.    The alleged purchase of the loans from Missouri Bank discussed in Counts I and

II, of Allen’s guaranties, and the resulting “sale” of Allen’s claims against PIA Assets violates

the duty of good faith and fair dealing inherent in contracts subject to the Uniform Commercial

Code as adopted in Missouri, in that the purchasers had a pre-existing contractual duty to release,

hold harmless and indemnify Allen on the debts and loans allegedly purchased.

       173.    The alleged purchase of the debts discussed in Counts III-IX and of Allen’s

guaranties violates the duty of good faith and fair dealing inherent in contracts subject to the

Uniform Commercial Code as adopted in Missouri, in that the purchasers had a pre-existing




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contractual duty to release, hold harmless and indemnify Allen on the debts and loans allegedly

purchased.

       174.    Allen’s guaranty on the loan from Missouri Bank to PIA Assets was conditioned

upon Allen receiving an indemnification agreement from PIA.

       175.    The debts of PIA and J-3 Pandi discussed in Counts I and II have been satisfied,

extinguishing Allen’s guaranties.

       176.    The debts discussed in Counts III-IX have been satisfied, extinguishing Allen’s

guaranties.

       177.    Count X fails to state a claim on which relief can be granted, in that

Counterclaimants have failed to allege any facts to support a conclusion that Allen’s Debt could

be considered equity contributions.

       178.    Count X fails to state a claim on which relief can be granted, in that

Counterclaimants have failed to allege any facts to support their conclusion that Allen’s claims to

collect on his note from PIA Assets is an action to collect on an equity contribution.

       179.    Count X fails to state a claim on which relief can be granted, in that

Counterclaimants have failed to allege any facts to support their conclusion that the Allen Debt

must be re-characterized.

       180.    Count X fails to state a claim on which relief can be granted, in that the

characterization of Allen’s Debt is not a controversy before this Court.

       181.    Count X fails to state a claim on which relief can be granted, in that no justiciable

controversy exists regarding to collection or characterization of Allen’s Debt.

       182.    Count X fails to state a claim on which relief can be granted, in that the requested

declaration would not terminate the uncertainty or controversy giving rise to the proceeding.



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       183.      Count X fails to state a claim on which relief can be granted because

Counterclaimants have an adequate remedy at law.

       184.      Count X fails to state a claim on which relief can be granted, in that

Counterclaimants have failed to plead a legally protectable interest in the characterization of

Allen’s Debt as an equity contribution.

       185.      Count X fails to state a claim on which relief can be granted, in that

Counterclaimants have failed to plead the existence of a controversy ripe for judicial

determination.

       186.      Count XI fails to state a claim on which relief can be granted, in that

Counterclaimants have failed to plead a breach of contract by Allen, and Allen has not breached

any contract with Counterclaimants.

       187.      Count XI fails to state a claim on which relief can be granted, in that

Counterclaimants have failed to plead facts sufficient for an affirmative defense of

recoupment/set-off.

       188.      Counts I-XI fail to state a claim because Counterclaimants are contractually

barred and equitably estopped by the 2010 Amended and Restated Employment Agreement from

asserting such claims.

       189.      Allen reserves the right to add additional affirmative defenses as additional facts

are revealed through discovery.




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              ALLEGATIONS SUPPORTING ALLEN’S COUNTERCLAIMS

       Allen incorporates herein by reference the statements and allegations contained in the

paragraphs above as though more fully and completely set forth herein.

                                      Additional Parties

       190.   Plaintiff Nancy Allen is a Missouri resident residing at 7001 Waters Edge,

Parkville, Missouri 64152.

       191.   Defendant Neal L. Patterson is a Missouri resident residing at 20 E Dundy Circle,

Belton, Missouri 64012. At relevant times, he has served as one of three managers on the Board

of Managers of PIA Assets, LLC.

       192.   Defendant Clifford W. Illig is a Kansas resident residing at 11504 Pawnee Circle,

Leawood, Kansas 66211. At relevant times, he has served as one of three managers on the Board

of Managers of PIA Assets, LLC.

       193.   Defendant FiveStar Lifestyles, LLC (“FiveStar”) is a Missouri limited liability

company with its principal place of business at 8878 NW 63rd St, Parkville, Platte County

Missouri.

       194.   Illig and Patterson are the sole members and owners of Pandi Capital, LLC.

       195.   Illig and Patterson are the sole members, managers, and owners of Pandi

Development, LLC.

       196.   FiveStar is a wholly-owned subsidiary of J3-Pandi, LLC (which itself is a wholly-

owned subsidiary of PIA Assets).

       197.   Pandi Development is an LLC owned 50/50 by Neal Patterson and Cliff Illig.

Pandi Development’s purpose is to hold Patterson and Illig’s interest in PIA Assets LLC.




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       198.    Pandi Development controls 86.5% of the interest in PIA Assets and appoints two

of the three managers of PIA Assets.

       199.    Pandi Capital is an LLC for which Neal Patterson and Cliff Illig are the sole

managers and members. As reflected in Pandi Capital’s Operating Agreement, the business of

Pandi Capital includes providing funding to “PIA Assets, LLC, (“PIA”) and its subsidiary

entities (“Subsidiaries”).”

       200.    Pandi Capital is the alleged owner of the “notes” and “loans” purportedly

representing the monies advanced to PIA Assets and has made member contributions on behalf

of Pandi Development to fund the operations of PIA Assets.

       201.    Patterson and Illig have at times acted through Robb Heineman, the Chief

Executive Officer of OnGoal, LLC. Illig and Patterson own a controlling interest in OnGoal,

LLC. Heinemann was not and has never been employed by PIA or any of its subsidiaries.

       202.    One of Heineman’s functions, according to Illig, was “to coordinate all aspects of

our [Illig’s and Patterson’s] various debt facilities across our lifestyle real estate portfolio and our

soccer/commercial real estate portfolio.”

       203.    On December 1, 2008, Illig emailed Brouk and Allen, with Patterson and

Heineman copied, writing, “Guys. I was doing some calendar work with Robb today and it

became apparent that he was trying to book a meeting over the PIA meeting on Wednesday. That

in turn caused me to consider the question as to whether Robb should be in the PIA meeting

Wednesday. I’m not sure I concluded on an answer, however, I would appreciate it if from now

on you would include Robb as an invitee to all meetings Neal and I are invited to. He may or

may not choose to attend, or Neal or I may waive him off, but lets make sure that he has all such

meetings on his calendar. Thanks..Cliff.”



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       204.    Heineman acted as Illig’s and Patterson’s personal agent on PIA matters

beginning no later than 2008.

                                     Jurisdiction and Venue

       205.    This Court has personal jurisdiction over the counterclaim Defendants Illig,

Patterson, Pandi Capital, Pandi Development, and FiveStar pursuant to Missouri Revised

Statutes Sections 506.500(1) and/or 506.500(3) because the cause of action herein asserted arises

from their transaction of business within the State of Missouri and/or their making of a contract

within the State of Missouri.

       206.    Venue is proper in this county pursuant to Missouri Revised Statutes Section

508.010 because counterclaim Defendants transact usual and customary business in Platte

County, and the cause of action accrued, at least in part, in Platte County, Missouri.

                          Additional Facts Supporting Counterclaims

       207.    In early 1996, James Allen and non-party business partners Jim Watson and Jack

Manning conceived of a residential lifestyle development which would become The National.

       208.    Allen and Watson quit their jobs and invested substantially all of their time and

efforts into The National.

       209.    They purchased the former Windbrook Hills Golf Course and roughly 600 acres

of undeveloped land located just outside Parkville, Missouri.

       210.    Allen, Watson and non-party business partner Jack Manning invested millions of

dollars into the planning, engineering and development of The National.

       211.    Allen ran the day-to-day operations and designed the strategy for The National

development.




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       212.     At Allen’s request, pro-golfer Tom Watson designed the golf course at The

National.

       213.     Five years later, in 2001, most of the residential infrastructure had been built out,

at Allen’s direction, and The National club house and golf course opened for play.

       214.     Manning, Watson and Allen began making residential lots available for sale, and

home construction started.

       215.     Simultaneously, Watson, Manning and Allen were building a second golf course

at The National and began negotiating and planning for Parkville Commons, a commercial

property designed to bring much-needed residential amenities such as a grocery store, fitness

facility, and community center, to Parkville.

       216.     Allen spent years successfully marketing and filling Parkville Commons with

tenants.

       217.     With much of the work at The National completed, Allen, Watson and Manning

began searching for equity investors.

       218.     Clifford Illig approached Allen, Watson and Manning about making an equity

investment if they agreed to let Illig and Neal Patterson conduct due diligence on the potential

investment.

       219.     Patterson and Illig’s accountant, Rusty Jandl, and an attorney representing

Patterson and Illig spent roughly four weeks investigating financial statements and operations of

The National.

       220.     After the due diligence, Patterson and Illig decided to invest and become minority

equity partners in The National.

       221.     They also became equity partners in Parkville Commons.



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       222.    Patterson and Illig were, as they have testified, “passive investors.”

       223.    The operations and strategy during this time period were primarily run by Allen.

       224.    In 2002, at Patterson’s urging, Illig, Patterson, Manning, Watson, and Allen

purchased Loch Lloyd, a development south of Kansas City which was struggling with

homeowner lawsuits and lack of development.

       225.    Allen continued to manage the day-to-day operations of the real estate

development and golf clubs at both The National and Loch Lloyd.

       226.    But by 2006, the relationships between the partners had soured.

       227.    Specifically, Patterson refused to do anything more with Watson.

       228.    Patterson’s refusal disrupted the viability of the company.

       229.    Specifically, the company could not make required payroll, tax and insurance

payments.

       230.    Jim and Nancy Allen personally made loans to the company so these payments

could be made.

       231.    The Allens received notes from RP Golf, LLC documenting their loans and the

terms of repayment.

       232.    In an attempt to resolve the dispute between Watson and Patterson, in early 2006,

Allen, Watson and Manning made a proposal to Illig and Patterson setting a price for a potential

buyout.

       233.    Allen, Manning and Watson gave Illig and Patterson the choice to either sell their

interests or take majority ownership and control.

       234.    Patterson and Illig decided to buy the company, and the parties began negotiating

a restructuring that closed in October 2006.



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       235.    Patterson and Illig asked Allen to remain a partner and continue to run the day-to-

day operations of the residential developments and the golf clubs.

       236.    This restructuring resulted in the formation of PIA Assets.

       237.    “PIA” stands for Patterson, Illig, and Allen.

       238.    Patterson and Illig formed Pandi Development to hold their ownership of 86.5%

of the Class A Shares of PIA.

       239.    James Allen held 13.5% of the Class A Shares.

       240.    To induce Allen to stay and run the operation, Patterson and Illig offered Allen a

ten-year employment agreement (the “2006 Employment Agreement”) with a $325,000 annual

salary, benefits, and an express agreement to buy out his Class A interest in the company for $6

million dollars should he leave for any reason. A copy of the 2006 Employment Agreement is

attached hereto as Exhibit A.

       241.    Specifically, Allen’s 2006 Employment Agreement stated:

           3.1 Purchase Payment. Upon Termination of Employee’s employment at the end of
           the Employment Period or for any reason under Section 2.4, the Company shall
           purchase Employee’s interest in the Company, including any interest held in trust
           with respect to Employee (collectively “Employee Membership Interest”) for the
           amount of Six Million and No/100 Dollars ($6,000,000.00);

       242.    Illig, Patterson and Allen agreed that Allen would invest his time running the

operations, and Illig and Patterson would provide the financial backing.

       243.    The parties to the formation of PIA, including Illig, Patterson, Watson, and

Manning, had an agreement that the Allens’ loans would be repaid at or shortly after the time of

the closing of the transaction in October 2006.

       244.    However, at closing, Dale Brouk advised Allen that there were insufficient funds

to repay the Allens, and no payments were made.



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          245.   Patterson and Illig, however, received over $9 million from PIA at or around the

closing, which represented a return of their original equity investment.

          246.   In 2008, PIA paid some of the accrued amounts on the loans from Jim and Nancy

Allen and created new loans in favor of the Allens in the principal amount of $817,585.

          247.   Patterson and Illig later investigated and confirmed the existence of the debt to the

Allens.

          248.   Dale Brouk later documented the amounts of the Allen’s loan in an email to Neal

Patterson, Cliff Illig and Robb Heineman on August 14, 2009.

          249.   That email had an attached spreadsheet detailing the multiple loans the Allens had

made to support the company, the accruing interest, and the limited payments PIA had made on

the loans.

          250.   As part of the October 2006 restructuring, the parties also agreed that in exchange

for their shares, Watson and Manning would receive payments from the gross revenues of the

newly-formed PIA.

          251.   This pledge by Patterson and Illig is reflected in the Operating Agreement of PIA

Assets.

          252.   Watson and Manning became Class B members of PIA Assets with no control

over operations.

          253.   Neal Patterson personally signed the PIA Operating Agreement in October 2006.

          254.   Because Neal Patterson signed the PIA Operating Agreement, he had notice of the

provisions of the agreement no later than October 2006.

          255.   Cliff Illig personally signed the PIA Operating Agreement in October 2006.




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        256.    Because Cliff Illig signed the PIA Operating Agreement, he had notice of the

provisions of the agreement no later than October 2006.

        257.    The PIA Operating Agreement provides in part that PIA cannot “[b]orrow or

incur indebtedness in excess of $50,000 in any single transaction or series of related

transactions” “without the prior unanimous approval of the Members holding Class A interests.”

        258.    The Members holding Class A interests in PIA are Neal Patterson and Cliff Illig

(ostensibly through Pandi Development), and Plaintiff James Allen.

                              Illig and Patterson and the Downturn

        259.    PIA used loans and lines of credit from banks to develop real estate lots and the

infrastructure to support prospective residents.

        260.    After lots were sold, the proceeds from the sales were used to pay down the loans

and lines of credit.

        261.    But by the end of 2008, the economic slowdown occurring throughout the United

States was forcing banks to tighten lending to PIA.

        262.    Banks were refusing to renew loans, demanding that PIA pay down existing

loans, and reducing the amount of credit available for PIA to fund operations.

        263.    At the same time, home sales were slowing, making it more difficult for PIA to

repay the loans and lines of credit.

        264.    The real estate slow down and lack of liquidity in the marketplace were the result

of the financial crisis in the broader macroeconomic environment.

        265.    As a result, additional cash equity was necessary for PIA to function.

        266.    At that time, Allen was the only member with cash invested in PIA.

        267.    When it became clear that Patterson and Illig (as 86.5% owners) would have to

start contributing capital into the company, Patterson was livid and they began looking for

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someone to blame. Rather than blame the financial crisis, or even their own poor market timing,

they fixed their sights on others, including the founding partners: Manning, Watson, and Allen.

       268.    With regard to (now) Class B Members Manning and Watson, Patterson and Illig

ordered PIA to stop making the payments the PIA Operating Agreement entitled Manning and

Watson to receive.

       269.    The December 31, 2008 PIA Board Meeting Minutes state:

               The group began to examine the consolidated operating plan (i.e.
               page 2 of 3). Many things were discussed and the following were
               highlighted:

               1. Disbursements to the Class B partners were discussed. Cliff to
               investigate the ramifications of stopping the payments. No
               payments will be made until Cliff and/or Neal gets back to us.


       270.    The meeting minutes also state, “The group then had a general discussion and

agreed Robb, Jim and Dale should get together and outline a plan of attack and report back to

Neal and Cliff for approval.”

       271.    The “Robb” referred to in the meeting minutes is Robb Heinemann, who acted as

Illig and Patterson’s personal agent with respect to PIA.

       272.    The same December 2008 PIA meeting minutes which indicate that Illig and

Patterson refused to pay the Class B members also note that Illig and Patterson had chosen to

fund a golf course renovation (which would benefit them as Class A members) instead.

       273.    Heineman and Illig met with PIA’s counsel, Pete Smith, to discuss the Class B

payments in late January 2009.

       274.    Allen objected to Illig and Patterson’s plan to stiff Manning and Watson, and to

avoid a lawsuit, Allen negotiated a modified payment amortization schedule under which PIA




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would make reduced payments in the near-term with larger payments in later years. Watson and

Manning agreed not to sue, and signed the modification agreement as of January 1, 2009.

                 Illig and Patterson Implement the Conspiracy Against Allen

       275.    Meanwhile, unbeknownst to Allen, Patterson and Illig were also secretly plotting

to eliminate Allen from the company without repaying the loans he and his wife had made to the

company, and without paying the $6 million purchase payment his employment agreement

expressly entitled him to receive.

       276.    In a December 11, 2008 email to Illig and Heineman, Patterson directed Illig and

Heineman to “cut [their] losses” in part by “eliminat[ing]” Jim Allen (among others).

       277.    But terminating Allen’s employment, however, would have entitled Allen to

immediate payment of the $6 million “Purchase Payment” clearly stated in the 2006

Employment Agreement.

       278.    So Patterson, Illig and Heineman devised a scheme to defraud Allen out of the $6

million purchase payment, and the repayment of the money he and his wife had loaned to the

company. Patterson also repeatedly demanded of Illig and Heineman to find a way to dilute

Allen’s equity stake in PIA.

       279.    Their first step was to induce Allen into a new agreement that eliminated the $6

million purchase payment.

       280.    Heinemann negotiated Allen’s new employment agreement on Illig and

Patterson’s behalf, and met frequently with Allen to do so.

       281.    At the time, Allen was unaware of Patterson’s and Illig’s intentions to eliminate

him from the company. Instead, and to the exact opposite of what Patterson and Illig were

secretly scheming, Patterson and Illig (including through Heineman) conveyed to Allen that



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shared sacrifice among all the owners—Patterson, Illig, and Allen—was necessary given the

economic climate, and that they were committed to supporting PIA long-term if Allen would

make a similar gesture of good will. Heineman pitched a new employment agreement to Allen

as a symbol of Allen’s commitment to the team effort. If Allen agreed to the new employment

agreement without the $6 million purchase payment, they told him, Patterson and Illig would

continue to support the company by making equity contributions into the company.

       282.     To reinforce the point, in an April 1, 2009 email to Allen, Illig, Heineman and

Brouk, Patterson made clear his longstanding demand for a new employment agreement from

Allen as a condition for his equity contributions:

                       At [] the meeting where we were reviewing the proposed
                       plan, the one where I made several asks, including not to
                       pay [Class B Member] Watson . . .

                       I also made two other points which no one has [actioned]:

                       1. Asked for Jim [Allen] and Dale [Brouk] to be on a
                       compensation plan which puts them at risk . .

                       2. I asked for the model dealing with the disparate equity
                       contributions between Jim [Allen] and Cliff and Neal.

                       Since the meeting, PI [Patterson & Illig] have invested a lot
                       of equity. I want the two above items dealt with before the
                       next equity contribution.

(emphasis added).

       283.    Heineman responded to Patterson’s April 1, 2009, email the same day, copying

Illig but removing Allen from the chain.        Heineman assured Patterson that he understood

Patterson’s demand that agreements on Allen’s compensation plan and the equity infusions from

Illig and Patterson “are inextricably tied together.”




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       284.    On April 3, 2009, Patterson responded to Heineman’s email, making clear his

priority, “I will have: A comp plan for Jim Allen . . . plus an equity agreement with Allen before

I send any more equity cash. My position has not changed.”

       285.    As commanded by Patterson, Heineman responded less than a week later with

specifics for how he thought Allen’s equity ownership in PIA could dilute with each additional

equity infusion from Illig and Patterson.

       286.    Part of those negotiations included discussions of new equity contributions from

Patterson and Illig. Heineman and Allen discussed giving those new equity contributions a

prioritized payback as preferred equity.

       287.    On June 3, 2009, Patterson emailed Heineman and Illig, writing, “ We still have

outstanding items which are not done: I want the Equity accounting clean [inception to date]

supported by a signed agreement with Jim … I do not trust him. I want incentive comp

implemented . . . there should be no issue with Dale … just not getting done.”

       288.    Heineman responded the same day, with an update on their plan to “dilute”

Allen’s interest in PIA:

       “Some info on the ‘outstanding items’:

                       a.       We need to determine how much of the
                       approximate $11m that you [Neal Patterson] and CI [Cliff
                       Illig] have put in will remain as equity, as opposed to
                       repaid as “shareholder loans.” This impacts what the total
                       dilution will be and/or what the “fee” is that JA [Jim Allen]
                       owes to PANDI for putting in the temporary capital. The
                       calculation is pretty straightforward once it is determined
                       whether it’s equity or debt. My recommendation has been
                       that it is put in as redeemable preferred with a dividend to
                       match the interest cost. Under this scenario JA’s equity will
                       dilute substantially. The three of us need to determine the
                       structure.

Heineman’s recommendation for “redeemable preferred” is a reference to preferred equity.


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       289.    The same day, Illig responded to Heineman’s email, writing that his motivation

behind getting Allen to agree to dilute his equity ownership in exchange for additional equity

from Patterson and Illig was to address “a potential future dispute or legal action with JA.”

       290.    In June 2009, Heineman, Illig and Patterson were discussing an evolution in the

plan. In particular, Heineman and Illig discussed putting PIA into bankruptcy as another way of

preventing Allen from collecting what he was due. For example, on June 29, 2009, Heineman

emailed Illig and noted that he was having trouble finding lenders for PIA because of the “bank

collapse.” He wrote that one alternative to new debt from banks was “to take PIA and ‘flush’ it

through a bankruptcy reorg – which is actually something I’d like to talk to Pete about in the

medium term.”

       291.    The reference to “Pete” in the email was to lawyer Pete Smith of McDowell Rice

who was (and is) ostensibly counsel to PIA.

       292.    At no point in the negotiations regarding Allen’s new employment agreement did

Defendants (or Pete Smith for that matter) ever inform Allen that they were contemplating

bankruptcy for PIA. Instead, the negotiations continued with Allen based on the same premises:

shared sacrifice, and that Patterson and Illig would contribute new equity over the long term and

Allen would contribute the sweat equity.

       293.    On August 10, 2009 Heineman emailed Patterson with a proposal that would have

reduced Allen’s salary by 20% but allowed Allen additional compensation through a

performance bonus, given Patterson and Illig preferred repayment on any additional equity

contributions to PIA from PI Lending, and diluted Allen’s equity ownership percentage.

       294.    Despite meeting all of the requirements that Patterson had been demanding of

Illig, Heineman, and Allen since December 2008, there was no agreement on the proposal.



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       295.    Instead, as discovery has revealed, Patterson, Illig, and Heineman, were finalizing

their plan to shut Allen out.      Working secretly with PIA’s counsel (and without Allen’s

knowledge), Pete Smith, Patterson, Illig, and Heineman were planning to label all of Patterson

and Illig’s prior equity contributions to PIA as debt and structuring a way to claim that

Patterson’s and Illig’s future contributions were debt too.

       296.    Though Pete Smith was supposed to be representing PIA’s best interests, he was

in fact working to further Patterson’s and Illig’s personal interests, which were directly contrary

to PIA’s with respect to this strategy.

       297.    On September 1, 2009, Heineman emailed Illig and Patterson, writing:

                       Additionally, I am working to get Pete Smith
                       documentation on PIA so we are able to make some
                       decisions conclusions [sic] on our approach to Jim’s
                       situation. He [Smith] has proposed that we:

                       1. Put in all additional capital as secured debt.

                       2. Do a [sic] inner-creditor collateral agreement which I’m
                          working on. This would allow us to cause a default of
                          the business, thus leaving the “member interests” with
                          no value. I’ve spoken to MoBank and Private Bank and
                          both are willing to sign an inner-creditor agreement.
                          Pete and I are speaking on Thursday (he is in court) to
                          move this to the next phase.

       298.    Patterson responded by email, asking if what Heineman was proposing was the

same idea that they had been discussing: “Is this different than the Preferred [Equity] Series we

discussed last week? If so, more discussion please?”

       299.    Heineman responded that it was, and that the strategy Smith was proposing gave

Patterson and Illig what they wanted: repayment priority for the funds that Patterson and Illig

contributed to the company, while thwarting Allen’s ability to be repaid on his loan or receive

the benefits of his employment contract.


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       300.   Heineman wrote by email:

                      We are putting an additional layer or ‘leverage’ in to the
                      structure by doing an inner-creditor collateral agreement.
                      Basically, we are giving member interests as collateral to a
                      group of senior lenders (including PANDI) so in the event
                      of necessity, we can put the company in default. This will
                      give the pool of senior lenders first money out, leaving
                      little or no economic value for the common member
                      interests. This will mimic the preferred cash out, but give
                      us a bigger capital pool (all PANDI capital, plus senior
                      lenders) from which to negotiate.

                      In actuality, this is probably a little more structuring than
                      we’ll need, but it certainly would put Pete in a great
                      negotiating position if Jim ever filed a lawsuit.

(Emphasis added).

       301.   On September 29, 2009, Heineman emailed a memo to Illig, Patterson, and

Patterson’s personal assistant Elaine Scheid. The email is further evidence of Patterson, Illig,

and Heineman’s secret fraudulent scheme. In particular, Heineman explicitly references their

“approach to the Jim Allen situation” when discussing their efforts to load the company up with

“creat[ed]” debt. Heineman goes on to clarify that his negotiations with Allen are simply a ruse,

because such negotiations “will not circumvent [Defendants’] strategic approach whatsoever”:

                      Secured Debt Process

                      Cliff and I have had numerous conversations with Pete
                      Smith and Joe Harter on our approach to the Jim Allen
                      situation. We are creating a layer of senior secured debt in
                      conjunction with all of the senior lenders. This will
                      provide us default protections, since we will have a first
                      lien on membership interests along with the senior lenders.
                      We now have a draft set of documents which Cliff
                      provided to Neal on Monday. We are sitting down with
                      Joe this week to edit the draft. The intention is to have all
                      documentation completed by the November PIA meeting.
                      Additionally, Cliff has asked me to provide a debt
                      portfolio evolution view which I will begin to assemble.



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                       I plan on sitting with Jim on Friday afternoon to discuss
                       reducing his compensation in light of the new economic
                       situation. He has suggested this, so I’m going to take the
                       meeting. This will not circumvent our strategic approach
                       whatsoever.

       302.    On September 30, 2009, Illig emailed Patterson updating him on the status of

their plan to put a “firewall” around their assets so they can default out Allen:

                       On the ‘Jim’ deal. This week we are finalizing the legal
                       docs to put a firewall around our interests in PIA and
                       protect us and the assets from the various minority
                       shareholders and the employment deal in the event we have
                       to go nuclear … which, generally, I expect to have to do
                       around the North. There is a finalizing meeting with Pete’s
                       #2 lawyer tomorrow.”

       303.    Illig’s reference to the “various minority shareholders” was not an accident. The

scheme they were concocting was designed to shut out not only Allen, but also the Class B

minority members Manning and Watson, of the money and other obligations PIA owed them.

       304.    The next day, on October 1, 2009, Heineman emailed Patterson and Illig, writing,

“Disregard the financial schedules at the front, They are some reconciliations that Dale and I are

running. I wanted to show you that we have all the cancelled checks and deposit slips on JA’s

cash infusions. As you know, we are working on solidifying our position in the agreements. I am

spending most of tomorrow with Pete Smith and Joe Harter.”

       305.    Illig and Patterson, acting through Heineman and, in conjunction with PIA’s

counsel Pete Smith and Joe Harter, were now referring to their strategy as a “firewall,” and its

purpose was clear:     to make minority membership interests (like Allen’s and the Class B

Members’) appear worthless, to avoid repayment on Allen’s loans, and to thwart any future

attempt by Jim Allen to enforce any of the promises in his employment contract by converting

their existing equity to debt and giving themselves repayment priority.



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       306.    This maneuvering would make PIA appear insolvent on its balance sheets because

of the greatly increased purported debt load. This balance sheet insolvency would allow

Patterson and Illig to effectively default out Allen’s equity membership interest, as well as avoid

any contractual duties of repayment to either the Class B members or the Allens because it would

appear as if PIA had insufficient assets with which it could satisfy its debts.

       307.    Should Allen try to collect his debt or enforce his employment contract, Illig and

Patterson could say PIA was insolvent and, if necessary, cause a default which would leave Illig

and Patterson as senior secured lenders in complete control of the assets of PIA.

       308.    The problem with the strategy was that it was inherently fraudulent. It was based

on the false notion that Patterson’s and Illig’s contributions were debt when in fact they were not

(and could not be). Indeed, Patterson and Illig (including through Heineman) had promised

Allen they would make future equity contributions if Allen signed the new employment

agreement, and the PIA Operating Agreement expressly prohibited PIA from incurring

indebtedness without Allen’s consent (which he did not give). Moreover, PIA’s accounting

records had long recognized Patterson’s and Illig’s prior contributions as “equity” contributions.

       309.    Nevertheless, the Defendants proceeded anyway. When Allen sought repayment

on the loans from PIA, PIA (through Pete Smith) followed the plan and claimed PIA was unable

to pay because of insolvency.

       310.    But, as noted above, this was all a sham. Even though Defendants claimed PIA

was insolvent, it was not. Operations have continued as usual. Defendants continued to fund PIA

on a regular basis, PIA spent tens of millions of dollars over the coming years in various projects

(including building an entirely new golf course, building a new pool, changing the grass on the

golf course, and changing the color of the sand in the sandtraps), and when the Defendants’



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contributions to PIA are properly recognized as equity instead of “debt,” PIA has a positive net

worth of tens of millions of dollars. Indeed, for years, and as recently as September 18, 2016,

Defendants have been touting the “financial strength” of PIA in advertisements that are

distributed in both Missouri and Kansas, and PIA is not past due or in default on any debts

except (1) the amounts PIA owes the Allens and (2) the bank loans Defendants purposefully

caused PIA to default on to further their fraudulent scheme (as described in more detail below).

       311.    Despite being CEO of PIA at the time, Allen was unaware Heineman and Illig

were meeting with PIA’s counsel, Pete Smith, to negotiate and implement this fraudulent

scheme.

       312.    Throughout the remainder of 2009, Allen continued negotiating his new

employment agreement in good faith based upon Patterson and Illig’s representations that they

would continue to make equity contributions in exchange for Allen’s sweat equity (that is, Allen

would continue to serve as CEO and run the day to day operations of PIA but at a much lower

guaranteed compensation), Allen giving up the $6 million purchase payment, and Allen

restructuring his incentives based on this framework. He did not know that Patterson’s and

Illig’s representations were false when made, that they secretly intended to eliminate him without

paying him what he was due, and that they were secretly planning to claim that their cash

infusions were actually debt instead of equity.

       313.    In advance of the February 5, 2010 Board of Managers meeting, Heineman by

phone or by email that morning told Allen that Heineman had to have a signed copy of the new

agreement for the meeting later that day, otherwise Heineman would face severe consequences

from Neal Patterson. In response, Allen sent Robb Heineman an email later that day forwarding




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a revised draft of the agreement, and noting that Dale Brouk had already reduced Allen’s salary

even though the agreement had not yet been signed.

       314.    Allen also told Heineman via email that he had not received a note memorializing

the Allens’ loans. Because he had not received the note, Allen asked for and Heineman agreed on

behalf of Patterson and Illig that the language in the agreement would be amended to ensure that

the agreement did not become effective until all parties had signed the new agreement and Allen

had received his note.

       315.    Heinemann, acting on behalf of Patterson and Illig, approved the changes by

email and told Allen to bring two signed copies of the new agreement to the meeting.

       316.    Allen signed the new employment agreement later that day, February 5, 2010 (the

“2010 Employment Agreement”). A copy of the 2010 Employment Agreement is attached

hereto as Exhibit B.

       317.    The 2010 Employment Agreement effectively eliminated the $6 million buyout,

and contained the following material terms, among others: (a) reduction of Allen’s annual salary

from $325,000 to $150,000; (b) performance incentives; (c) fringe benefits including lifetime

club memberships and a car allowance; and (d) a provision for a note for the aforementioned

loans from the Allens with terms satisfactory to Allen. It also required PIA and the “PIA

Companies” to “fully and completely” release, indemnify and hold Allen harmless from all

liabilities, costs, obligations, or guaranties of any nature directly or indirectly associated with the

PIA Companies or any of the PIA Companies’ operations.

       318.    Allen agreed to a reduced salary in the 2010 Employment Agreement in exchange

for a bonus compensation structure that was tied to the profitability of one of PIA’s operating




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subsidiaries, Double Eagle, which had the potential to increase Allen’s overall compensation had

Patterson and Illig intended to follow through with the terms of the agreement.

       319.    In Section 2.13, the 2010 Employment Agreement expressly states that the

“agreement will only become binding and effective upon: (a) its execution and delivery by all the

parties, and (b) the execution and delivery of a note in form and substance satisfactory to” Allen.

       320.    Allen’s salary was reduced, but he has not received many of the benefits of this

agreement. He has not received all compensation and benefits he is owed, the loans he and his

wife made to PIA have not been repaid, and he has not been indemnified, released or held

harmless from millions of dollars’ worth of guaranties he made on bank loans for the benefit of

PIA and its subsidiaries.

       321.    Indeed, documentary evidence shows that Patterson and Illig never intended to

perform the 2010 Employment Agreement with Allen. Patterson and Illig induced Allen into

taking a reduced salary and surrendering a $6,000,000 buyout without intending to honor (a)

their express representations that they would contribute equity into the company if he signed, (b)

the repayment of the Allens’ loans, and (c) the other provisions of the 2010 Employment

Agreement. Instead, as noted above, it was part of their scheme to force Allen out without

paying him what he was due.

 Illig and Patterson Reclassify Equity Contributions as Debt, Making PIA Assets Balance
                                  Sheet Appear Insolvent

       322.    Almost immediately after Allen provided Heineman with a signed copy of the

2010 Employment Agreement, Illig and Patterson moved to deny him the benefit of that bargain,

first by re-characterizing their equity contributions as debt.

       323.    Allen justifiably understood that the contributions by Patterson and Illig were and

would continue to be considered equity because that was the express representations Defendants


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made to him, the PIA Operating Agreement required his express consent before PIA took on any

new debt, and PIA’s contemporaneous financial records had clearly stated that Patterson’s and

Illig’s past contributions were “equity.” For example:

            a. The December 31, 2009 Balance Sheet identifies an equity contribution from Neal

               Patterson for $13,135,092.50 and an equity contribution from Cliff Illig for

               $12,950,092.50. These equity contributions are categorized as “Equity” on PIA’s

               balance sheet.

            b. The January 31, 2010 Balance Sheet also reflected the same equity contributions

               from Illig and Patterson that appeared on the December 31, 2009 Balance Sheet.

               Those equity contributions were similarly categorized as “Equity” on the balance

               sheet.

       324.    Illig’s 2008 Personal Financial Statement, prepared personally by Illig, reflects

the same.

       325.    But almost immediately after Allen signed his Employment Agreement in

February 2010, Illig and his agents Robb Heinemann and Maureen Evans, CFO of Pandi Capital,

instructed Dale Brouk to re-characterize all of Patterson and Illig’s equity contributions into debt.

       326.    In an email from Maureen Evans to Dale Brouk dated March 8, 2010, Evans

wrote, “I talked to Cliff and Robb [Heineman] about you having the loans to Pandi Capital

showing in the equity section. They agreed that it should not be shown in the equity section but

as a liability. Could you check with Robb on the exact description he wanted you to use and

incorporate that with your 2009 financial statements.”

       327.    Brouk responded five minutes later, confirming that he would comply.




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       328.    Brouk testified that he did not advise Allen of the change nor seek Allen’s

approval. This despite the fact that Allen was CEO of PIA and therefore Brouk’s boss.

       329.    On PIA’s Balance Sheet dated February 28, 2010 but prepared in March 2010

(just after Allen signed the 2010 Employment Agreement), Patterson and Illig’s capital

contributions in the total amount of $26,085,185.00 had been moved from the “Equity” category

on prior balance sheets and re-categorized as Long-term Liabilities.

       330.    Allen did not approve the decision to “reclassify” Patterson and Illig’s capital

contribution into debt. Accordingly, this unilateral decision on the part of Patterson and Illig was

in direct violation of the PIA Operating Agreement which required unanimous approval of the

Class A Members before PIA could “incur indebtedness in excess of $50,000” or “knowingly do

any Act which would make it impossible to carry on the ordinary business of the Company…”

       331.    The change violated the PIA Operating Agreement in other ways, as well.

       332.    The amount of Long-term Liabilities to Patterson and Illig as reflected on PIA’s

balance sheets as of February 28, 2010 does not match the amounts Pandi Capital now claims it

loaned to PIA Assets as of February 28, 2010. There were no loans from Pandi Capital reflected

on PIA’s balance sheets in 2010.

       333.    At this same time, while PIA’s internal books reflected a significant increase in

debt to Pandi Capital, Defendants were soliciting new loans for PIA from banks by telling the

banks that PIA was reducing its debt load.

       334.    A “Pandi Lifestyle Real Estate Group 2010 Business Summary” states: “PIA

invested significant capital and deleveraged its assets during 2010 and has continued to do so

into 2011. In 2010 and early 2011 capital deployed by PIA to reduce debt was in excess of $31

million.”



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       335.    To further their intentional and deceptive scheme of prioritizing their capital

contributions above the amounts owed by PIA to Allen, in December 2011, Patterson and Illig

further re-characterized their capital contributions as debt from PANDI Capital, LLC in excess of

$80 million. But, of course, this was all a sham. These contributions were not debt, but equity.

       336.    As noted above, however, this scheme was not designed to defraud just Allen

(although he was the principal target), Defendants also devised it to defraud the Class B

Members Manning and Watson, and Defendants were also pursuing that part of the conspiracy

full steam ahead.

     Patterson and Illig Use Their Firewall to Refuse to Make Payments to the Class B
                              Members for the Second Time

       337.    In late 2010, Patterson and Illig once again decided not to make payments under

the revised payment schedule to Manning and Watson that they had just agreed to.

       338.    On November 18, 2010, Patterson emailed Brouk, Evans, Illig and Heineman,

saying, “Please do not pay the Class B payments… if we are defaulting the NID .. architecting

our walk away .. we should hold on this payment until we have a plan.”

       339.    Brouk confirmed that no payment would be made to the Class B members.

       340.    Patterson’s reference to “defaulting the NID” was a reference to the

Neighborhood Improvement District taxes that PIA owed to Platte County. Patterson planned on

defaulting on the NID by not paying the taxes owed. This was yet another clear financial

obligation PIA had that Patterson directed should not be paid.

       341.    Patterson did not include Allen, PIA’s CEO, on the email.

       342.    Neither Illig nor Patterson consulted with Allen regarding the decision to cease

making payments to the Class B members.




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       343.   Neither Patterson nor Illig asked Allen for his consent regarding the decision to

cease making required NID tax payments to Platte County.

       344.   Brouk, however, informed Allen of Patterson’s decision not to pay the Class B

members and to default on the Platte County NID taxes. He forwarded Allen the email he had

received from Patterson, since Allen had not been copied on the original email.

       345.   Allen did not agree with this strategy. He was concerned and on November 21,

2010, Allen questioned the decisions in an email to Brouk.

       346.   The subject line of the email was “Class B Payments & Operating Agreement.”

Allen wrote, “Do you have a PIA Operating Agreement in your office? I can’t find my copy. I

am very concerned that the Operating Agreement provides that the obligation is a gross pledge.

Moreover, the Operating Agreement may provide an affirmative obligation to pay taxes and

assessments. As Chief Financial Officer, you had better take a look and know what we’re doing

before we jump off the edge.”

       347.   In November 2010, Watson wrote to Allen and Brouk requesting that the

contractually-required Class B member payments be made.

       348.   Nevertheless, and over Allen’s objections, the payments were not made.

       349.   Accordingly, on December 13, 2010, counsel for Manning and Watson forwarded

Illig a copy of the proposed lawsuit seeking payment.

       350.   There was a clear contractual obligation for PIA to make the payments to

Manning and Watson, as alleged in the lawsuit. Manning and Watson were suing under the

revised payment schedule Patterson and Illig had agreed to just two years prior. That revised

payment schedule, of course, was the negotiated resolution of the dispute Patterson created when

he unilaterally decided to cease paying Watson and Manning the first time in late 2008.



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         351.   In response to the lawsuit, and as planned, Patterson and Illig invoked their

“firewall” strategy in an attempt to avoid their contractual obligations to Watson and Manning.

         352.   First, Illig and Patterson used the reclassification of their equity contributions to

defend against Manning and Watson’s lawsuit. Represented personally by Pete Smith, who

helped design and implement the “firewall” scheme to protect Illig and Patterson by increasing

PIA’s “debt” and defaulting out the minority shareholders of PIA, Illig and Patterson argued in

their Answer to Manning and Watson’s Petition that Manning and Watson’s “claims are barred

in whole or in part by Section 347.109, R.S.Mo., which prohibits a distribution to members of a

limited liability company when such distribution would render the company unable to pay its

debts as they become due in the ordinary course of business, or the company’s total assets would

be less than the sum of its total liabilities to which such assets are subject.”

         353.   Patterson and Illig’s defense was, in essence, that because PIA did not have

sufficient assets to pay back its “debts” to Pandi Capital, PIA could not make the contractually-

required payments to the Class B members.

         354.   Patterson and Illig’s decision to label their equity contributions as debt allowed

PIA to argue the statute did not allow Class B members to receive payments as LLC members.

         355.   To document PIA’s alleged “debt” to Pandi Capital, Illig and Patterson created

fraudulent promissory notes from PIA to Pandi Capital (the “Pandi Notes”).

         356.   These Pandi Notes, were clearly not authorized by the PIA Operating Agreement

and their sole purpose was to further the “firewall” strategy by misrepresenting the nature of the

cash infusions Defendants had regularly contributed to PIA, by wire, over the previous two

years.




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        357.   Patterson and Illig received the Class B members’ demand on December 13,

2010.

        358.   Two days later (purportedly), on December 15, 2010, Illig signed numerous Pandi

Notes from PIA to Pandi Capital, purportedly documenting all of Pandi Capital’s past

contributions (which were accomplished by wire transfer) to PIA.

        359.   Illig signed the Pandi Notes on behalf of Pandi Capital, as the lender.

        360.   At that time, no one signed on behalf of PIA, the purported borrower.

        361.   Illig has admitted that prior to December 15, 2010, no Notes from PIA to Pandi

Capital existed.

        362.   Maureen Evans, the Chief Financial Officer of Pandi Capital, also testified that

she was not aware of any notes from PIA to Pandi Capital before December 2010.

        363.   These Pandi Notes, all signed by Illig purportedly on December 15, 2010,

purportedly documented $37,979,891 in loans from Pandi Capital to PIA Assets.

        364.   But Pandi Capital did not loan PIA Assets $39,979,891 in December 2010.

        365.   All of the Pandi Notes signed purportedly in December 2010 were backdated to

appear as if they had been signed every quarter dating back to December 31, 2008.

        366.   For instance, one of the Pandi Notes, signed purportedly on December 15, 2010,

purports to document a loan made by Pandi Capital to PIA Assets on December 31, 2008. The

loan, which was never even discussed with, much less approved as required, by Allen, had a

three-year term and a 20% interest rate.

        367.   By the time Illig signed that December 31, 2008 note from PIA to Pandi Capital

in December 2010, the note required PIA to make repayment in one year.




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         368.   Brouk has testified that PIA had no ability to repay that note when it was signed

in 2010.

         369.   Illig has testified that he had no expectation that the note would be repaid on time

when he signed it.

         370.   Brouk and Illig have confirmed that no financial plans were ever made for PIA to

repay Pandi Capital on the December 31, 2008 note or any of the purported Pandi Notes.

         371.   And, in fact, PIA did not make any payments required by the purported Pandi

Notes.

         372.   All of the Pandi Notes from PIA to Pandi Capital contain a provision allowing

Pandi Capital to accelerate payment under all of its Notes from PIA in the event PIA fails to

make a required payment under any of the Notes.

         373.   As a result, when PIA did not repay the December 31, 2008 Pandi Note on

December 31, 2011, all of the purported Notes from PIA to Pandi Capital were purportedly in

default according to their terms.

         374.   However, Pandi Capital did not make any demands for repayment on these notes.

         375.   Brouk testified that he did not sign the Pandi Notes from PIA to Pandi Capital

until 2013.

         376.   Brouk testified that at the time he signed the Pandi Notes, he did not show them to

Allen.

         377.   Brouk testified that Allen did not approve the Pandi Notes.

         378.   Allen did not vote to approve any of the Pandi Notes upon which Pandi Capital is

suing in this litigation. Nor did Allen vote to approve of PIA incurring any of the indebtedness

that Pandi Capital is attempting to collect in this litigation.



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       379.    Brouk has testified that the lack of Allen’s approval of the Pandi Notes was a

violation of PIA’s Operating Agreement.

       380.    Maureen Evans has testified that she did not contemporaneously provide Allen

with copies of the Pandi Notes on which Pandi Capital’s current claims against PIA are based,

and no PIA Members’ or Managers’ meetings were held to discuss or ratify any notes from

Patterson, Illig, or Pandi Capital.

       381.    In fact, Allen had never even seen the Pandi Notes until Pandi Capital made

demand on PIA for repayment in 2013.

       382.    Even if the equity contributions from Patterson and Illig are labeled now as loans,

these “loans” violate the PIA Operating Agreement which states in relevant part: “if a Manager .

. . is the lending Member, the rate of interest shall be determined by the Board of Managers

taking into consideration, without limitation, prevailing interest rates and the interest rates the

lender is required to pay in the event such lender has itself borrowed funds to loan or advance to

the Company and the terms and conditions of such loan, including the rate of interest, shall be no

less favorable to the Company than if the lender had been an independent third party.”

       383.    After years of litigation, with PIA incurring significant legal fees, the lawsuit

between Class B members Manning and Watson and PIA was eventually resolved in Manning

and Watson’s favor. Indeed, Illig admitted that Patterson and Illig deliberately defaulted on the

Manning and Watson payments and later agreed to resume payments only after they were sued

and incurred hundreds of thousands of dollars’ worth of legal bills.




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    After Inducing Allen to Sign the 2010 Agreement, Defendants Take Further Steps to
                         Prevent Allen From Enforcing His Rights

       384.    Almost immediately after Allen signed the 2010 Employment Agreement,

Patterson and Illig took additional steps to frustrate any effort Allen would undertake to enforce

any of his rights or claims.

       385.    Illig testified that he signed the 2010 Employment Agreement on behalf of

Defendants, but Defendants never delivered a signed copy to Allen. Allen has still never seen

the copy signed by Illig.

       386.    Moreover, Defendants drafted a promissory note to Allen dated January 1, 2010,

that Illig signed, a copy of which is attached hereto as Exhibit C. This note (the “Allen Note” or

“Allen’s Note”) identified the “Borrower” as “PIA Assets, LLC,” and the “Lender” as “James S.

Allen, Jr.”

       387.    Allen’s Note provides that the “Borrower shall pay all outstanding principal and

accrued interest together with the IRR True Up (defined below) and all other amounts owed

pursuant to this note . . . on the third anniversary of the date hereof (the “Maturity Date”),

unless earlier accelerated pursuant to the terms of this Note.” (emphasis added).

       388.    Allen’s Note goes on to define the “IRR True Up” as “an amount necessary such

that, after the payment of which, as of such date, Lenders’ internal rate of return (as calculated

using Microsoft Excel’s XIRR function) on the Loan will be 20%.”

       389.    The IRR True Up means, effectively, that the interest rate on the loan was

approximately 20%.

       390.    Allen’s Note further defines an “Event of Default” to include “Borrower fails to

timely pay the Principal under this Note in accordance with the terms of this Note,” and that

“[u]pon the occurrence of any Event of Default (whether or not Lender has knowledge that such


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Event of Default exists), then the Loan shall, at the option of Lender immediately become due

and payable without demand without notice to Borrower or any other person or entity.”

       391.    Allen’s Note further provides in part that “Upon the occurrence, and during the

continuation of an Event of Default: (i) Lender shall have all rights and remedies available to it

at law or equity,” that “(iii) Borrower shall pay to Lender, in addition to the sums stated above,

the reasonable costs of collection, regardless of whether litigation is commenced, including any

reasonable attorneys’ (and any other consultants’ or experts’) fees, expenses and other costs, to

the extent not prohibited by law,” and that “(iv) notwithstanding any other provision of this Note,

during the period of existence of such Event of Default, interest on the Loan evidenced by this

Note shall accrue and be paid, not at the Interest Rate, but at the lesser of (A) the Default Rate, or

(B) the maximum lawful rate of interest under the applicable Usury Law, if any.” Allen’s Note

goes on to define “Default Rate” as “a rate per annum equal to the lesser of (a) the maximum rate

permitted by applicable law, or (b) five percent (5.0%) above the applicable Interest Rate.”

       392.    There is no usury rate maximum that applies to this loan. Thus, the “Default

Rate” for Allen’s Note is 25%.

       393.    By its plain terms, the debt evidenced by Allen’s Note incurred interest at a rate of

20% until (at the latest) its maturity date on January 1, 2013, and has been incurring and

continues to incur interest at the rate of 25% starting no later than January 1, 2013 until it is paid

in full (which it has not been).

       394.     Illig has testified that he signed Allen’s Note “[a]s authorized signatory of PIA

Assets, LLC,” but directed Maureen Evans, Defendant Pandi Capital’s Chief Financial Officer,

not to deliver it. Her testimony is confirmed by Illig’s own handwriting, which instructs Evans to

hold the Note, and an April 25, 2012 email from Pandi Capital’s Deborah Smeltzer stating, “We



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wrote the note in late October 2010 and had Cliff [Illig] sign it. Cliff [Illig] asked us to hold it as

he did not want to ask Jim to sign at the time. Attached is what we have.”

       395.    As described above, in March 2010, a month after Allen signed the 2010

Employment Agreement, Illig directed Dale Brouk, PIA’s CFO, to alter the company’s books

and reclassify (falsely) as liabilities over $100 million of equity contributions Patterson and Illig

had made in prior years. Brouk followed Patterson and Illig’s instructions without question and

without informing Allen.

       396.    There are no corroborating documents justifying the reclassification.

       397.    Allen objected to this reclassification but his objections were futile as Defendants

refused to address his concerns.

       398.    At this time, PIA was already actively litigating its case against the Class B

members.

       399.    Despite Allen’s continuing to hold the title of CEO of PIA, Patterson and Illig

began ignoring Allen shortly after he signed his 2010 Employment Agreement.

       400.    Allen was no longer invited to some meetings pertaining to PIA business, and he

was not involved in major strategy decisions regarding Loch Lloyd or The National.

       401.    Despite Allen’s history in developing PIA’s real estate assets, his ideas for the

future were ignored.

       402.    As a result of being prevented from performing his duties as CEO, Allen believed

he had no choice but to reach out to Illig to negotiate his separation from PIA.

       403.    The negotiations went nowhere.

       404.    Though Allen never received a signed copy of the Allen Note as required in his

2010 Agreement until after he made a demand for repayment, he was aware that PIA’s financial



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documents and 2012 Plan showed that the Allens’ $817,585 loan had matured in February 2012.

By the terms of the Allen Note Illig signed, the loan had been accruing at 20% interest since

October 2006, when the loan was made, and 25% interest after the maturity date.

       405.    Accordingly, Allen made a formal demand upon PIA for repayment of his and his

wife’s loan in March 2012.

       406.    Because he had never received the signed 2010 Agreement, Allen also inquired

about PIA’s ability to make the $6 million buyout of his interest in PIA as required under his

2006 Employment Agreement.

       407.    In response, and knowing that the $6 million purchase payment would be due if

the 2010 Employment Agreement (which had, as a condition precedent, delivery of the note to

Allen) was not in effect, Defendants’ Counsel, Pete Smith of McDowell Rice, presented Allen

for the first time with a copy of the “Allen Note” that Illig had previously signed but instructed

representatives of Pandi Capital not to deliver.

       408.    That Note was dated January 1, 2010 and matured on January 1, 2013.

       409.    Allen had never seen this Note.

       410.    Allen remained in discussions with counsel for PIA for much of 2012 regarding

satisfaction of the Allens’ loans, either through cash or alternative means.

       411.    In November 2012, Allen submitted his resignation as CEO.

       412.    His resignation triggered a response from Illig and Patterson; almost immediately,

they took steps to ratchet up their “firewall” efforts and set out to ruin Allen financially.




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  Patterson and Illig Appoint Managers to Take Affirmative Steps to Pressure Allen Into
          Dropping His Lawsuit and Prevent Him From Collecting If He Did Not

         413.   Shortly after Allen resigned as CEO, on December 21, 2012, Patterson and Illig

resigned as managers of PIA and appointed Dale Brouk and Randy Nay to replace them as

managers on behalf of Pandi Development, LLC.

         414.   Defendants claim that Brouk and Nay would be “independent” managers, but they

were Patterson’s and Illig’s puppets.

         415.   Nay testified that Patterson and Illig wanted “independent” managers because of

the legal disputes between the members.

         416.   Brouk and Nay began calling for regular PIA managers’ and members’ meetings,

which had not occurred since 2010.

         417.   Scott Goldstein, counsel for Illig and Patterson, suggested agenda items for PIA

Managers’ Meetings to Randy Nay. One suggested item was the “Propriety of any additional

payments/compensation/benefits to Mr. Allen in light of his suit against the Company.” Nay

dutifully placed Mr. Goldstein’s suggested items on the agenda.

         418.   Though it had been business as usual since 2010, shortly before Allen filed his

lawsuit, Pandi Development, Dale Brouk and Randy Nay (who were PIA Managers appointed by

Patterson and Illig) thereafter began to claim that PIA was insolvent and unable to repay its

debts.

         419.   The managers appointed by Pandi Development began demanding large financial

contributions from Allen to fund the capital requirements of PIA and its subsidiaries in violation

of PIA’s Operating Agreement.

         420.   No one, including Illig and Patterson, had ever previously demanded financial

contributions from Allen, and these demands were in direct violation of the Operating


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Agreement that made clear that “a Member . . . shall not be required to lend any funds to the

Company or . . . to make any additional Capital Contributions to the Company.”

       421.    After appointing Brouk and Nay, Patterson and Illig through Pandi Capital and

Pandi Development stated that they were unwilling to continue providing capital for PIA unless

Allen agreed to relinquish his rights to repayment of his loans and the buyout of his interests in

PIA and its subsidiaries. This, of course, was the very result Patterson and Illig had been trying

to achieve since 2008.

       422.    Pandi Development also threatened that it would not continue funding PIA unless

PIA’s Board of Managers agreed to amend the operating agreements of PIA’s subsidiaries to

allow Pandi Capital to loan money directly to PIA’s subsidiaries.

       423.    Under PIA’s Operating Agreement, any decisions to incur indebtedness must

have unanimous approval of the Class A Members (Pandi Development and Allen).

       424.    Pandi Development demanded that PIA amend the operating agreements for PIA

subsidiaries to state that decisions regarding incurring indebtedness require only a majority vote

of the board of managers.

       425.    The amended operating agreements contain provisions allowing a majority of the

board of managers of each entity to determine that additional capital contributions from

“Members” are necessary. The “Members” are then required to make the contributions. If a

Member does not make a capital contribution, the other Members can sue the non-contributing

Member.

       426.    The practical purpose of these provisions in the amended operating agreements

for required capital contributions was to allow billionaires Patterson and Illig to use their wealth

as leverage over Allen.



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       427.    As noted above, the PIA Operating Agreement contained a provision prohibiting

required capital contributions.

       428.    The reason the PIA Operating Agreement prohibited required capital calls was to

prevent Illig and Patterson from using their wealth to ruin Allen by having their appointed

managers approve capital calls that Allen could not meet.

       429.    The amended operating agreements also purport to allow Pandi Capital to make

loans directly to PIA’s subsidiaries and give repayment of Pandi Capital’s new loans priority

over any other existing debt.

       430.    This was a blatant attempt to thwart Allen’s ability to collect on the Allen Note

and the other obligations he was owed.

       431.    The amended operating agreements state:

                       Any loan to the Company made by an affiliate of a Member
                       shall be treated as a third-party loan and not as a loan from
                       a Member and shall be on such terms and conditions as
                       agreed to by the Managers and any such loan made after
                       March 13, 2013 shall have priority with respect to
                       repayment over any loans owing to any Member or its
                       affiliate made before such date. For the purpose of this
                       provision, the term “affiliate” means, with respect to any
                       Member, any other person directly or indirectly controlling,
                       controlled by, or under common control with such Member.

       432.    The “priority” language in this provision is an attempt to put repayment of loans

by Pandi Capital made after March 13, 2013, ahead of repayment of the much earlier Allen Note.

       433.    The amended operating agreements also purport to allow a simple majority of the

“Managers” of the subsidiary to grant security interests in any assets owned by a subsidiary of

PIA. Patterson and Illig controlled the choice of two out of the three managers of these entities.

       434.    The amended operating agreements also purport to allow a simple majority of

managers to put certain subsidiaries into bankruptcy.


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       435.    Upon information and belief, the purpose of the amended operating agreements

was to allow Illig and Patterson to encumber PIA’s underlying entities through purported “loans”

from Pandi Capital in such a way that would interfere with the rights of potential creditors by

loading the subsidiaries up with debt owed to Pandi.

       436.    The only ostensible purpose for the actions described above is to make it

impractical or impossible for PIA to repay its debts to Allen and to honor its obligations to

indemnify and hold Allen harmless.

       437.    The Pandi entities provided the new operating agreements to Pete Smith and

Randy Nay.

       438.    On March 7, 2013, shortly after Allen filed this lawsuit seeking payment on

Allen’s Note, Scott Goldstein sent a letter to The Board of Managers of PIA by both email and

U.S. mail. Goldstein wrote that he represented Pandi Development and that the “purpose of this

letter is to describe the circumstances under which Pandi or its affiliates may loan additional

monies to PIA and its subsidiaries, and other matters relevant to PIA.”

       439.    Goldstein wrote, “Pandi [Development], through its affiliate Pandi Capital, has

already loaned PIA approximately $3,135,630 in 2013, which amounts includes Jim Allen’s

share, which he has not loaned.”

       440.    According to Goldstein, the Pandi entities would no longer loan funds to PIA (the

parent company) and would only loan funds to PIA’s subsidiaries.

       441.    Goldstein demanded that PIA change its subsidiaries’ operating agreements to

allow the subsidiaries to take on the debt without Allen’s consent.

       442.    Goldstein’s letter also threatened that Pandi Capital would sue PIA and seek

collection on the purported $100 million in fraudulent Pandi Notes unless Allen withdrew his



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lawsuit against PIA (which, of course, was the entire goal of the “firewall” strategy). Indeed, the

Goldstein letter made clear that the Pandi entities had never before attempted to collect on the

notes even though at least $20 million of the purported notes were due and payable. It was only

now that Allen was attempting to enforce his rights that Defendants were threatening to obtain a

$100 million judgment against PIA to foreclose Allen’s ability to recover.

       443.    Attached to Goldstein’s letter was a resolution, proposing that the PIA Members

adopt at a Members’/Managers’ meeting on March 13, 2013 to approve Pandi Development’s

demands, and recommending that the PIA Board of Managers make the amendments to the

subsidiaries’ operating agreements that Pandi Development demanded.

       444.    On March 12, 2013, Randy Nay, who had been appointed by Goldstein’s clients

Illig and Patterson, emailed Brouk, Allen, Goldstein and Pete Smith recommending the

Managers of PIA “act expeditiously to accept and implement” the conditions on funding

proposed by Goldstein.

       445.    Nay made no attempt to negotiate the terms proposed by Goldstein.

       446.    Instead, Nay forwarded by email to the PIA Board of Managers a sister resolution

for adoption by the PIA Board. Its wording was drafted and/or edited by Pandi Development

and its lawyers at Spencer Fane. It purports to adopt amendments to the operating agreements of

PIA’s subsidiaries that were prepared by PIA’s counsel and that purport to effect the changes

Pandi Development demanded.

       447.    As the two resolutions state, and the testimony of Randy Nay confirms, the very

purpose of the resolutions and the changes Pandi Development proposed were to get around the

restrictions in the PIA Operating Agreement, including: (1) prohibiting mandatory capital calls to

its members; (2) clarifying that no member has an obligation to loan funds to PIA; and (3)



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preventing PIA’s Board of Managers from incurring indebtedness over $50,000 without the

unanimous consent of both Pandi Development and Allen.

       448.    Indeed, Randy Nay conceded that because PIA operations are conducted

exclusively through its operating subsidiaries, that when Defendants were encumbering the

operating subsidiaries with debt, they were effectively encumbering PIA’s operations with debt,

particularly because those loans show up on PIA’s books.

       449.    Nevertheless, Illig signed the Member resolution on behalf of Pandi

Development. Nay and Brouk (the two managers appointed by Pandi Development) signed the

Board of Managers resolution. Allen did not consent to either.

       450.    On March 19, 2013, the managers appointed by Patterson and Illig through Pandi

Development purportedly approved the amended operating agreements for the subsidiaries over

Allen’s objection.

       451.    But the amendments were not valid for many reasons, including that the PIA

Operating Agreements required Allen’s approval for such changes. Notably, at one point, even

Kris Dekker, a lawyer at Spencer Fane (the same firm where Scott Goldstein works, the same

firm that represents the Pandi entities), wrote in a May 16, 2013 email to Karen Virgillito that the

amendments “were required to have been approved by all 3 Managers.” It was only after Ms.

Virgillito of the closely-held Illig Family Enterprise Company (with obvious close ties to Illig,

Patterson, and the Pandi companies—all lucrative Spencer Fane clients) protested and argued to

the contrary, did Mr. Dekker relent.

       452.    On April 2, 2013, Nay and Brouk approved a “Resolution of the Board of

Managers of PIA Assets” which stated:

                       2. To the extent permitted under the Company’s existing
                       financing, the Company is further authorized to grant such


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                       subordinate security interests and deeds of trust liens on its
                       assets as requested by PANDI Capital LLC to secure the
                       Loan and any future borrowings the Company may obtain
                       from PANDI Capital, LLC; and

                       3. Any manager of the Company is hereby authorized and
                       directed to, for and on behalf of the Company, to execute
                       and deliver on behalf of the Company, a Promissory note in
                       substantially the same form of the Promissory note attached
                       hereto as Exhibit A, to the extent permitted by the
                       Company’s existing financing, such security agreements,
                       pledges and deeds of trust as requested by Pandi Capital,
                       LLC, to secure the Loan and any future borrowings that the
                       Company may obtain from PANDI Capital, LLC….

       453.    The Note attached as Exhibit A to the resolution was from PIA Assets to Pandi

Capital for $53,000.

       454.    Allen did not approve the resolution or the Note.

       455.    The approval of this resolution was a blatant violation of the PIA Operating

Agreement’s prohibition on the PIA Board of Mangers incurring indebtedness over $50,000

without Allen’s consent.

       456.    Nay and Brouk approved several similar resolutions and promissory notes for

PIA’s subsidiaries and Allen did not consent to these either.

       457.    The resolutions were done to allow Patterson and Illig to tie up PIA’s real estate

assets with “debt” that would prevent PIA from selling the real estate to pay off a potential

judgment to Allen.

       458.    No PIA Board resolutions were proposed and/or unanimously approved

documenting Patterson’s, Illig’s, or Pandi Development’s capital contributions to PIA through

Pandi Capital in 2010, 2011, or 2012.




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           Illig and Patterson Implement the Next Phase of the Firewall Conspiracy

       459.     One of the key provisions in Allen’s 2010 Employment Agreement obligated PIA

to “fully and completely release[]” and “fully and completely indemnify and hold [Allen]

harmless” from all guaranties he had personally extended on bank loans.

       460.     Like many businesses, PIA relied on bank loans to smooth out cash flow

irregularities and fund capital expenditures. And, as is common for such loans, the banks who

lent money to PIA required each of Patterson, Illig, and Allen to personally guaranty repayment

of the loans.

       461.     Allen’s resignation at the end of 2012 triggered the clause in the contract (the

“FCRIHH Clause”) requiring Defendants to fully and completely release and fully and

completely indemnify and hold Allen harmless from such guaranties:

                (h) In the event the Employee no longer is an employee of Five
                Star, Five Star will either (i) cause the Employee to be fully and
                completely released from liabilities, costs, obligation or guaranties
                of any nature directly or indirectly associated with the PIA
                Companies or any of the PIA Companies’ operations (collectively
                “Company Obligation”) within twelve (12) months after the date
                Employee’s employment terminates (“12 Month Period”); or (ii)
                fully and completely indemnify and hold harmless Employee with
                respect to all existing and future Company Obligations pursuant to
                the terms and conditions of an indemnification agreement which
                will be in a form acceptable to Employee; provided, however, in
                circumstance (i) above, Five Star and the other PIA Companies
                will fully and completely indemnify and hold harmless the
                Employee during the 12 Month Period.

       462.     Despite this clear contractual obligation to hold Allen harmless, Patterson and

Illig conspired with PIA to do just the opposite.

       463.     On January 2, 2013, Allen filed a lawsuit against RP Golf, LLC and PIA to collect

on the Allen Note.




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       464.    Scott Goldstein, counsel for Illig, Patterson, and Pandi Capital, discussed and

coordinated PIA’s response to Allen’s lawsuit with Pete Smith, ostensibly counsel for PIA and

FiveStar Lifestyles.

       465.    On January 9, 2013, just seven days after Allen filed his lawsuit in Platte County

against only PIA and RP Golf, Pandi Capital’s Maureen Evans began forwarding the loan

guaranty documentation to both Spencer Fane’s Scott Goldstein and McDowell Rice’s Pete

Smith by email.

       466.    The next day Goldstein emailed Smith several times about the documentation. He

did not discuss a strategy for facilitating Allen’s release or how to hold Allen harmless from the

guaranties, but rather how to use them against Allen.

       467.    For instance, on January 10, 2013, Goldstein emailed Smith, “Here is the first

Guaranty I have gotten a copy of. See what I have marked. A payment to Allen is a breach under

this loan document. Query whether his mere filing of a lawsuit to enforce collection of the same

is also a violation. Arguably yes. Sjg.”

       468.    A couple of days later, on January 14, 2013, Pandi Capital’s Evans created a

spreadsheet of “PIA Bank Debt by Maturity Date.” In a section entitled “Bank Discussions for

PIA Loans,” she made a notation of Defendants’ “Immediate” goal: “pay off” underlying loans

secured by Jim Allen’s guaranties and “go after . . . Jim.”

       469.    Later, when Pete Smith filed PIA’s Answer in this case, Smith used Goldstein’s

suggestion that Allen’s mere filing of a lawsuit caused a violation of Allen’s guaranty.

       470.    In fact, Smith had one of his law partners at McDowell Rice write a memo

concluding that Allen’s lawsuit violated the terms of the bank guaranties he signed on debts to

PIA Assets and its subsidiaries.



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       471.    On January 14, 2013, Smith emailed the memorandum to Randall Nay, Dale

Brouk, and Jim Allen (members of the PIA Board), and cited the memorandum to advise the

Board that Allen’s claims against PIA are subordinated to the bank debt. In the same email,

Smith “recommend[ed]” that the Board ask Jim Allen to dismiss his suit against PIA.

       472.    The McDowell Rice memo concluded as much despite the fact that McDowell

Rice lawyers had unequivocally recognized on several previous occasions that PIA had an

obligation under both the 2006 and 2010 Employment Agreements to release, indemnify, and

hold Allen harmless with respect to the loan guaranties.

       473.    PIA (through McDowell Rice) nevertheless cited those same loan guaranties as an

affirmative defense in this litigation against Allen.

     Spencer Fane’s Scott Goldstein Acknowledges, and Lists Steps to Effectuate, the
    Conspirators’ Unlawful Purpose of Using the Bank Loan Guaranties Against Allen

       474.    Meanwhile, Spencer Fane’s Scott Goldstein, counsel for the Pandi companies,

and McDowell Rice’s Pete Smith, putatively counsel for PIA, were coordinating on several items

to further the “firewall” strategy.

       475.    But by April 2013, Patterson was already expressing frustration with the

conspirators’ lack of progress. In an April 8, 2013 email exchange (the “Patterson-Goldstein

Email Chain,” attached hereto as Exhibit D), Pandi Capital’s Evans wrote to Spencer Fane’s

Goldstein at Patterson’s request and asked why they had not gone after Allen’s bank guaranties

as previously agreed.

       476.    On April 8, 2013, Maureen Evans emailed Scott Goldstein, subject “bank

strategy.” Evans wrote, “Scott, When we talk on Monday, can we also address the next steps we

are taking with the Banks. Neal [Patterson] wants to know why we haven’t approached the




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Banks and gotten them to go after Jim Allen’s guaranty. He says that was our strategy when we

got this thing started and he wants to know why we haven’t done any of that yet.”

       477.   Upon receiving this email, Goldstein did not give any indication that Evans was

mistaken about a “strategy” to breach the contractual obligation to fully and completely release,

indemnify, and hold Allen harmless. Instead, Goldstein reached out to other members of the

conspiracy to discuss Evans’ question and created a list of action items for the group to further

the conspiracy.

       478.   The other members he emailed included Spencer Fane’s Doug Weems and

Richard Hertel, as well as Defendant Illig and non-party Karen Virgillito, General Counsel for

The Illig Family Enterprise Company (“TIFEC”).

       479.   Goldstein responded to Evans’ email the same day, writing:

                      Here is a list of items I would like to discuss today, which
                      includes Maureen’s question below about dealing with the
                      Banks.
                      …

                      2.     Making sure all resolutions, notes, minutes,
                      corporate documents have been signed, are organized and
                      we have copies of the same.

                      3.     Bank follow-up:

                      Completion of document gathering on loan documents.

                      Karen/Cliff to work on script to be delivered by Pete.

                      Pete is communicator – does not want Cliff or Neal to be
                      involved – will need to harmonize obligation of PIA to
                      indemnify with keeping Allen on guaranties.

                      Goals: Allen stays on guaranties – no more Banks
                      providing two sets of documents; Neal and Cliff don’t sign
                      any new or additional guaranties or reaffirmations of
                      guaranties; Banks allow Pandi to take a subordinate lien on



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                        assets; longer term alternatives, but for now need to deal
                        with first three items.

                        Meet with Pete later this week to get this underway.

                        4. Lawsuit by Pandi Capital/Development to protect our
                        rights:

                        Notes – changes to same as necessary.

                        Draft Petition.

          480.   At this time, PIA and the Pandi companies were supposed to be adverse. As

described above, prior to the date of this email chain, Goldstein had already written a letter to

Pete Smith and PIA threatening PIA with a lawsuit to collect on Pandi Capital’s alleged “loans”

to PIA.

          481.   In his email, Goldstein designated Illig and TIFEC’s Virgillito to develop a

“script” that PIA’s counsel Pete Smith was to follow when dealing with banks.

          482.   The goal of the script was that Pete Smith, PIA’s counsel, would get the banks to

keep Allen on guaranties instead of releasing and/or holding him harmless as required under

Allen’s 2010 Employment Agreement. Goldstein wrote:

                 Karen [Virgillito] / Cliff [Illig] work on script to be delivered by
                 Pete [Smith].

                 Pete is communicator—does not want Cliff [Illig] or Neal
                 [Patterson] to be involved—will need to harmonize obligations of
                 PIA to indemnify with keeping Allen on guaranties.

          483.   PIA, through its counsel Pete Smith, had an affirmative obligation to fully and

completely indemnify and hold Allen harmless on the guaranties Allen had made for PIA’s

benefit.

          484.   And Spencer Fane’s Goldstein expressly acknowledged the contractual

“obligations of PIA to indemnify” Allen, in the same breath that he expressly admitted the


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directly contrary notion that the group’s “goal” was to keep Allen on the very same bank loan

guaranties. He wrote, “Goals: Allen stays on guaranties . . .”

         485.   Goldstein’s list of action items also included tasks related to the claims Pandi

Capital ultimately filed as intervenors in this case and in a related proceeding in Jackson County.

In particular, Goldstein’s email states that the group needed to make “necessary” “changes” to

the notes at issue so that it could file suit:

                “4. Lawsuit by Pandi Capital / Development to protect our rights:

                Notes—changes to same as necessary.”

         486.   And a few days later, on April 16, 2013, Pandi Capital through Scott Goldstein

sent PIA a demand for repayment by both email and interstate U.S. mail.

         487.   The April 16, 2013 demand letter noted that the loans were made by Pandi Capital

“[o]n Pandi Development’s behalf” “pursuant to the terms of certain promissory notes as

outlined in the letter. Those purported promissory notes, purported to include one “promissory

[sic]” per quarter, for each quarter, dated as of the last date of the quarter, from December 31,

2008 through December 31, 2012. A total of 17 notes spanning a time period of more than four

years.

         488.   The April 16, 2013 demand letter also claimed that Pandi Development had made

eight different “demand loans to PIA,” spanning the time period from January 2013 through

March 2013, ranging in value from $50,297 to $1.75 million, and that Pandi Development was

demanding repayment of those loans too.

         489.   All of these representations in the April 16, 2013 demand letter were false, and all

of the purported promissory notes (to the extent they actually existed at the time) were false

because none of them were authorized by the PIA Operating Agreement, and both Pandi



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Development and Pandi Capital knew that at the time of the April 16, 2013 demand letter, and

the date(s) the purported promissory notes were actually created, because the Pandi entities knew

that Allen’s consent was required under the PIA Operating Agreement, and the Pandi entities

knew that Allen had not consented to them as required in the PIA Operating Agreement.

       490.    Moreover, all of the purported “loans” made by Pandi Development (through

Pandi Capital) to PIA were misrepresentations of equity contributions Patterson, Illig, and/or

Pandi Capital wired to PIA. Indeed, Illig admitted in deposition that there was no plan or

expectation that these amounts would be repaid when made.

       491.    In fact, the Pandi entities have never before attempted to collect on the purported

notes prior to the Goldstein demand letter (even though several of them were purportedly already

past due).

       492.    Thus there was a clear pattern and practice over the course of at least four years to

send wire transfers to PIA, and then misrepresent the nature of those wire transfers by creating

false promissory notes. Indeed, Defendants continue to wire funds to PIA and purport to

“document” them with false notes or other documentation purporting to describe the equity

contributions as debt.

       493.    Allen, who had been CEO of PIA, had never seen nor approved any of these

alleged notes and/or loans from PIA to Pandi Development / Pandi Capital.

       494.    PIA did not possess copies of these alleged notes to Pandi Capital.

       495.    Indeed, after Pandi Development sent the April 16, 2013 demand letter, PIA’s

counsel, Pete Smith, had to ask Pandi Development for copies of the purported notes on April

17, 2013.




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       496.    Scott Goldstein, representing the Pandi entities, responded on April 23, 2013, by

forwarding some of the purported notes by email, and stating: “Attached are copies of the Notes,

where there are notes.”

        Defendants Doctor Notes to File Sham Litigation Claims in Jackson County

       497.    Just a few weeks later, on April 30, 2013, Pandi Capital filed a petition against

PIA in Jackson County.

       498.    In the Jackson County lawsuit, Pandi Capital claimed that Patterson and Illig’s

past contributions to PIA were not equity contributions as PIA’s books reflected, but instead

loans that were past due.

       499.    Spencer Fane, who represented Pandi Capital, attached sixteen different purported

“Promissory Notes” as exhibits to the petition.

       500.    These alleged notes are riddled with errors, suggesting they were hastily thrown

together.

       501.    For example, the introductory paragraph of each document identifies the

“Borrower” as “PIA Assets, LLC, a Missouri limited liability company” (emphasis added), but

the “Representations and Warranties” section of each nevertheless states that “Borrower . . . is

duly formed . . . under the laws of Kansas” (emphasis added). All of the notes purport to be

entered into with Pandi Capital, but several of them pre-date the formation of Pandi Capital,

which occurred at the end of 2009. Moreover, those dated before 2011 identify “Pandi Capital,

LLC” as a “Kansas limited liability company” even though it is organized in Missouri and not

registered in Kansas.

       502.    Further, each of the Notes is signed by Dale Brouk. In his deposition testimony,

Brouk testified that he signed the Notes after he was appointed PIA Manager (in December

2012) and before Pandi Capital’s lawsuit was filed in Jackson County (April 30, 2013).

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       503.    Regardless of when he signed them, notes pre-dating 2011 identify Brouk as a

“Manager” (which he was not until December 2012), and notes after 2010 identify him as

“President” (which he never was).

       504.    All of the loan documentation violates the PIA Operating Agreement, which

provides that PIA could not “[b]orrow or incur indebtedness in excess of $50,000 in any single

transaction or series of related transactions” without “unanimous approval of the Members,” and,

Defendants had no right to demand repayment of capital contributions.

       505.    Allen, a “Member” who’s approval was required for these loans to be authorized

under the PIA Operating Agreement, never approved these alleged “notes.”

       506.    Moreover, Defendants had no expectation of repayment at the time the loans were

purportedly made, which further confirms that the economic substance of the transactions was

that they were equity and not debt.

    PIA’s Counsel Colludes with Pandi Capital in Pandi Capital’s Lawsuit Against PIA

       507.    On May 3, 2013—just three days after Spencer Fane filed Pandi Capital’s 24-

count petition in Jackson County—PIA’s counsel McDowell Rice filed PIA’s Answer.

       508.    Pete Smith, on PIA’s behalf, did not assert as a defense that the contributions

were equity (as PIA’s books and the parties’ past practice reflected).

       509.    The next week, on May 10, 2013, Allen’s trial counsel wrote to McDowell Rice,

noting the serious ethical issues raised by Defendants’ pleadings in the Jackson County litigation.

       510.    In particular, Pandi Capital’s Petition listed McDowell Rice’s address as Pandi

Capital’s registered office, which suggested that McDowell Rice was representing both Plaintiff

Pandi Capital and Defendant PIA in the same case.




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       511.    Plaintiffs’ counsel went on to note that even if McDowell Rice was not actively

representing Pandi Capital, it had represented Pandi Capital, as well as Patterson and Illig

personally, regarding the same general matters, which raised its own ethical concerns.

       512.    On May 13, McDowell Rice responded and conceded that McDowell Rice

represents PIA “and its interests are clearly adverse” to Patterson, Illig, and Pandi Capital:

               Comment 7 to Rule 4–1.13 addresses a situation where
               representation of an organizational entity may be adverse to that
               of its constituents and indicates that the attorney should advise any
               constituent of the conflict, that the attorney cannot represent such
               constituent and that such person(s) may wish to obtain independent
               representation. In this situation, we are representing PIA Assets
               and its interests are clearly adverse to that of the constituents
               which are suing it and all of the constituents are aware of that
               adversity. At present, it is our understanding that Mr. Illig
               and Mr. Patterson are represented by separate counsel.
               Accordingly, there is no present concern related to Comment 7 to
               Rule 4-1.13.

(emphasis added.)

       513.    McDowell Rice’s Pete Smith went on to note that, because of the conflict

Plaintiffs raised, McDowell Rice would withdraw from the representation.

       514.    While Smith feigned that there was no actual conflict of interest necessitating the

withdrawal, PIA’s manager Randall Nay understood that there was: “[Nay to the PIA Board:]

Gentlemen – as you know Pete Smith’s firm has a conflict that cannot be waived and is unable to

represent PIA in this matter.”

       515.    Similarly, the lawyer who took over the PIA representation from McDowell Rice

determined the same: “Mr. Smith and his firm have now withdrawn from representation because

of a conflict and I have entered my appearance in the matter at your request.”

       516.    Remarkably, when PIA Board Member Randall Nay emailed the rest of the PIA

Board for authorization to hire the new lawyer (Bob Strauss), forwarding Strauss’s resume and


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retainer agreement, Nay cc’d McDowell Rice’s Pete Smith (the lawyer withdrawing for conflicts

reasons) and Spencer Fane’s Scott Goldstein (opposing counsel) on the authorization request.

       517.    What’s more, Strauss had already entered his appearance in the Jackson County

lawsuit before Nay’s email seeking authorization to hire Strauss, which means that PIA’s Board

of Managers was not making the litigation decisions on behalf of PIA.

       518.    Notably, despite PIA and Pandi Capital asserting the same claims and defenses

against one another in this case as they did in the Jackson County case, McDowell Rice

continues to represent PIA adverse to Pandi Capital without any explanation for how McDowell

Rice can do so given the acknowledged conflict of interest.

                           Illig and Patterson Cause PIA to Default on the
                        Bank Loans So They Can Purchase Allen’s Guaranties

       519.    As Evans noted in the Patterson-Goldstein Email Chain, and in the bank loan

spreadsheet she created, part of the conspirators’ plan was to get the banks with loans from PIA

and its subsidiaries to “go after” Allen’s guaranties in response to Allen’s lawsuit.

       520.    One such bank was Missouri Bank, which held a $5 million line of credit which

was scheduled to mature on June 28, 2013. Allen signed a 5% personal guaranty on the line of

credit. Illig and Patterson had personal guaranties for the other 95%.

       521.    Pete Smith notified Missouri Bank by letter dated April 30, 2013, of PIA’s

obligation to release / indemnify Allen, but then asked to meet with the bank, no doubt to deliver

in person the “script” Illig and TIFEC’s Virgillito had prepared for him to keep Allen on the

guaranty. On several occasions Allen also directly notified Missouri Bank and PIA of PIA’s

obligation to indemnify him.

       522.    As of mid-June 2013, the plan was for the guarantors to pay off the loan.




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       523.     On June 18, 2013, Missouri Bank’s Senior Vice President Nicole Garren emailed

the Missouri Bank Loan Committee seeking approval of two notes that would be used to pay off

the PIA Assets $5 million note. One note would be from Jim Allen in his capacity as a personal

guarantor of the PIA note for $250,000. The other note, to be guaranteed by Patterson and Illig,

would be to Pandi Capital for $4,750,000 at 4.5%.

       524.     Garren sent Loan Maturity notices to Allen, Illig and Patterson asking them to

repay the loan as guarantors.

       525.     On June 24, 2013, Garren met with Allen and his counsel and offered three

options for resolving the $5 million loan. Garren offered to release Allen from his guaranty if

Illig and Patterson would increase their guaranties from the current 47.5% to 50%. Garren also

offered to renew the loan on its current terms with Allen as a 5% guarantor. Alternatively, the

guarantors could pay off the loan.

       526.     Garren separately conveyed the same options to Illig, Evans and Goldstein.

       527.     Garren had understood from a conversation with Goldstein that Illig and Patterson

wanted to pay off the loan.

       528.     On June 25, 2013, Garren emailed Allen informing Allen that Missouri Bank

would have paperwork necessary for Allen to pay off his guaranty portion of the $5 million PIA

note to Missouri Bank. Allen had informed Garren at their meeting on June 24, 2013 that PIA

owed him a contractual duty to release, indemnify or hold him harmless on his guaranty.

       529.     Allen asked Garren via email if the Bank could renew the note from PIA using the

existing guaranties from Allen, Illig and Patterson. Garren responded that, “All paperwork has to

be redone anyway and we always have guaranties re-signed as well, so we will adjust paperwork

accordingly.”



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        530.   The Board of Managers of PIA met on June 26, 2013 to discuss the loan and

PIA’s duty to release or indemnify Allen on his guaranty. Patterson and Illig refused to increase

their guaranties from 47.5% to 50%, and so the managers decided to renew the loan on its

current terms with the company to indemnify Allen on terms acceptable to Allen.

        531.   On June 27, 2013, Allen emailed Brouk regarding the $5,000,000 loan from PIA

to Missouri Bank. He agreed to sign the new paperwork but he noted that PIA was not

authorized to send his signature to the bank until he received an acceptable indemnification

agreement:

                      “Please note for the record, that my signature as a
                      Guarantor is specifically conditioned upon receipt by my
                      counsel of an Indemnity and Hold Harmless Agreement
                      acceptable to me.

                       [The lawyers] will need to work that out.

                      Then, you can deliver [my signature] to [Missouri Bank]
                      when appropriate.”
(emphasis added).

        532.   Despite this express condition, Brouk delivered Allen’s guaranty to Missouri

Bank without providing the indemnity to Allen, and the loan was renewed on June 28, 2013.

Brouk did so because it was critical to Defendants’ scheme that Allen remain a guarantor on the

loan.

        533.   On August 1, 2013, Randy Nay (Patterson’s and Illig’s appointee to the PIA

Board) emailed Brouk, Allen, Pete Smith, Scott Goldstein and Bruce Strauss. Nay wrote that PIA

was insolvent and that the “legal issues” surrounding PIA continuing to accept money from

Pandi Capital “create a virtually impossible situation for the Board of Managers in its attempt to

operate the company as called for in the operating agreement.”




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       534.    Nay recommended that PIA not seek any additional funds from Pandi Capital for

thirty days to allow Allen, Illig and Patterson to hold settlement talks. Nay recommended that,

“Intensive negotiations should be undertaken for settlement. Settlement discussions should focus

on a simple plan that would provide some form of payment in exchange for full and complete

mutual releases from all claims. This would be no more than a 30-day process.”

       535.    Nay met with Allen to discuss his proposals. In that meeting, Nay re-iterated that

any further contributions from Pandi Capital should be temporarily stalled to give the parties a

chance to resolve the competing lawsuits, and that the banks would not seek to foreclose on the

underlying collateral within the 30-day negotiation period.

       536.    The Managers met on August 2, 2013, to discuss the proposal. Allen approved the

proposal because he believed negotiations would occur and, based in part on Nay’s past

experience as a banker, Allen trusted Nay’s representations that the banks would not move to

foreclose on the underlying collateral in the interim.

       537.    What Nay did not discuss in his email, in his meeting with Allen, or at the Board

of Manager’s meeting, was that he planned to take affirmative steps almost immediately to cause

defaults on loans to PIA and its subsidiaries. Allen therefore believes that Nay’s suggestion to

stop paying the banks pending good faith negotiations was simply a ruse to help Patterson and

Illig implement their scheme.

       538.    On August 15, 2013, Nay wrote a letter to Nicole Garren at Missouri Bank

informing Garren that PIA did not plan on making its next payment on the $5 million line of

credit. The letter was delivered by email.

       539.    As a result of the letter, Missouri Bank informed PIA by email that it expected

full repayment from the guarantors (Patterson, Illig, and Allen).



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       540.    On August 23, 2013, Goldstein informed Missouri Bank by email that Patterson

and Illig intended to “deal with their guaranty obligations.”

       541.    Allen also stood ready to satisfy his guaranty. But Missouri Bank cancelled a

scheduled meeting with Allen and began negotiating secretly with Pandi Capital, Pandi

Development, Illig and Patterson.

       542.    Missouri Bank did not inform Allen of these negotiations.

       543.    Missouri Bank agreed to make new loans to Pandi Capital and Pandi

Development to be guaranteed by Illig and Patterson personally which would entirely pay off the

two loans Missouri Bank had to PIA entities.

       544.    But it was curious that Patterson and Illig sought to pay off the entire loan balance

when the bank loan guaranties obligated them to only 95% of the loans.

       545.    Nevertheless, Pandi Capital and Pandi Development financed the 100% purchase

of the Missouri Bank loans to PIA with new Missouri Bank loans, personally guaranteed by

Patterson and Illig at 50% each. This was essentially the same deal Patterson and Illig rejected

just months before, the deal which would have released Allen from his guaranty. The only major

difference was that this deal did not release Allen.

       546.    Scott Goldstein prepared the “purchase” documents and insisted that Missouri

Bank include Allen’s personal guaranty with the sale.

       547.    On September 18, 2013, Pandi Capital, Pandi Development, Illig and Patterson

“jointly and severally” bought (allegedly) both loans (one, a line of credits) Missouri Bank had

made to the PIA entities.

       548.    The purpose of the purchase was to acquire Allen’s guaranty.




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       549.    Most, if not all of these negotiations, were conducted by the Defendants through

email and telephone calls.

       550.    But the Pandi entities, Illig, and Patterson purchased an expired guaranty. The

note to PIA in the line of credits from Missouri Bank was dated June 29, 2012. Allen’s guaranty,

which was allegedly purchased by the Pandi entities, Patterson, and Illig, specifically references

that Note dated June 29, 2012. However, the Note dated June 29, 2012 was paid off with the

proceeds of a new note dated June 28, 2013. Accordingly, Allen was asked to sign a new

guaranty on the 2013 Note which, as noted before, he did but that was subject to the express

condition that PIA provide him an indemnity agreement for the guaranty that was acceptable to

him and his counsel (which PIA never did). And in any case, Illig and Patterson did not

purchase the 2013 Note or Allen’s conditional 2013 guaranty.

       551.    Several months later, in keeping with Defendants’ original plan to “go after the

5% from Jim [Allen],” Patterson, Illig and Pandi Development (represented by Kirk May of the

German May law firm, and TIFEC’s Virgillito as their “authorized agent”) and Pandi Capital

(represented by Spencer Fane’s Scott Goldstein) purportedly foreclosed on Allen’s guaranty,

asserting (wrongly) that the foreclosure included Allen’s claims against Patterson and Illig.

       552.    This alleged foreclosure of Allen’s guaranties on the Missouri Bank loans and his

claims against PIA were the basis of Illig and Patterson’s Motion for Substitution as the Real

Party in Interest for Plaintiff James S. Allen, Jr. The motion argued that Patterson and Illig, as

the purchasers of Allen’s guaranties and claims, were the proper parties to prosecute Allen’s

claims for repayment of his debt and for indemnification under his 2010 Employment

Agreement.




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       553.    The motion asked the Court to allow Patterson, Illig, Pandi Development and

Pandi Capital to prosecute Allen’s claims against themselves. In doing so, Defendants ignored

their duty in the 2010 Employment Agreement to “fully and completely” release, indemnify, and

hold Allen harmless, and their intent was clear: to prevent Allen from enforcing his claims

against Defendants.

       554.    A similar scheme was repeated for other bank loans to PIA on which Allen was a

personal guarantor.    Illig and Patterson (in conjunction with the Pandi entities) negotiated

(through emails and telephone calls) with banks which held PIA loans that Allen had guaranteed,

to purchase the loans and Allen’s guaranties.

       555.    The intent of every alleged loan purchase was to allow Patterson and Illig to sue

Allen on his guaranties as a form of economic leverage. They took the millions of dollars’ worth

of guaranties Allen had made for the benefit of PIA, and leveraged them to pressure Allen into

forfeiting his claims against PIA.

       556.    For example, on September 25, 2013, Karen Virgillito emailed Spencer Fane

lawyer Kris Dekker regarding Illig and Patterson’s purchase of a loan to a PIA subsidiary from

Bank Midwest. Virgillito works for Illig at TIFEC (The Illig Family Enterprise Company), and

Dekker is a lawyer representing Bank Midwest at Spencer Fane, the same firm which represents

Pandi Capital. Pandi Capital was one of the alleged purchasers of the Bank Midwest loan. Ms.

Virgillito wrote, “Kris, I appreciate your efforts to move this thing along. I just spoke to Scott

[Goldstein, another lawyer at Spencer Fane who represents the Pandi entities] about how the

proposed structure would impact our ability to seek contribution from Jim Allen. I am still of the

opinion that BMW is tying our hands with the collateral structure.”




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        557.     On October 1, 2013, Ms. Virgillito followed up by email, noting that Illig would

not agree to the position Bank Midwest was taking with respect to collateral for the new loan to

pay off the old one, and that “Cliff and Neal as guarantors under the old notes must maintain

their legal rights to force contribution by their co-guarantor Jim Allen.” Ms. Virgillito explicitly

referenced Patterson’s and Illig’s own personal net worth (and potential value to both Spencer

Fane and Bank Midwest) as a reason to grant the new loan on Patterson and Illig’s terms: “The

new note will be approximately $12M. I cannot imagine that the nearly $2 billion of combined

net worth of Cliff and Neal is insufficient to give the bank some comfort on a $12M loan.”

        558.     In response, Bank Midwest agreed to fund the loan according to Patterson and

Illig’s terms.

        559.     Emails from these negotiations also make clear that Defendants expected (if not

hoped) that their efforts with respect to the loan guaranties would ruin Allen financially. For

example, in an October 28, 2013 email to Spencer Fane’s Kris Dekker, Ms. Virgillito wrote:

“Can we make it clear that if Jim Allen . . . files bankruptcy, it will not be an event of default

under the new loan? . . . Under paragraph 5, how would this apply if Jim Allen files bankruptcy

vs. Cliff or Neal? I hope you understand why this matters.”

        560.     Defendants repeated the same scheme with a well-secured Bank of Kansas City

(“BOKC”) loan to one of PIA’s subsidiaries, Loch Lloyd Country Club.

        561.     Like the Missouri Bank loans, Defendants refused, on the advice of Spencer Fane,

to release Allen from his guaranties on the loan after Allen resigned, even though the BOKC

loan officer told Allen the releases would be no problem.

        562.     On October 2, 2013, Brouk emailed Nay, Allen, Pete Smith, Scott Goldstein, and

Maureen Evans to report that BOKC was not putting its loan to Loch Lloyd Country Club in



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default despite the fact that PIA had informed BOKC that PIA would not make payments on the

loan.

        563.   Instead of putting the loan in default and making it available for purchase by

Pandi Capital, the Bank was exercising its right to be repaid from the cash receipts of Loch

Lloyd Country Club members which were deposited at the bank.

        564.   Brouk referred to BOKC’s right to the cash receipts as a “lockbox.” The cash

receipts from the member deposits were sufficient to make the payments due on the loan, and

BOKC had the right under the loan documents to service the debt from those deposits before the

funds were passed to PIA.

        565.   But Defendants’ plan required that BOKC put the loan into default so that

Defendants could purchase the loan plus Allen’s guaranty.

        566.   Accordingly, Brouk suggested that PIA close the BOKC lockbox, and set up an

entirely new account at a different bank to accept the payments. But to do so “the membership

would have to be informed about making payments to another lockbox and [the conspirators]

would also have to adjust the automatic credit card and ACH payments our members are

currently making through Bank of Kansas City.”

        567.   Goldstein responded to Brouk’s email and told him to proceed: “[P]lease do

whatever is necessary so the issues you describe in your e-mail do not occur in the future.”

        568.   Allen, a member and manager of PIA at the time, objected but Brouk obeyed

Goldstein, a lawyer representing Pandi Capital who at that time was suing PIA for over $100

million.

        569.   TIFEC’s Virgillito then arranged the purchase of the loan, informing BOKC that

“the names of the note purchasers [are] Clifford W. Illig; Neal L. Patterson; Pandi Development,



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LLC and Pandi Capital, LLC [who] will jointly purchase the existing BOKC notes.” Two

months later, Pandi Capital, Pandi Development, Patterson and Illig purchased the BOKC loan.

       570.    Spencer Fane, representing BOKC, drafted the loan documents despite the fact

that Pandi Capital (also represented by Spencer Fane) was a co-purchaser of the loan.

Defendants again financed their purchase of the loan with a new BOKC loan, with Patterson and

Illig as 50/50 guarantors.

                                  Pandi Capital’s Admissions

       571.    Pandi Capital, LLC, never filed a responsive pleading denying Plaintiffs’ First

Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and 55.33.

       572.    Therefore, pursuant to Mo. R. Civ. P. 55.09, Pandi Capital has admitted all

allegations in Plaintiffs’ First Amended Answer and Counterclaims.

       573.    Paragraph 194 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 195 in Plaintiff’s First Amended Answer and Counterclaims.

       574.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 195 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       575.    Paragraph 200 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 199 in Plaintiff’s First Amended Answer and Counterclaims.

       576.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 199 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       577.    Paragraph 332 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 226 in Plaintiff’s First Amended Answer and Counterclaims.



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       578.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 226 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       579.    Paragraph 435 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 284 in Plaintiff’s First Amended Answer and Counterclaims.

       580.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 284 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       581.    Paragraph 731 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 295 in Plaintiff’s First Amended Answer and Counterclaims.

       582.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 295 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       583.    Paragraph 732 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 296 in Plaintiff’s First Amended Answer and Counterclaims.

       584.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 296 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       585.    Paragraph 733 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 297 in Plaintiff’s First Amended Answer and Counterclaims.

       586.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 297 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.



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       587.    Paragraph 735 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 298 in Plaintiff’s First Amended Answer and Counterclaims.

       588.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 298 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       589.    Paragraph 736 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 299 in Plaintiff’s First Amended Answer and Counterclaims.

       590.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 299 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       591.    Paragraphs 737 in this Plaintiff’s Second Amended Answer and Counterclaims

were averred as paragraph 300 in Plaintiff’s First Amended Answer and Counterclaims.

       592.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 300 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       593.    Paragraph 739(d) in this Plaintiff’s Second Amended Answer and Counterclaims

were averred as paragraph 301(b) in Plaintiff’s First Amended Answer and Counterclaims.

       594.    Pandi Capital, LLC, never filed a responsive pleading denying paragraphs 301(b)

in Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       595.    Paragraphs 739(e) in this Plaintiff’s Second Amended Answer and Counterclaims

were averred as paragraphs 301(c) in Plaintiff’s First Amended Answer and Counterclaims.




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       596.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 301(c)

in Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       597.    Paragraphs 741 in this Plaintiff’s Second Amended Answer and Counterclaims

were averred as paragraph 303 in Plaintiff’s First Amended Answer and Counterclaims.

       598.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 303 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       599.    Paragraphs 742 in this Plaintiff’s Second Amended Answer and Counterclaims

were averred as paragraph 304 in Plaintiff’s First Amended Answer and Counterclaims.

       600.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 304 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       601.    Paragraphs 743 in this Plaintiff’s Second Amended Answer and Counterclaims

were averred as paragraph 305 in Plaintiff’s First Amended Answer and Counterclaims.

       602.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 305 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       603.    Paragraph 744 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 306 in Plaintiff’s First Amended Answer and Counterclaims.

       604.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 306 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.



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       605.    Paragraph 745 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 307 in Plaintiff’s First Amended Answer and Counterclaims.

       606.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 307 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       607.    Paragraph 746 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 308 in Plaintiff’s First Amended Answer and Counterclaims.

       608.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 308 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       609.    Paragraph 747 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 309 in Plaintiff’s First Amended Answer and Counterclaims.

       610.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 309 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       611.    Paragraph 748 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 233 in Plaintiff’s First Amended Answer and Counterclaims.

       612.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 233 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       613.    Paragraph 749 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 310 in Plaintiff’s First Amended Answer and Counterclaims.




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       614.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 345 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       615.    Paragraphs 750 in this Plaintiff’s Second Amended Answer and Counterclaims

were averred as paragraph 311 in Plaintiff’s First Amended Answer and Counterclaims.

       616.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 311 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       617.    Paragraph 751 in this Plaintiff’s Second Amended Answer and Counterclaims

were averred as paragraphs 312 in Plaintiff’s First Amended Answer and Counterclaims.

       618.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 312 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       619.    Paragraph 752 in this Plaintiff’s Second Amended Answer and Counterclaims

were averred as paragraph 313 in Plaintiff’s First Amended Answer and Counterclaims.

       620.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 313 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       621.    Paragraph 754 in this Plaintiff’s Second Amended Answer and Counterclaims

were averred as paragraph 315 in Plaintiff’s First Amended Answer and Counterclaims.

       622.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 315 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.



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       623.    Paragraph 755 in this Plaintiff’s Second Amended Answer and Counterclaims

were averred as paragraph 316 in Plaintiff’s First Amended Answer and Counterclaims.

       624.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 316 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       625.    Paragraph 756 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 317 in Plaintiff’s First Amended Answer and Counterclaims.

       626.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 317 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       627.    Paragraph 757 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 318 in Plaintiff’s First Amended Answer and Counterclaims.

       628.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 318 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       629.    Paragraph 759 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 319 in Plaintiff’s First Amended Answer and Counterclaims.

       630.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 319 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       631.    Paragraph 762 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 320 in Plaintiff’s First Amended Answer and Counterclaims.




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       632.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 320 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       633.    Paragraph 763 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 321 in Plaintiff’s First Amended Answer and Counterclaims.

       634.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 321 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       635.    Paragraph 765 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 322 in Plaintiff’s First Amended Answer and Counterclaims.

       636.    Pandi Capital, LLC, never filed a responsive pleading denying paragraphs 350-

352 in Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01

and 55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, those paragraph are admitted.

       637.    Paragraph 767 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 323 in Plaintiff’s First Amended Answer and Counterclaims.

       638.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 323 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       639.    Paragraph 767 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 323 in Plaintiff’s First Amended Answer and Counterclaims.

       640.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 323 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.



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       641.    Paragraph 768 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 324 in Plaintiff’s First Amended Answer and Counterclaims.

       642.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 324 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       643.    Paragraph 769 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 325 in Plaintiff’s First Amended Answer and Counterclaims.

       644.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 325 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       645.    Paragraph 771 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 326 in Plaintiff’s First Amended Answer and Counterclaims.

       646.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 326 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       647.    Paragraph 772 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 327 in Plaintiff’s First Amended Answer and Counterclaims.

       648.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 327 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       649.    Paragraph 773 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 328 in Plaintiff’s First Amended Answer and Counterclaims.




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       650.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 328 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       651.    Paragraph 774 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 329 in Plaintiff’s First Amended Answer and Counterclaims.

       652.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 329 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       653.    Paragraph 775 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 330 in Plaintiff’s First Amended Answer and Counterclaims.

       654.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 330 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       655.    Paragraph 776 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 331 in Plaintiff’s First Amended Answer and Counterclaims.

       656.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 331 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       657.    Paragraph 778 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 332 in Plaintiff’s First Amended Answer and Counterclaims.

       658.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 332 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.



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       659.    Paragraph 779 in this Plaintiff’s Second Amended Answer and Counterclaims

were averred as paragraph 333 in Plaintiff’s First Amended Answer and Counterclaims.

       660.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 333 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       661.    Paragraph 780 in this Plaintiff’s Second Amended Answer and Counterclaims

were averred as paragraph 334 in Plaintiff’s First Amended Answer and Counterclaims.

       662.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 334 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       663.    Paragraph 781 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 335 in Plaintiff’s First Amended Answer and Counterclaims.

       664.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 335 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       665.    Paragraph 785 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 336 in Plaintiff’s First Amended Answer and Counterclaims.

       666.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 336 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       667.    Paragraph 789 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 337 in Plaintiff’s First Amended Answer and Counterclaims.




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       668.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 337 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       669.    Paragraph 790 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 338 in Plaintiff’s First Amended Answer and Counterclaims.

       670.    Pandi Capital, LLC, never filed a responsive pleading denying paragraphs 350-

352 in Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01

and 55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, those paragraph are admitted.

       671.    Paragraph 791 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 339 in Plaintiff’s First Amended Answer and Counterclaims.

       672.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 339 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       673.    Paragraph 793 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 340 in Plaintiff’s First Amended Answer and Counterclaims.

       674.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 340 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       675.    Paragraph 794 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 341 in Plaintiff’s First Amended Answer and Counterclaims.

       676.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 341 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.



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       677.    Paragraph 805 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 342 in Plaintiff’s First Amended Answer and Counterclaims.

       678.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 342 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       679.    Paragraph 806 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 343 in Plaintiff’s First Amended Answer and Counterclaims.

       680.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 343 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, those paragraph are admitted.

       681.    Paragraph 807 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 344 in Plaintiff’s First Amended Answer and Counterclaims.

       682.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 344 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       683.    Paragraph 813 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 345 in Plaintiff’s First Amended Answer and Counterclaims.

       684.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 345 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       685.    Paragraph 815 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 347 in Plaintiff’s First Amended Answer and Counterclaims.




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       686.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 347 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       687.    Paragraph 817 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 348 in Plaintiff’s First Amended Answer and Counterclaims.

       688.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 348 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       689.    Paragraph 818 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 349 in Plaintiff’s First Amended Answer and Counterclaims.

       690.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 349 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       691.    Paragraph 819 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 350 in Plaintiff’s First Amended Answer and Counterclaims.

       692.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 350 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       693.    Paragraph 821 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 351 in Plaintiff’s First Amended Answer and Counterclaims.

       694.    Pandi Capital, LLC, never filed a responsive pleading denying paragraphs 350-

352 in Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01

and 55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.



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       695.    Paragraph 822 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 352 in Plaintiff’s First Amended Answer and Counterclaims.

       696.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 352 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       697.    Paragraph 832 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 200 in Plaintiff’s First Amended Answer and Counterclaims.

       698.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 200 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       699.    Paragraph 835 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 202 in Plaintiff’s First Amended Answer and Counterclaims.

       700.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 202 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       701.    Paragraph 836 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraphs 203 in Plaintiff’s First Amended Answer and Counterclaims.

       702.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 203 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       703.    Paragraph 838 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 204 in Plaintiff’s First Amended Answer and Counterclaims.




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       704.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 204 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       705.    Paragraph 839 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 205 in Plaintiff’s First Amended Answer and Counterclaims.

       706.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 205 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       707.    Paragraph 840 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 206 in Plaintiff’s First Amended Answer and Counterclaims.

       708.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 206 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       709.    Paragraph 841 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 207 in Plaintiff’s First Amended Answer and Counterclaims.

       710.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 207 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       711.    Paragraph 843 in this Plaintiff’s Second Amended Answer and Counterclaims

were averred as paragraphs 208 in Plaintiff’s First Amended Answer and Counterclaims.

       712.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 208 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.



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       713.    Paragraph 844 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraphs 209 in Plaintiff’s First Amended Answer and Counterclaims.

       714.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 209 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       715.    Paragraph 845 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraphs 210 in Plaintiff’s First Amended Answer and Counterclaims.

       716.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 210 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       717.    Paragraph 848 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 211in Plaintiff’s First Amended Answer and Counterclaims.

       718.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 211 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       719.    Paragraph 850 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 212 in Plaintiff’s First Amended Answer and Counterclaims.

       720.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 212 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       721.    Paragraph 851 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 213 in Plaintiff’s First Amended Answer and Counterclaims.




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       722.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 213 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       723.    Paragraph 852 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraph 214 in Plaintiff’s First Amended Answer and Counterclaims.

       724.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 214 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       725.    Paragraph 853 in this Plaintiff’s Second Amended Answer and Counterclaims

was averred as paragraphs 215 in Plaintiff’s First Amended Answer and Counterclaims.

       726.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 215 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

       727.    Paragraph 855 in this Plaintiff’s Second Amended Answer and Counterclaims

were averred as paragraphs 216 in Plaintiff’s First Amended Answer and Counterclaims.

       728.    Pandi Capital, LLC, never filed a responsive pleading denying paragraph 216 in

Plaintiffs’ First Amended Answer and Counterclaims as required by Mo. R. Civ. P. 55.01 and

55.33. Therefore, pursuant to Mo. R. Civ. P. 55.09, it is admitted.

           COUNT I -- BREACH OF THE IMPLIED DUTY OF GOOD FAITH
                                     AND FAIR DEALING
   (Allen v. Patterson, Illig, Pandi Development, Pandi Capital, PIA Assets, FiveStar, RP
                                            Golf)

       729.    Allen incorporates herein by reference the statements and allegations contained in

the paragraphs above as though more fully and completely set forth herein.




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       730.    The 2006 Employment Agreement, 2010 Employment Agreement, and PIA

Operating Agreement are valid and enforceable contracts at the times relevant here.

       731.    Entering into the operating agreement with Pandi Development, Patterson and

Illig, and based upon the intertwined relationship of the parties including their corporate

positions and ownership as well as their course of dealing, among other things, required that:

                 a. Pandi, Patterson, and Illig, would act with good faith and fairness toward

                     Allen on all matters concerning corporate affairs.

                 b. Neither Pandi, Patterson nor Illig would take any action to unfairly prevent

                     Allen from obtaining the benefits of his corporate position, his

                     compensation, his employment agreement, or his rights under the Operating

                     Agreement.

                 c. Pandi, Patterson and Illig would comply with their own rules, policies and

                     procedures with respect to providing and making financial information

                     available to Allen and consulting with him on corporate matters.

       732.    Pandi, Patterson or Illig’s conduct as set forth above was conducted in bad faith

and done with the purpose and intention of avoiding or diminishing payments owed to Allen for

compensation and the value of his shares in PIA and to impair indemnity and hold harmless

obligations owed to Allen.

       733.    Pandi, Patterson and/or Illig breached the covenant of good faith and fair dealing

in one or more of the respects set forth herein:

                 a. Pandi, Patterson or Illig purposefully and wrongfully failed and refused to

                     pay Allen for the sums due him under the terms of the employment

                     agreement;



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                  b. Pandi, Patterson or Illig unilaterally and in direct violation of the operating

                     agreement made unauthorized corporate decisions to the detriment of Allen,

                     and PIA.

                  c. Pandi, Patterson or Illig unilaterally and in direct violation of the operating

                     agreement re-characterized their equity contributions as debt and imposed

                     unreasonable repayment terms and conditions;

                  d. Pandi, Patterson or Illig did the other wrongful acts described herein.

      734.   In addition, Defendants breached the covenant of good faith and fair dealing in

one or more of the following ways:

             a.        Defendants purposefully and wrongfully failed and refused to pay Allen

                       for the sums due him under the terms of the 2006 and 2010 employment

                       agreements, including repayment of the amounts he and his wife loaned

                       the company, full payment of his compensation (including but not limited

                       to the purchase payment amount, his full salary, bonuses and benefits);

             b.        Defendants made unauthorized corporate decisions to the detriment of

                       Allen, and PIA that contravened the spirit of the PIA Operating

                       Agreement and the employment agreements;

             c.        Defendants demanded that Allen make additional capital contributions to

                       the company;

             d.        Defendants without Allen’s consent, nixed a townhome project which was

                       to generate a significant portion of the bonuses under Allen’s modified

                       employment agreement. Allen has never received any of the bonuses

                       provided for in the revised employment agreement;



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               e.      Defendants unilaterally and without Allen’s consent changed the operating

                       agreements of PIA subsidiaries to permit them to increase the

                       indebtedness, and encumber the assets of PIA and its subsidiaries without

                       Allen’s consent;

               f.      Defendants without Allen’s consent incurred indebtedness of PIA and its

                       subsidiaries;

               g.      Defendants have falsely claimed that PIA is insolvent, even though PIA is

                       current with all of its creditors except Allen and the bank loans and other

                       debts Defendants purposefully caused PIA to default on as part of their

                       fraudulent scheme; and

               h.      Defendants did the other wrongful acts described herein.

       735.    Such breaches were performed by Pandi, Patterson or Illig to exploit economic

conditions to their own benefit, and to intentionally undermine the fulfillment of PIA’s and

FiveStar’s contractual obligations to Allen.

       736.    Pandi, Patterson or Illig’s breach of the covenant of good faith and fair dealing

was a substantial factor in causing damage and injury to Allen.

       737.    As a direct and proximate result of Pandi, Patterson or Illig’s unlawful conduct

alleged in this Petition, Allen has lost substantial compensation and other benefits. Allen has

further suffered extreme anguish and emotional distress due to such conduct in an amount to be

determined at trial.

       738.    Defendants’ breach of the covenant of good faith and fair dealing directly and

proximately caused damage to Allen, including lost compensation, Defendants’ refusal to pay the




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amounts due under Allen’s Note, diminution in the value of his ownership and other interests in

PIA, extreme anguish and emotional distress

          739.   Because of the irreparable harm that would result from Defendants collecting on

the purported “Notes” and “Loans” and/or from a judgment characterizing the equity

contributions as debt, Allen prays for an injunction from this Court:

                  a. Declaring all of the Pandi Notes void and unenforceable;

                  b. Declaring all of the purported loans Defendants made to PIA and PIA’s

                      subsidiaries without Allen’s consent to be void and unenforceable;

                  c. Enjoining further purported “loans” without Allen’s consent to PIA or any

                      of its subsidiaries;

                  d. Commanding the managers of PIA to satisfy PIA’s debts with

                      unencumbered assets, as required by PIA’s Operating Agreement;

                  e. Enjoining the managers of PIA and Pandi from characterizing future

                      contributions from Defendants as third party debt.

          WHEREFORE, Allen prays for a declaratory judgment that all purported “loans,”

promissory notes, or other indebtedness purportedly incurred by PIA or its subsidiaries without

Allen’s express written consent are void and unenforceable; a judgment in an amount to be

determined at trial, for his costs incurred herein; for pre-judgment and post-judgment interest; for

punitive damages in such an amount that is fair and reasonable; for an injunction as described

above, and for such other and further legal and equitable relief as the Court deems just and

proper.




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      COUNT II – VIOLATION OF MISSOURI FRAUDULENT TRANSFER ACT
  (Jim and Nancy Allen v. Illig, Patterson, Pandi Development, and Pandi Capital, LLC)

       740.     Allen incorporates herein by reference the statements and allegations contained in

the paragraphs above as though more fully and completely set forth herein.

       741.     As described above, the Allens took steps to collect loans made to PIA and

asserted Jim Allen’s right to certain contractual obligations owed by PIA, FiveStar and PIA’s

subsidiaries.

       742.     In anticipation of and response to Allen’s suit and demand, Patterson and Illig

through Pandi Development began taking the actions described in more detail above, including

appointing new managers, calling for meetings, claiming that PIA was in financial crisis,

demanding large capital contributions from Allen, refusing to continue making contributions to

PIA through Pandi Capital as they had for years before Allen made his demands unless Allen

abandoned his demands, and filing their counterclaims in this lawsuit.

       743.     Patterson and Illig’s pursuit of their counterclaims through Pandi Capital to

recharacterize equity contributions as debt is an attempt to hinder, delay or defraud creditors of

PIA, including the Allens.

       744.     Patterson and Illig made the alleged “loans” and “notes” from one company they

owned, Pandi Capital, to another company they controlled, PIA Assets.

       745.     Patterson and Illig made the alleged “loans” and “notes” in anticipation of a

substantial long-term gain, as the prospects of short-term repayment at substantial interest on

unsecured notes from PIA was low.

       746.     Pandi received inadequate consideration for the purported “Loans” or “Notes,” in

that it would have had no reasonable expectation of repayment given short maturity terms of the

alleged loans combined with the large principal amounts, high interest rates.


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        747.    The “Notes” were not made in the usual method of transacting business, in that

the “Notes” and “Loans” were made without the approval of the members of PIA as required by

the Operating Agreement, and no copies of the “Notes” were provided to PIA.

        748.    Allen did not contemporaneously receive copies of the Notes on which Pandi

Capital’s claims are based, and no Members or Managers meetings of PIA Assets were held to

discuss or ratify any notes from Patterson, Illig, Pandi Development, or Pandi Capital.

        749.    Pandi has begun demanding security on its alleged loans.

        750.    The amount of the “Loans” and “Notes” is such that demanding repayment from

PIA is in effect a transfer of all or nearly all of PIA’s property.

        751.    Repayment of the “Loans” and “Notes” would cause PIA’s insolvency.

        752.    The circumstances surrounding the execution and delivery of the “Notes” and

“loans” are suspicious as described above, in that the amounts claimed do not match the amounts

on PIA’s books, PIA did not have copies of the “Notes” or “Loans,” and several of the Notes

reflected a debt owed to a Pandi Capital before Pandi Capital existed.

        WHEREFORE, the Allens pray for judgment in an amount to be determined at trial, for

their costs incurred herein; for pre-judgment and post-judgment interest; for punitive damages in

such an amount that is fair and reasonable; for an injunction, and for such other and further legal

and equitable relief as the Court deems just and proper.

                     COUNT III – DECLARATORY JUDGMENT
    (Jim and Nancy Allen v. PIA, Illig, Patterson, Pandi Development, LLC and PANDI
                                       Capital, LLC)

        753.    The Allens incorporate herein by reference the statements and allegations

contained in the paragraphs above as though more fully and completely set forth herein.




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       754.    A justiciable controversy regarding the characterization of contributions made by

Illig and Patterson through Pandi Capital exists in that Pandi Capital’s counterclaims for breach

of contract are based on “Notes” described in Pandi Capital’s counterclaims.

       755.    For the reasons described above, the contributions made by Patterson and Illig

through Pandi Capital were not contractual obligations owed by PIA to Pandi Capital, but were

equity contributions made by Illig and Patterson that have been re-characterized as loans in order

to re-prioritize repayment.

       756.    If Patterson and Illig through Pandi Capital are successful through their lawsuit in

converting their equity contributions into debts, PIA and its subsidiaries will be perpetually

insolvent, rendering it unable to repay debts or satisfy its contractual duties to actual creditors

like the Allens.

       757.    The disposition of Illig and Patterson’s claims in this suit will impair or impede

Allen’s ability to protect both his interest as a Member of PIA in protecting PIA’s financial

solvency, and Jim and Nancy Allens’ personal interests in protecting the priority of their loans

made in 2006 over Illig and Patterson’s equity contributions made from 2009-13,

       758.    The disposition of Illig and Patterson’s claims in this suit will impair or impede

Allen’s personal interests in the rights and obligations to which he is entitled under the 2006 and

2010 employment agreements.

       759.    Allen therefore asks this Court for a declaration that the “Notes” described in

Pandi Capital’s counterclaims were in fact equity contributions to PIA Assets.

       760.    The Allens therefore ask this Court for a declaration that:




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                   a. The “Notes” described in Pandi Capital’s counterclaims were in fact equity

                       contributions to PIA Assets, the repayment of which does not take priority

                       over the funds PIA owes the Allens; and

                   b. All purported “loans” or other indebtedness to PIA and its subsidiaries that

                       did not receive unanimous consent by both Allen and Pandi Development as

                       required by the PIA Operating Agreement are void and unenforceable.

          WHEREFORE, the Allens pray for a declaration of rights as described above, for their

costs and fees incurred herein; and further legal and equitable relief as the Court deems just and

proper.

                        COUNT IV—FRAUDULENT INDUCEMENT
            (Jim Allen v. Patterson, Illig, and Pandi Capital and Pandi Development)

          Plaintiff incorporates herein by reference the statements and allegations contained in the

paragraphs above as though more fully and completely set forth herein.

          761.   At the end of 2008 and into 2010, Patterson, Illig and Allen discussed additional

capital contributions into PIA.

          762.   Patterson and Illig were willing to make additional equity contributions but did

not want to do so unless Allen made some type of contribution to PIA as well. Patterson and

Illig requested that Allen, in lieu of capital contributions, modify his employment agreement

with PIA, including taking a reduction in salary and other benefits.

          763.   Based upon Patterson and Illig’s representations that they would make additional

capital contributions to PIA if Allen modified his employment agreement thereby reducing his

salary and providing additional capital to PIA, Allen agreed to modify his employment

agreement. The parties negotiated a revised employment agreement that contained the following

material terms:     (a) reduction of Allen’s annual salary; (b) an incentive provision; (c) car

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allowance; (d) a note for the aforementioned loans from Jim and Nancy Allen under terms

satisfactory to Allen; and (e) release, indemnification and hold harmless on guaranties relating to

debts of PIA Assets or its subsidiaries.

         764.    It also dispensed with the multi-million dollar “Purchase Payment” provision of

the 2006 employment agreement.

         765.    The parties negotiated the terms of the revised agreement and finally reached

agreement in principle. Acceptance of the revised employment agreement was conditioned upon

“(a) execution and delivery by all the parties, and (b) the execution and delivery of a note in form

and substance satisfactory to” Allen.

         766.    Patterson and Illig’s representations that they would make additional equity

contributions into the company and that they had a long term commitment to Allen and PIA were

false when made because Patterson and Illig were secretly scheming to “eliminate” Allen and

design and implement their “firewall” strategy that would allow them to breach obligations to

Allen with impunity.      Because they were actively engaged in this plan to deceive Allen,

Patterson and Illig knew that their representations to Allen were false or, at the very least, they

were reckless.

         767.    PIA has never signed the revised agreement nor delivered a Note acceptable to

Allen.

         768.    Unbeknownst to Allen, Illig directed that a note for Allen’s debt not be delivered

to Allen.

         769.    Shortly after the parties agreed to the revised agreement in principle, and before

any signatures of the parties, Allen began receiving a reduced salary.




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       770.    At the time the parties were negotiating the agreement, when they reached an

agreement in principle, and at execution of the agreement, Allen was unaware that in concert

with Heineman and PIA’s counsel Pete Smith, Patterson and Illig had designed a “firewall” to

allow them in part to prevent Allen from receiving any of the benefits of his new employment

agreement, or any other contractual right he had in connection with PIA. Allen did not learn any

of this information until discovery in this case, and could not have learned of any of this

information through the exercise of reasonable diligence.

       771.    Additionally, Patterson and Illig, without consent or discussion with Allen, nixed

a townhome project which was to generate a significant portion of the bonuses under Allen’s

modified employment agreement. Allen has never received any of the bonuses provided for in

the revised employment agreement.

       772.    Allen also never received any drafts of a note as was contemplated by the

modified employment agreement.

       773.    In March 2012, believing that PIA had never accepted the 2010 Agreement

because he had never received a signed copy or the agreement or a draft promissory note, let

alone a note acceptable to Allen, Allen made a demand upon PIA for the repayment of his loans

in accordance with PIA’s financial records. In response, Allen was presented with a “Note”

signed by Illig that indicated the loans were due on January 1, 2013. Allen had never seen this

note before, let alone approved the note given the various problems, including that it was for the

incorrect loan amount.

       774.    Illig had previously directed that the Note not be delivered to Allen.




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       775.    The Allens’ loans have not been repaid and the debt to the Allens is not currently

reflected in any of PIA’s financial plans. Accordingly, it appears that Patterson and Illig have no

intention to ever repay the Allens.

       776.    It further appears that Patterson and Illig through Pandi Development induced

Allen into taking a reduced salary without ever intending to honor the other provisions of the

agreement.

       777.    It also appears that Patterson and Illig induced Allen into taking a reduced salary

without ever intending to honor their promise to contribute equity into the company or honor

various provisions of the agreement.

       778.    Additionally, at the direction of Patterson and Illig, and in furtherance of their

plan to drive Allen from PIA, Patterson and Illig through Pandi Development and Pandi Capital

also have attempted to recharacterize their “capital contributions” as debt suggesting that their

stated reasons for wanting Allen to take a reduction in salary were pretextual.

       779.    Patterson and Illig’s failure to disclose that they did not consider their capital

contributions as such, and rather considered them as loans which would take priority above other

payments was willful misconduct or was made with reckless indifference to the rights of Allen

and was done with the intent to induce Allen to enter into a modified employment agreement.

       780.    Allen did not have any independent knowledge of Patterson and Illig’s

misrepresentations or intent to defraud him at the time.

       781.    In entering into the modified employment agreement, which increased cash flow

to PIA without any ability by Allen to benefit from that increased cash flow, Patterson and Illig

intended Allen to rely on their representations.




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       782.    At the time Allen signed the 2010 Employment Agreement, he was relying on

Patterson’s and Illig’s false representations (including those representations made through

Heineman) that they would contribute equity into the company if Allen signed the new

agreement and that they had a long term commitment to PIA.

       783.    Allen justifiably relied on Patterson and Illig’s false representations in part

because Patterson and Illig’s past contributions had been equity contributions, PIA’s books

recognized their past contributions as equity contributions, Patterson himself frequently referred

to his past and future equity contributions, Allen knew that his consent was required for PIA to

take on additional debt (which he never gave), Patterson and Illig (nor any of their agents or

surrogates) never disavowed or corrected their past representations, and Allen had no reason to

believe that Patterson’s and Illig’s representations were otherwise false.

       784.    Allen never would have agreed to modify the terms of his original employment

agreement, including a reduced salary in order to provide PIA more working capital and

relinquishment of a $6,000,000 buyout provision if he had known at the time that Patterson and

Illig: (1) had no intention of keeping Allen as the operational head of PIA for the long term; (2)

had no intention of contributing future equity into the company; (3) had no intention of honoring

the terms of the modified employment agreement; (4) intended to reclassify their past equity

contributions as debt in an attempt to defraud the Allens out of money they loaned to the

company; (5) were attempting to “eliminate” him from the company without paying him and

without honoring PIA’s contractual obligations to him; and/or (6) were in the process of erecting

a “firewall” around their assets so that they could breach their obligations to Allen with

impunity.




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          785.   Allen never would have agreed to modify the terms of his original employment

agreement, including to a reduced salary in order to provide PIA with more working capital if he

had known at the time that Patterson and Illig had no intention of honoring the terms of the

modified agreement and intended to reclassify their capital contributions as third-party debt to

defraud the Allens out of money they loaned to the company and to decrease the value of Allen’s

shares.

          786.   Moreover, this information was clearly material to Allen’s decision to enter into

the 2010 employment agreement and Allen could not have discovered this information by the

exercise of reasonable diligence. Defendants therefore had a duty to disclose this information to

Allen, particularly in light of Defendants’ express representations and past conduct intended to

make Allen believe, and which Allen reasonably did believe, that Patterson and Illig: (1) were

making a long term commitment to PIA and planning to keep Allen as operational head of the

company; (2) would continue to make equity contributions to the company; (3) would honor the

provisions of the 2010 Employment Agreement, if Allen agreed to the new agreement. This

information was therefore required to be disclosed to make prior representations from being

misleading and/or outright false.

          787.   Defendants also had a duty to disclose this information to Allen in light of

Defendants’ 86.5% ownership interest in PIA compared to Allen’s 13.5% ownership interest,

and Patterson’s and Illig’s roles as managers of PIA, which created a fiduciary duty from

Defendants to Allen, or a similar relation of trust and confidence between them.

          788.   Defendants also had a duty to disclose this information to Allen because they

knew he was entering into the 2010 Employment Agreement without this information,

mistakenly believing that the purpose of the 2010 Employment Agreement was for shared



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sacrifice, that Patterson and Illig had a long term commitment to PIA and with Allen as head of

operations, and that Patterson and Illig would continue to contribute equity into the company if

he agreed to the new arrangement. Under the circumstances as alleged above, the parties’ prior

dealings, the relationship between them, and common decency (among other things), Allen

reasonably expected, and Defendants knew that one would reasonably expect, a disclosure of

these facts.

        789.    As a result of these fraudulent inducements, Allen gave up rights and benefits

granted to him by his original agreement, including but not limited to a higher base salary and a

six million dollar buyout provision of his Class A interest.

        WHEREFORE, Plaintiff prays for judgment against Defendants Pandi Capital, Pandi

Development, Patterson and Illig, jointly and severally, in an amount to be determined at trial for

fraudulent inducement through misrepresentations and omissions, including for their willful

misconduct, for his costs and expenses incurred herein, for punitive damages in such an amount

that is fair and reasonable, for pre-judgement and post-judgment interest, and for such other and

further relief as the Court may deem just and equitable.

                          COUNT V—BREACH OF CONTRACT
          (Allen v. PIA, FiveStar, RP Golf, Pandi Capital and Pandi Development)

        Plaintiff incorporates herein by reference the statements and allegations contained in the

paragraphs above as though more fully and completely set forth herein.

        790.   At the end of 2009, Patterson, Illig and Allen discussed additional capital

contributions into PIA. Patterson and Illig were willing to make additional equity contributions

but did not want to do so unless Allen made some type of contribution to PIA as well. Patterson

and Illig requested that Allen, in lieu of capital contributions, modify his employment agreement

with PIA, including taking a reduction in salary and other benefits.

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          791.   Based upon Patterson and Illig’s representations that they would make additional

capital contributions to PIA if Allen modified his employment agreement thereby reducing his

salary and providing additional capital to PIA, Allen agreed to modify his employment

agreement. The parties began to negotiate a revised employment agreement that contained the

following material terms: (a) reduction of his annual salary; (b) an incentive provision; (c) car

allowance; (d) a note for the Allens’ aforementioned loans; and (e) release, indemnification and

hold harmless on guaranties relating to debts of PIA Assets or its subsidiaries.

          792.   Per Section 1.4(h) of Allen’s 2010 Employment Agreement, FiveStar and “the

other PIA Companies” were obligated to, at a minimum, “fully and completely indemnify and

hold [Allen] harmless” with respect to “all liabilities, costs, obligations or guaranties of any

nature directly or indirectly associated with the PIA Companies or any of the PIA Companies’

operations.”

          793.   Per the revised agreement, within one year of Allen’s resignation from his

employment, FiveStar and “the other PIA Companies” were obligated to obtain releases on

personal guaranties Allen had signed on debt obligations of PIA, FiveStar, and other subsidiaries

of PIA.

          794.   If releases were not immediately obtained, FiveStar and the other PIA Companies

were obligated to indemnify and hold Allen harmless.

          795.   Per Section 2.12 of Allen’s 2010 Employment Agreement, the PIA Companies

guaranteed performance of all of the terms of Allen’s 2010 Employment Agreement:

                 2.12 Guaranty. PIA Assets, on behalf of itself and each of the other
                 PIA Companies, unconditionally and irrevocably guarantees, as
                 primary obligor and not merely as surety, to Employee the due and
                 punctual performance, observance and discharge of each term,
                 provision, duty, covenant and agreement of Five Star and Double
                 Eagle contained in, and the due and punctual payment (when and


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               as the same may become due and payable) of each amount which
               Five Star or Double Eagle is or may become obligated to pay
               pursuant to this Agreement. PIA Assets, on behalf of itself and
               each of the other PIA Companies, hereby waives promptness,
               diligence and notice as to the obligations and covenants contained
               herein, and waive any other circumstance which might otherwise
               constitute a legal or equitable discharge release or defense of a
               guarantor or surety, or that might otherwise limit the obligations of
               PIA Assets and the other PIA Companies under this Agreement.
               PIA Asset’s [sic] and the other PIA Companies’ guaranties
               hereunder are a guaranties of payment, performance and
               compliance and not of collection, and PIA Assets and the other
               PIA Companies waive any right to require that any action be
               brought against Five Star.

       796.    “PIA Companies” as defined in Allen’s 2010 Employment Agreement includes

“PIA Assets or any of its subsidiaries or affiliates.”

       797.    The word “affiliates” is not defined in Allen’s 2010 Employment Agreement.

       798.    The word “affiliate” is defined in PIA’s Operating Agreement, to which both

Allen and Pandi Development are parties. Section 1.10(b) of the Operating Agreement states:

               (b) “Affiliate” means, with respect to any Person, any Person
               directly or indirectly controlling, controlled by or under common
               control with such Person. For purposes of this paragraph (b), the
               terms “control,” “controlled” or “controlling” shall include,
               without limitation (i) the ownership, control or power to vote ten
               percent (10%) or more of (A) the outstanding shares of any class of
               voting securities, or (B) the partnership, limited liability company
               or beneficial interest of any Person, directly or indirectly, or acting
               through one or more Persons, (ii) the control in any manner over
               the general partner(s) or manager(s) or the electing of more than
               one director or trustee (or persons exercising similar functions) of
               such Person, or (iii) the power to exercise, directly or indirectly,
               control over the management or policies of such Person.

       799.    “Person” is defined in PIA’s Operating Agreement as “any individual,

partnership, corporation, trust, limited liability company, or other entity.”

       800.    Under this definition, at a minimum, Pandi Capital, Pandi Development, FiveStar,

PIA Assets and their subsidiaries are all “affiliates.”


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       801.    At a minimum, Pandi Capital, Pandi Development, FiveStar, PIA Assets, and

their subsidiaries are all “PIA Companies” as defined in Allen’s 2010 Employment Agreement.

       802.    As “PIA Companies,” Pandi Capital, Pandi Development, FiveStar, and PIA

Assets have all guaranteed performance of the promises in Allen’s 2010 Employment

Agreement.

       803.    As “PIA Companies,” Pandi Capital, Pandi Development, FiveStar, and PIA

Assets are bound by the promise in Allen’s 2010 Employment Agreement to fully and

completely release, indemnify, and hold Allen harmless.

       804.    Pandi Development, Pandi Capital, Illig, and Patterson, to the extent they are alter

egos of PIA, FiveStar, and the other PIA Companies, have an affirmative obligation to release,

indemnify and hold Allen harmless on those guaranties.

       805.    Releases were not obtained on the conditional guaranties Allen signed on PIA

loans from Missouri Bank.

       806.    If those guaranties were or are effective, FiveStar and the PIA Companies had an

obligation to indemnify or hold Allen harmless with respect to those loans.

       807.    Allen has not received any indemnification or hold harmless agreement from

FiveStar or any of the PIA Companies.

       808.    Pandi, Illig and Patterson, to the extent they are alter egos of PIA, FiveStar and

the PIA Companies, have an affirmative obligation to release, indemnify and hold Allen

harmless on those guaranties.

       809.    PIA, FiveStar, Pandi Development, and Pandi Capital failed to fully and

completely indemnify Allen on the guaranties Allen signed for the loans from Missouri Bank,

and the loans described in Pandi Development’s Counterclaims III-IX.



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       810.    PIA, FiveStar, Pandi Development, and Pandi Capital failed to fully and

completely hold Allen harmless on the guaranties Allen signed for the loans from Missouri

Bank, and the loans described in Pandi Development’s Counterclaims III-IX.

       811.    PIA, FiveStar, Pandi Development, and Pandi Capital failed to secure releases for

Allen on the guaranties Allen signed for the loans from Missouri Bank, and the loans described

in Pandi Development’s Counterclaims III-IX.

       812.    Allen has not been indemnified nor held harmless by any of the PIA Companies

for the loans from Missouri Bank, and the loans described in Pandi Development’s

Counterclaims III-IX.

       813.    After causing PIA to default on the loans from Missouri Bank, Pandi, Illig and

Patterson now claim to have purchased the Missouri Bank loans and are attempting to enforce

Allen’s guaranties.

       814.    After causing PIA to default on the loans described in Pandi Development’s

Counterclaims III-IX, Patterson, Illig, Pandi Development, and Pandi Capital now claim to have

purchased the loans and are seeking to enforce Allen’s guaranties.

       815.    Defendants now seek to insulate themselves from liability for the wrongful acts

described above, from their obligation to repay Allen’s loans, and from their obligations to

indemnify, hold harmless and/or release Allen from the very guaranties Defendants now seek to

enforce through a purported foreclosure “sale” of Allen’s claims against PIA.

       816.    Defendants have also breached the 2010 Employment Agreement in other ways,

including failure to pay him the compensation and benefits he is owed under Section 1.3 of the

Agreement, and failure to pay the Allen Note.




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       817.    Defendants have breached their duty to release and/or indemnify and hold Allen

harmless on not only the loans from Missouri Bank, but also several other loans third parties

made to PIA, FiveStar, and the PIA Companies.

       818.    As a result, Allen has been damaged.

WHEREFORE, Plaintiff prays for judgment against Defendants jointly and severally in an

amount to be determined at trial for breach of Plaintiff’s employment agreement, including for

their willful misconduct and intentional breach of Plaintiff’s employment agreement, for pre-

judgment and post-judgment interest, for his costs and expenses incurred herein, and for such

other and further relief as the Court may deem just and equitable.

                          COUNT VI—CIVIL CONSPIRACY
      (Jim and Nancy Allen v. PIA, FiveStar, Patterson, Illig, Pandi Capital and Pandi
                                      Development)

       Plaintiffs incorporate herein by reference the statements and allegations contained in the

paragraphs above as though more fully and completely set forth herein.

       819.    As described above, Patterson and Illig together and through PIA, FiveStar, Pandi

Capital and Pandi Development had an agreement and meeting of the minds to defraud Jim Allen

out of the benefits of his employment contract, to defraud and prevent Jim and Nancy Allen from

being repaid on their loan, and to insulate themselves from liability.

       820.    As described above, Patterson and Illig together and through PIA, FiveStar, Pandi

Capital and Pandi Development had an agreement and meeting of the minds to deny Jim Allen

the benefits and rights of his 2006 and 2010 Employment Agreements and the PIA Operating

Agreement.

       821.    Patterson and Illig together and through PIA, FiveStar, Pandi Capital and Pandi

Development took the affirmative steps described above in furtherance of their conspiracy.



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       822.    Defendants’ conspiracy and the actions taken in furtherance of that conspiracy

have damaged Plaintiffs by delaying and frustrating repayment of their loan and defrauding Jim

Allen out of the benefit of his employment contract.

       823.    Defendants’ conspiracy and the actions taken in furtherance of that conspiracy

have damaged Plaintiffs by fraudulently inducing him into giving up the $6 million purchase

payment (or doing so through negligent misrepresentations), delaying and frustrating repayment

of their loan, denying Jim Allen the benefit of his employment contracts and the PIA Operating

Agreement, and causing mental pain and suffering.

       824.    Patterson and Illig, together and through PIA, FiveStar, Pandi Capital and Pandi

Development, had an agreement and meeting of the minds to avoid repaying Jim Allen on

Allen’s Note, to induce Jim Allen into the 2010 Employment Agreement in order to eliminate the

$6 million purchase payment, reduce his salary and deprive him of other contractual rights under

the 2006 employment agreement, to keep Jim Allen as a guarantor on the bank loans to PIA and

its subsidiaries, and to default on the bank loans so that Patterson, Illig, Pandi Capital, and Pandi

Development could purchase the bank notes and sue Allen for payment under the bank notes, to

re-characterize their equity contributions as debt in order to make PIA appear insolvent, and do

the other acts described above to achieve their unlawful purpose of denying Allen his rights

under the 2006 Employment Agreement and the 2010 Employment Agreements, Allen’s Note,

and the PIA Operating Agreement.

WHEREFORE, the Allens pray for judgment against Defendants jointly and severally in an

amount to be determined at trial for the conspiracy, including for their willful misconduct and

intentional breach of Plaintiff’s employment agreement, for his costs and expenses incurred

herein, for punitive damages in such an amount that is fair and reasonable, for pre-judgment and



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post-judgment interest, for an injunction preventing any Defendant from attempting to enforce

the bank loan guaranties against Allen, and for such other and further relief as the Court may

deem just and equitable.

                     COUNT VII—BREACH OF FIDUCIARY DUTY
                                  (Allen v. Illig)

       Plaintiff incorporates herein by reference the statements and allegations contained in the

paragraphs above as though more fully and completely set forth herein.

       825.    In April 2013, Illig became President of FiveStar Lifestyles, LLC.

       826.    From October 2006 through November 2012, Illig was a manager of PIA Assets,

LLC.

       827.    As an officer and manager of an LLC, Illig had a fiduciary relationship with the

members of the LLC for which he served as an officer.

       828.    Specifically, under RSMo. Section 347.088, Illig had a duty of care and good

faith to act “in good faith, with the care a corporate officer of like position would exercise under

similar circumstances, in a manner a reasonable person would believe to be in the best interest of

the LLC.”

       829.    James Allen has been a member of PIA Assets, LLC since 2006.

       830.    Illig has breached those duties by engaging in the actions described above.

       831.    Illig’s breaches of his duties to Allen have harmed Allen, specifically by causing

Allen to lose the benefits of his 2010 Employment Agreement and thwarting Allen’s ability to

collect on Allen’s Note.

WHEREFORE, Plaintiff prays for judgment against Illig in an amount to be determined at trial

for breach of his fiduciary duties to Allen, including for his willful misconduct and intentional




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breach of his fiduciary duties, his costs and expenses incurred herein, for pre-judgment and post-

judgment interest, and for such other and further relief as the Court may deem just and equitable.

                     COUNT VIII—PIERCING CORPORATE VEIL
      (Allen v. PIA, FiveStar, Patterson, Illig, Pandi Capital and Pandi Development)

       Plaintiff incorporates herein by reference the statements and allegations contained in the

paragraphs above as though more fully and completely set forth herein.

       832.    Through Pandi Capital and Pandi Development, Patterson and Illig have

completely dominated the finances, policy and business practices of PIA Assets, RP Golf,

FiveStar, and other subsidiaries and affiliates of PIA Assets.

       833.    Indeed, when asked who he understood PIA’s owners to be, Randy Nay (the

Board member appointed by (ostensibly) Pandi Development), testified he understood the

owners to be Patterson, Illig, and Allen. In fact, during his testimony Nay had a difficult time

distinguishing between Patterson, Illig, Pandi Development and Pandi Capital.

       834.    PIA Assets, RP Golf, FiveStar, and other subsidiaries of PIA Assets have no

separate mind or will of their own, but have functioned solely at the whim and direction of

Patterson and Illig. PIA Assets, and its subsidiaries, do nothing that is contrary or inconsistent

with Patterson’s and Illig’s will, interest, and command.

       835.    Patterson and Illig have treated the assets of PIA Assets, RP Golf, FiveStar, and

other subsidiaries of PIA Assets as their own personal assets in complete disregard for the rights

and interests of the minority members.

       836.    As more fully described below, Patterson and Illig have used their control of PIA

Assets, RP Golf, FiveStar, and other subsidiaries of PIA Assets to commit unjust acts in

contravention of the rights of true creditors of PIA Assets.




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       837.    Patterson and Illig have used their control of PIA Assets, RP Golf, FiveStar, and

other subsidiaries and affiliates of PIA Assets, to commit fraud and wrong, to perpetrate the

violation of positive legal duties owed to Plaintiffs, and to cause dishonest and unjust acts in

contravention of Plaintiffs’ legal rights.

       838.    Through their control of PIA Assets, RP Golf, FiveStar, and other subsidiaries

and affiliates of PIA Assets, Patterson and Illig proximately caused the injuries to the Allens and

PIA such that the Allens should be allowed to pierce the corporate veil and hold Patterson and

Illig personally liable for the obligations of PIA Assets, RP Golf, FiveStar, and other subsidiaries

and affiliates of PIA Assets.

       839.    Patterson and Illig have taken an active role in the management and operations of

PIA Assets and its subsidiaries.

       840.    In an interview published in the June/July 2013 issue of North magazine, Dale

Brouk, the COO/CFO of PIA, is quoted as saying, “‘What they [Neil and Cliff] did to make

SportingKC the best soccer venue in the country, they’re now doing with the golf clubs. They are

making us implement all of the things they believe in, the little things that help us differentiate

our club from every other club,’ says Dale.”

       841.    Patterson and Illig have repeatedly been mentioned as members of and assets to

the development team in public advertisements for the sale of residential developments owned

by PIA’s subsidiaries and affiliates.

       842.    These advertisements induce members of the public to buy real estate by touting

the “strength” and “vision” of Patterson and Illig, the founders of Cerner Corporation.




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       843.    As described below, Patterson and Illig have used their control of PIA Assets and

its subsidiaries and affiliates to strip the assets of PIA by reclassifying equity contributions as

debt, making PIA Assets appear to be insolvent with the intent of avoiding creditors.

       844.    For the period of time during which the alleged “Notes” were signed, Patterson

and Illig were members and managers of PIA Assets, but failed to call required members’ or

managers’ meetings and maintain required records, including the records related to the alleged

“Notes” and “Loans” which are the subject of Pandi’s counterclaims.

       845.    By PIA’s Operating Agreement, to which Illig and Patterson are parties through

their ownership of Pandi Development, any indebtedness in excess of $50,000 must be approved

by the members of PIA Assets. Jim Allen, a member of PIA Assets, was not asked to and did not

approve any of the “Notes” or “Loans” which are the subject of Pandi’s counterclaims.

       846.    Dale Brouk, PIA’s Chief Financial Officer, has testified that he knew the Notes

and Loans were not properly approved according to the Operating Agreement.

       847.    Pete Smith, PIA’s counsel, has acknowledged that Pandi Capital’s purported

Notes violated PIA’s Operating Agreement, which Patterson and Illig both signed.

       848.    Upon information and belief, Patterson and Illig have made decisions regarding

the non-renewal of certain loans to PIA and its subsidiaries from third-party creditors without

consultation of the other members of PIA, in violation of the Operating Agreement of PIA.

       849.    As described below, Patterson and Illig have used the non-renewal of these loans

to attack Jim Allen’s guaranties and in furtherance of their conspiracy to defraud Allen.

       850.    Brouk, acting in conjunction with representatives from Pandi Capital, has

interrupted a stream of payments from the revenues of the Clubs which was being used to make

payments toward a loan to the Country Club of Loch Lloyd.



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       851.      By interrupting the stream of payments, Brouk and the representative of Pandi

Capital allegedly put the loan to Loch Lloyd in default in furtherance of the conspiracy to

defraud Allen.

       852.      Upon information and belief, Patterson and Illig have refused proposals from

third-party creditors that would have resulted in releases for Jim Allen from guaranties to those

creditors. PIA, RP Golf, FiveStar and their subsidiaries and affiliates are contractually obligated

to provide those releases.

       853.      Patterson and Illig have made unilateral decisions to cease both required

payments to both Class B shareholders and tax payments to Platte County.

       854.      In November 2010, Patterson instructed Allen and Brouk not to make required tax

payments to Platte County because he wanted to start “walking away” from PIA’s real estate

assets in Platte County.

       855.      Patterson and Illig have made unilateral decisions to fund PIA’s legal defense

while claiming that PIA is insolvent.

       856.      Patterson and Illig have made unilateral decisions to the detriment of Allen that

benefitted Grand Construction, which they own, for development services at PIA.

       857.      Patterson and Illig have made unilateral decisions to fund capital improvements to

The National and Loch Lloyd while claiming in Court filings that PIA is insolvent and while

refusing to pay Jim Allen pursuant to his employment contract.

       858.      Patterson and Illig have unnecessarily encumbered assets to prevent recovery by

the Allens and other minority shareholders.

       859.      Patterson and Illig have committed other wrongful acts as described above.




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       860.    Patterson and Illig committed the above acts to prevent Allen and others from

enforcing their contractual rights against PIA.

       861.    Under Missouri law, where a corporation or an LLC is used for an improper

purpose and to perpetuate injustice by which it avoids its legal obligations, equity will step in,

pierce the corporate veil and grant appropriate relief.

       WHEREFORE, the Court should put aside the limited liability of PIA Assets LLC,

FiveStar Lifestyles LLC, Pandi Capital, LLC, and Pandi Development, LLC, and hold Patterson

and Illig personally liable for the ostensible actions of the limited liability corporations’ actions.

    COUNT VIII—RECOVERY ON ALLEN’S NOTE UNDER RSMO § 347.059
                           (Allen v. Illig)

       Plaintiff incorporates herein by reference the statements and allegations contained in the

paragraphs above as though more fully and completely set forth herein.

       862.    To the extent Allen’s Note is not authorized under the PIA Operating Agreement

or binding on PIA, Illig nevertheless signed Allen’s Note purporting to be the “authorized

signatory of PIA Assets, LLC.”

       863.    In so doing, Illig expressly represented and warrantied that the “execution,

delivery and performance by [PIA] of [the] Note: (i) are within [PIA]’s organizational powers;

(ii) have been duly authorized by all necessary action; and (iii) do not contravene any [PIA]

certificate of formation or operating agreement or any law or contractual restriction binding on or

affecting [PIA] or its properties.”

       864.    By virtue of Illig’s history with PIA, his role as a manager of PIA, his status as a

manager and owner of Pandi Development (the majority member of PIA), Illig could not have a

good faith but mistaken understanding of whether he was authorized to sign Allen’s Note,




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particularly because Illig signed the PIA Operating Agreement which contains the operative

restriction on authority.

       865.    Thus, if Allen’s Note was not authorized by the PIA Operating Agreement, Illig is

personally responsible for repayment of the note according to its terms. See RSMo § 347.059.

WHEREFORE, if the Court determines that Allen’s Note was not authorized by the PIA

Operating Agreement or not binding on PIA, the Court should hold Illig personally liable for the

debts and liabilities stated in Allen’s Note, and enter a judgment against Illig for breach of the

note, and awarding Allen damages in the amount of $817,585.00, attorneys’ fees, costs and

expenses incurred in connection with the enforcement and/or collection of the loan as provided

in Allen’s Note, plus interest at the contractual return rate of 20% until the maturity date of

January 1, 2013, and 25% after maturity until paid, and for such other and further relief as the

Court may deem just and equitable.

                  COUNT IX – NEGLIGENT MISREPRESENTATION
                 (Allen v. Patterson, Illig, Pandi Capital, Pandi Development)

       Plaintiff incorporates herein by reference the statements and allegations contained in the

paragraphs above as though more fully and completely set forth herein.

       866.    Patterson’s and Illig’s negotiations (including through Heineman) with Allen

regarding the 2010 Employment Agreement (as noted above) were done in the course of their

business.

       867.    Patterson and Illig (including through Heineman) supplied information to Allen

during those negotiations as noted above.

       868.    Defendants intentionally provided the information to Allen (including through

Heineman) for the purposes of entering into the 2010 Employment Agreement as noted above.

       869.    Allen justifiably relied on the information as noted above.

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       870.    Patterson and Illig also failed to disclose information they had a duty to disclose

to Allen as noted above.

       871.    Due to Allen’s reliance on the false information Defendants provided to Allen,

and the failure of Defendants to provide information they had a duty to disclose to him, Allen

suffered a pecuniary loss in an amount to be determined at trial.

       872.    Defendants acted intentionally and with an evil motive or, at the very least, with

reckless disregard to Allen’s rights.

WHEREFORE, Plaintiff prays for judgment against Defendants Pandi Capital, Pandi

Development, Patterson and Illig, jointly and severally, in an amount to be determined at trial for

negligent misrepresentation, through misrepresentations and omissions, including for their

willful misconduct, for Allen’s costs and expenses incurred herein, for punitive damages in such

an amount that is fair and reasonable, and for such other and further relief as the Court may deem

just and equitable.

                        COUNT X – TORTIOUS INTERFERENCE
                 (Allen v. Patterson, Illig, Pandi Capital, Pandi Development)

       Plaintiff incorporates herein by reference the statements and allegations contained in the

paragraphs above as though more fully and completely set forth herein.

       873.    Allen’s rights under the 2006 Employment Agreement, 2010 Employment

Agreement, and the Allen Note each constituted a contract and/or a valid business expectancy.

       874.    At all relevant times, each of Patterson, Illig, Pandi Capital, and Pandi

Development were aware of the 2006 Employment Agreement, the 2010 Employment

Agreement, and the Allen Note.




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       875.    Patterson, Illig, Pandi Capital, and Pandi Development intentionally and without

justification interfered by inducing and/or causing a breach of the obligations contained in these

documents as noted above.

       876.    As a direct and proximate result of Defendants’ interference, Allen was injured.

WHEREFORE, Plaintiff prays for judgment against Defendants Pandi Capital, Pandi

Development, Patterson and Illig, jointly and severally, in an amount to be determined at trial for

tortious interference, including for their willful misconduct, for Allen’s costs and expenses

incurred herein, for punitive damages in such an amount that is fair and reasonable, and for such

other and further relief as the Court may deem just and equitable.

                COUNT XI – RACKETEER INFLUENCED AND
          CORRUPT ORGANIZATIONS ACT (RICO) – 18 U.S.C. § 1962(C)
                        (Allen v. Patterson and Illig)

       Plaintiff incorporates herein by reference the statements and allegations contained in the

paragraphs above as though more fully and completely set forth herein.

       877.    The enterprise consists of Defendant PIA Assets, LLC and its subsidiaries

(collectively “PIA”), which has as a legitimate purpose the development and sale of real estate in

interstate commerce. Indeed, PIA owns land in both Kansas and Missouri, and advertises to,

sells to, and serves customers from both Kansas and Missouri.

       878.    There also exists an enterprise comprised of PIA and Pandi Development. They

work together for the common purpose of developing and selling real estate in interstate

commerce. Pandi Development provides the funding, and PIA operates the business. Pandi

Development in turn is funded by contributions from Patterson and Illig which, on information

and belief, come from accounts outside of Missouri, such as Goldman Sachs and Credit Suisse in

New York, and are wired into Missouri and Kansas for use by PIA.


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       879.    There also exists an enterprise comprised of PIA, Pandi Development, and Pandi

Capital. They work together for the common purpose of developing and selling real estate in

interstate commerce. Pandi Development provides the funding through Pandi Capital, and PIA

operates the business. Indeed, Pandi Capital’s Operating Agreement states that the purpose of

the business is, in part, to fund PIA. Pandi Capital is also funded by contributions from Patterson

and Illig which, on information and belief, come from accounts outside of Missouri, such as

Goldman Sachs and Credit Suisse in New York, and are wired into Missouri and Kansas for use

by PIA.

       880.    Defendants Patterson and Illig conduct the affairs of all three of these enterprises.

       881.    Patterson and Illig are the sole managers and members of Pandi Development.

On information and belief, they are the only people who make any decisions for Pandi

Development.

       882.    Patterson and Illig are the sole managers and members of Pandi Capital. They are

the principal decision makers for Pandi Capital.

       883.    Patterson and Illig conduct the affairs of PIA in multiple ways, including but not

limited to:

                 a. Patterson and Illig (ostensibly through Pandi Development) own 86.5% of

                    PIA. Because of their position as super-majority owners, Patterson and

                    Illig have personally directed and have full control over the affairs of PIA.

                    PIA does not do anything against the wishes of Patterson and Illig;

                 b. Patterson and Illig were two of the three members of the PIA Board of

                    Manager from 2006 through December 2012, and then appointed Brouk and

                    Nay to replace them. Brouk and Nay serve as Patterson and Illig’s proxies



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                    on the Board, and the PIA Operating Agreement permits them to favor

                    Patterson’s and Illig’s interests over Allen’s. Brouk and Nay are beholden

                    to Patterson and Illig, they consult with Patterson and Illig (and/or

                    representatives of Patterson and Illig) on issues that affect PIA, and vote the

                    interests of Patterson and Illig only. On information and belief, neither Nay

                    nor Brouk has ever taken a vote or done any other act related to PIA that is

                    not in the interests of Patterson and Illig personally;

                c. Patterson and Illig provide a large part of the funding to PIA, and only

                    provide funds if they (or one of their representatives) agree to fund the

                    specific items for which funds are requested;

                d. Illig has been the CEO of FiveStar, the executive in charge of PIA

                    operations, and has been charged with providing the oversight a CEO would

                    provide for PIA, since early 2013 (and no later than March 2013).

       884.   Patterson and Illig agreed to and did conduct and participate in the conduct of the

enterprise’s affairs through a pattern of racketeering activity and for the unlawful purpose of

intentionally defrauding Allen. Specifically, Patterson and Illig, among other things, devised,

implemented and directed a fraudulent scheme to “eliminate” Allen from PIA without paying

him the $6 million purchase payment he had a contractual right to be paid, and without repaying

the funds Allen and his wife loaned the company.

       885.   Pursuant to and in furtherance of their fraudulent scheme, Defendants Patterson

and Illig committed multiple related acts of wire fraud (18 U.S.C. § 1343) and mail fraud (18

U.S.C. § 1341), including as follows.




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         886.   As part of the fraudulent scheme, Patterson and Illig (including through their

agent Heineman) fraudulently induced Allen into a new employment agreement that eliminated

the $6 million purchase payment and reduced his compensation as noted above. This scheme

involved the use of interstate wires, as evidenced by the email communications referenced

above.

         887.   As part of the fraudulent scheme, Patterson and Illig worked with PIA counsel

Pete Smith and other personnel at McDowell Rice, to devise and implement a “firewall” strategy

that was designed to make PIA appear insolvent so that if Allen (and other minority owners

Manning and Watson) ever tried to enforce his (their) rights, Defendants could claim that PIA

was judgement proof and frustrate Allen’s (and the other minority owners’) recovery. This

scheme involved the use of interstate wires, as evidenced by the email communications

referenced above.

         888.   This fraudulent “firewall” strategy included, among other things, Defendants

Patterson and Illig (personally and/or through their agents and employees):

                a.     Instructing PIA officer Dale Brouk to falsify PIA’s books and financial

                       statements   to   mischaracterize   Patterson   and    Illig’s   past   equity

                       contributions as debt;

                b.     Causing Pandi Development to contribute cash, through Pandi Capital, to

                       PIA, and falsely characterizing the transactions as loans (which they could

                       not be without Allen’s express consent, and Allen did not consent to the

                       purported notes at issue in this litigation).          According to Pandi

                       Development, the cash contributions were effected by at least 24 interstate

                       wires transfers over a 4 year period in or about the time periods stated in



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      Scott Goldstein’s April 16, 2013 demand letter, and Defendants continue

      to send contributions to PIA by interstate wire on a regular basis today and

      will undoubtedly continue to do so into the future unless this Court stops

      them;

c.    Creating false promissory notes purportedly memorializing the Pandi

      Development / Pandi Capital contributions as loans. The false promissory

      notes were distributed to participants in the fraudulent scheme by email as

      noted above.    Defendants continue to mischaracterize incoming wire

      transfers as debt with false and fraudulent notes and/or other

      documentation and will undoubtedly continue to do so into the future

      unless this Court stops them;

d.    Having Illig personally sign the false promissory notes;

e.    Directing PIA’s Brouk to sign the false promissory notes;

f.    Attempting to avoid the restrictions in the PIA Operating Agreement by

      amending the operating agreements for the PIA subsidiaries to permit

      them to do the very things the PIA Operating Agreement prohibited (as

      described above). The negotiation and implementation of this plan was

      conducted largely by email as described above;

g.    Having Pandi Development, through counsel Spencer Fane, send

      threatening letters by both interstate email and interstate U.S. mail as part

      of the fraudulent scheme, including:

     i.       A March 7, 2013 letter from Spencer Fane’s Scott Goldstein in

              Missouri to PIA’s Board of Managers (c/o Randy Nay in Kansas),



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                              in which Goldstein threatened that if Mr. Allen did not withdraw

                              his lawsuit, Pandi Capital would purportedly “accelerate” and

                              demand payment on nearly $100 million of false promissory

                              notes;

                    ii.       An April 16, 2013 demand letter Goldstein sent from Missouri to

                              PIA’s Board of Managers (c/o Randy Nay in Kansas), in which

                              Goldstein demands payment on the approximately $100 million of

                              false promissory notes, further demands payment on several other

                              purported “demand loans to PIA”; and

                   iii.       Though neither of these letters was addressed specifically to

                              Allen, Defendants knew that Allen was a PIA Board member, and

                              would receive and/or hear about the contents of the letter, and the

                              purpose of the letters was to threaten Allen and pressure him to

                              forfeit his claims.

              h.      Having Pandi Capital, represented by Spencer Fane, and PIA, represented

                      by McDowell Rice, collude in filing a sham litigation in Jackson County,

                      Missouri, in which Pandi Capital attempted to secure a judgment and

                      collect on the false promissory notes. Spencer Fane and McDowell Rice

                      colluded on the sham litigation through the use of the wires, as evidenced

                      by the email communications referenced above.

       889.   Patterson and Illig’s fraudulent scheme to defraud Allen also included a

conspiracy to exert financial pressure on Allen by leveraging certain guaranties Allen made on




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PIA bank loans used to fund PIA’s operations. As part of this unlawful loan guaranty strategy,

Defendants Patterson and Illig (personally and/or through their agents and employees):

              a.      Knew that Allen had a contractual right to be fully and completely

                      released, indemnified and held harmless on all loan guaranties Allen had

                      made for the benefit of PIA, and that, at a minimum, PIA and its

                      subsidiaries and affiliates had guaranteed the performance of the

                      contractual obligation;

              b.      Agreed nevertheless to use the bank loan guaranties against Allen, and to

                      employ Pandi Capital, lawyers at Spencer Fane, The Illig Family

                      Enterprise Company, PIA Board Members Dale Brouk and Randy Nay,

                      and PIA’s counsel Pete Smith, to do so.        This strategy, some of the

                      participants’ roles in it, as well as the participants’ clear knowledge that

                      the strategy was unlawful, is manifest in the April 8, 2013 “Patterson-

                      Goldstein Email Chain” referenced above;

              c.      Concocted and implemented a plan to have PIA default on the loans that

                      Allen had guaranteed. The implementation of this plan involved extensive

                      use of email as referenced above;

              d.      Negotiated with the banks, by email, for the purchase of the defaulted

                      loans;

              e.      Purported to foreclose on the collateral securing at least one of the bank

                      loans, Allen’s claims against PIA, with notices related to such foreclosure

                      sale being sent by U.S. mail, including:




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                        i.      A December 17, 2013 “Notification of Disposition of Collateral

                                Relating to Commercial Guaranty (the “Guaranty”) Given by

                                James S. Allen, Jr. (“Allen”) to Missouri Bank Regarding PIA

                                Assets, LLC (“PIA”)” letter from Goldstein to Jim Allen,

                       ii.      A January 23, 2014 “Notice of Results of Foreclosure Sale” letter

                                from Goldstein to Jim Allen, and

                      iii.      A January 24, 2014 “Notice of Exercise of Ownership Rights”

                                letter sent by Goldstein to Jim Allen.

               f.        Filed claims through Pandi Development and Pandi Capital against Allen

                         in Platte County, Missouri, to collect on the guaranties; and

               g.        Filed a motion for substitution in Platte County, falsely claiming that the

                         foreclosure sale rendered Allen without standing to sue PIA.

        890.   The acts set forth above constitute a pattern of racketeering activity pursuant to 18

U.S.C. § 1961(5).

        891.   Patterson and Illig have directly and indirectly conducted and participated in the

conduct of the enterprise’s affairs through the pattern of racketeering and activity described

above, in violation of 18 U.S.C. § 1962(c).

        892.   As a direct and proximate result of Patterson’s and Illig’s racketeering activities

and violations of 18 U.S.C. § 1962(c), Allen has been injured in his business and property in

that:

                    a. He was fraudulently induced into the 2010 Employment Agreement (and out

                       of the right to the $6 million purchase payment guaranteed to him in the

                       2006 Employment Agreement);



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                    b. Defendants refuse to pay all amounts due under Allen’s Note and the 2010

                       Employment Agreement based on the false notion that PIA is insolvent; and

                    c. Allen has had to expend considerable resources pursuing this litigation.

WHEREFORE, Plaintiff prays for judgment against Defendants Patterson and Illig, jointly and

severally, in an amount to be determined at trial for actual damages, treble damages, and the cost

of suit including attorneys fees for violation of 18 U.S.C. § 1962(c), and for such other and

further relief as the Court may deem just and equitable.

 COUNT XII – RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS
              ACT (RICO) CONSPIRACY – 18 U.S.C. § 1962(D)
        (Allen v. Patterson, Illig, PIA, Pandi Development, Pandi Capital)

       Plaintiff incorporates herein by reference the statements and allegations contained in the

paragraphs above as though more fully and completely set forth herein.

       893.    As set forth above, Defendants Patterson, Illig, PIA, Pandi Development, and

Pandi Capital conspired to violate 18 U.S.C. § 1962(c).

       894.    Defendant PIA agreed to and participated in Patterson and Illig’s fraudulent

scheme to defraud Allen as noted above and by, among other things, as follows:

               a.        PIA’s Counsel Pete Smith suggesting that Defendants Patterson and Illig

                         implement the “firewall” strategy by making future contributions to PIA

                         as debt, instead of equity;

               b.        PIA Board Member and Officer Dale Brouk signed the false promissory

                         notes that purported to document the contributions as loans;

               c.        PIA’s Counsel McDowell Rice colluded with the Pandi entities and their

                         counsel Spencer Fane, to file sham litigation pleadings in Jackson County;




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d.   PIA’s counsel McDowell Rice strategized with the Pandi entities’ counsel

     Spencer Fane by email as noted above to find ways to use the bank loan

     guaranties against Allen in direct contravention of PIA’s obligations under

     the employment agreements;

e.   PIA’s counsel McDowell Rice, as evidenced by the Patterson-Goldstein

     Email Chain referenced above, was an integral part of the bank loan

     strategy, in which Smith was the designated “communicator” to keep

     Allen on the guaranties, and actually met with both Goldstein and the

     banks to carry out his part of the conspiracy;

f.   PIA Board Member and Officer Dale Brouk delivered Allen’s loan

     guaranty paperwork to Missouri Bank without authority to do so, and in

     direct contravention of Allen’s express instructions.        Brouk ignored

     Allen’s instructions to facilitate the conspirators’ goal of keeping Allen as

     a signed guarantor on the Missouri Bank loans, so that Defendants could

     purchase the bank loans and guaranties and use them against Allen.

g.   PIA Board Member Randall Nay devised a plan to have PIA default on the

     bank loans, paving the way for Patterson, Illig, and the Pandi entities to

     buy the defaulted loans to effectuate the bank loan strategy. In particular,

     Nay (through emails and in person as noted above) convinced Allen that

     PIA should stop paying the banks temporarily, so that the PIA owners

     could engage in good faith settlement discussions. But this was a ruse

     designed to secure Allen’s consent under false pretenses.




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               h.     The PIA Board, in conjunction with PIA counsel McDowell Rice among

                      others, and over Allen’s objection, changed the operating agreements of

                      PIA’s subsidiaries to get around the restrictions in the PIA operating

                      agreement prescribing the circumstances under which PIA could take on

                      more debt. PIA did so at Pandi Development’s request so that Pandi

                      Development could purport to encumber PIA’s operations and balance

                      sheet with debt as part of the firewall strategy.

       895.    Defendants Pandi Development and Pandi Capital agreed to and participated in

Patterson and Illig’s fraudulent scheme to defraud Allen as noted above and by, among other

things, as follows:

               a.     Claiming, in knowing violation of the PIA Operating Agreement, that the

                      funds wired to PIA on behalf of Pandi Development, and purportedly

                      “through” Pandi Capital, were “loans” to PIA;

               b.     Spencer Fane (counsel to the Pandi entities) strategizing with McDowell

                      Rice (counsel to PIA) by email to find ways to use the bank loan

                      guaranties against Allen in direct contravention of PIA’s and the Pandi

                      entities’ obligations under the 2010 Employment Agreement;

               c.     Spencer Fane sending threatening letters, by email and U.S. mail as

                      referenced above, to pressure Allen into forfeiting his rights;

               d.     Pandi Capital, and Pandi Development (through Spencer Fane), as

                      evidenced by the Patterson-Goldstein Email Chain referenced above, were

                      an integral part of the bank loan strategy, in which Spencer Fane planned




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     to make “changes” to the false promissory notes so that they could file the

     sham Jackson County lawsuit;

e.   Spencer Fane (counsel to the Pandi Entities) colluding with McDowell

     Rice (counsel to PIA) to file sham litigation claims in Jackson County, for

     collection on the fraudulent promissory notes;

f.   Pandi Development asking the PIA Class A Members and the PIA Board

     to change the operating agreements of PIA’s subsidiaries to get around the

     restrictions in the PIA operating agreement prescribing the circumstances

     under which PIA could take on more debt. Signing one of the resolutions

     requesting the change and ensuring that Brouk and Nay implemented the

     changes. Pandi Development did this so that it could encumber PIA’s

     operations and balance sheet with debt as part of the firewall strategy.

g.   Working with PIA (including by emails referenced above) to ensure that

     PIA defaulted on bank loans that Allen had personally guaranteed;

h.   The Pandi entities purchasing, jointly and severally with Patterson and

     Illig, the bank loans that PIA defaulted on so that they could use them

     against Allen (which, as referenced above, required the use of the wires

     and U.S. mail);

i.   The Pandi entities purporting to foreclose on Allen’s claims against PIA

     (which, as referenced above, required the use of the wires and U.S. mail);

j.   The Pandi entities filing claims in the Platte County litigation against

     Allen;




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               k.      The Pandi entities filing a motion for substitution in Platte County, falsely

                       claiming that the foreclosure sale rendered Allen without standing to sue

                       PIA.

       896.    Patterson, Illig, PIA, Pandi Development, and Pandi Capital have intentionally

conspired and agreed to directly and indirectly conduct and participate in the affairs of the

enterprise through a pattern of racketeering activity.

       897.    Patterson, Illig, PIA, Pandi Development, and Pandi Capital knew that their

predicate acts were part of a pattern of racketeering activity and agreed to the commission of

those acts to further the fraudulent scheme described above.           That conduct constitutes a

conspiracy to violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

       898.    As a direct and proximate result of Defendants’ conspiracy, the above acts taken

in furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d), the Allens have been

injured in their business and property as set forth above.

WHEREFORE, Plaintiff prays for judgment against Defendants Patterson, Illig, PIA, Pandi

Development, and Pandi Capital, jointly and severally, in an amount to be determined at trial for

actual damages, treble damages, and the cost of suit including attorneys fees for violation of 18

U.S.C. § 1962(d), and for such other and further relief as the Court may deem just and equitable.

                                        JURY DEMAND

       The Allens hereby request a trial by jury of all issues triable by jury.

       /

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Dated: September 30, 2016
                                  Respectfully submitted,

                                  STUEVE SIEGEL HANSON LLP



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                               CERTIFICATE OF SERVICE
       I hereby certify that the foregoing was served via email on September 30, 2016 to the

following:


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                                                  J. Toji Calabro



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                EXHIBIT A
                                                                                                                 Electronically Filed - Platte - October 04, 2016 - 08:13 AM
                                   EMPLOYMENT AGREE~ffiNT


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 ~ entered into. by and among PIA, ttC~ a MissQuri limited liability company C'Company")
 and James S, Allen.: Jr.~ an individual residentofthc StateofMissourl ('~Employeil:'~.
                NOW,. THEREFORE, in considemtion of the mutual undertakings contained
 hereil:umd other good and valuable cotuidemtion,. the receipt and truffioieney ofwhich is hereby
 aclrn(l\v1edged.,.tb,e pmtiex 'herein :a,gme ~ filUnwS!!


                                               ARTICLE I
                                                Defi.DiUOWI



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                   ''Rmployntilttt Period" ltu the m.emfug: set forlh in Section U

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                 2.1                      The Con1pany hereby agrees to emp!oyEmployee, and
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forth in this Agreement for the period beginning on the date hereof and terminating as provided
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                    2.2   PositionJu'td Duties.
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Company, Md shall perform such executive and mml!lgeri!d duties normally associated With such
position, shatrh~ve overall responsibility for the Company•s assets and shall have such
additional duties, responsibilities and authority as;sbaU be reasonably assigned to him. from time
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                    (b)   Employee shell perfotm his duties aud respoMibiUties to the best of his
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                  Bmplor...e and such benefic:iary l¥i· :Employee sh.a.tl rumw thereunder;



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c.                     (5)    Tile l!ompany 'vill P~'Y 1he premitlllis on ttn aacidentm death and
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                ($6.000~000.00) fur the benefit cfErilployee and such beneficiasy. as Employee shall
                name tbereunde~;
                          (6)      'fhe Company shallmaintain a health .care plan covering l!mployqand his
                GpOUSClrutd

                        (7)     The Company sballmainyilil a 401 (k) pll'1!\ in accordance with Seclion
                401 (k) of the Internal Revenue Code of 1986. as amended~ in. whi.ch Employee 5hall he
                immediately eligible to partie~pat~ and to contribute the maximum contribution pemti~
                bylaw.                                              ·
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      'the date setforth'in Section 2.1; pro\lide4t however•. tha1 tbeEmplQYlllent:PeriodshaJl oontinue
      for suru-:essive periods Qf one year the:rea:fler untess either tbe Com,pany or Etnploye-e gives
      written notice of termination to the other party on or befom the date that is six months prior to
      the date th~Bmt~lomeni·Pcriod would otherwise end. Notwithstanding the foregoitt~t. the
      Employment Period sballbe subjectto earlier termir!Ation. only upon the foUowing cirClliDStanceli
      in ac~rdanco whb th~term.s ofthis Agreement: (l)by the Company for Cause. (ii) by reason of
      .Employee's: dea.fu. (iii:) by reason ofEtnplo)leet!t disability. or (iv) upon Employee's volunttu:Y
      :resignation.
                   (b)       Tmninafion for Cause-. The Company may terminate Employee~s
0     employment for (:.a:use. If Employee•s employment is ten:r:J.inated tor cause, the Company sball
       pay to Et;tployee aU earned ru:1d a~;c:rued but unpaid .Base Sala,ty, alto~ and expense
      reimburs~ents, plus the pw:ehase payment desen"bed in Section 3.1.            Th11 Company, may not
       temt.ruate:~~ployee's. employment for Cause, however, Wlless (i} no :fewer tltaa 60 days prior to
       the date oftennir:lati.on of :Employee's employtnent, the Company pro'rides Employee 'With
       written notice eNotice of CoDJidera:non") of i.ts intent wconsider termination of Employee's
       emp!aymeu:t for CaW~t-. incluaing a: detailed d¢soription of the: ~fie rwot:lS wblch fo~. tbe:
       basis f'(lr su~h OOn$id:eratlon~ (ii) for a period ofnot less tlum. 30 days after the date Notice of
       Considexation is providea~ Emuloyee shallhave th.e ol)J)Ortunity to appear before the Board. with
       or without Iegal representation~ at Employee's elecliont to present arguments and evide11ce on his
     . own belnilf; and (iii) following: :the presentation to the Board as provided above, Employee may
       be tenn!M~ed for Cause only lf (,A) the' Board. by the affirmative vo~ ofall ofits: trwmbem
       (ex~luding Employee if he. is a member of the. Board), determh1es that the actions orinactitnt' of'
       Employee specified in theNotiee ofTerrrilimtion O(lcilm:d~ that. .such actions or inad.i.ons
      enn~:nitute    C'.an!U!.and 1hAt ~mvin:y~'>el!!ll"J.fil6ytl1ertt t:~'ho1dd ~eeording1ybe termht~tll!.d for Oluse;
      and (B) tl1e Board provides Employee with a written determination e'Nctite ofTemtination for
      Caue"') setting forth h:t s~c detail the ba$$ ofsuch te~tion ofemplo}'mmt, which
      Nod<Je ofTmninadon £'ox:: Cause shall be consistent 'With the rew;(.lns set forth in the Notica of
      Considemtlon.
                     (c)     Death. lfEmployee's employment is terminated as a result ofms death,
      the Company sluill pay to Employee's estato aJlprevioua1y eamed arid accrued but unpaid Base
      Salar;~ a!lowan;ces w:~d expense reimbursementS u_p to the date ofhb deatl4 plus the pt.ll:'Cbasc


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     .       payment descrtbedm ~~Qn ~p. and shan provide to Bmployee·s spouse and dependents any
    C   )    Benefit$ -QOJltinuing after the death ofEmpioyee maceordance wlith their tennsand conditions;
            ·pro'Vld~ that Employet's beneficiary under any term life in.surnnre P<~llcy and!or accidental
             death and dismemberment poli(i)' under Sectio.q_2rJL.fJ shall be entitled to receive the: proceeds
             paynble under my such policy(ies).
                             (d)     Diubility.. Employ~~.~~ em,plo.rment with tha Company 11hall terminate in
             the event ofEmployee's disability within the meaning ofthe long..ten:n disability policy
             desodbed in Section 2. 3(f). ·If' Bmpfoyee's ~ptoyment is terminated ss a result ofdisability, the
             Compttny smU £tl.Y to 13mplo;ycc allertmed and lW<mleit but UtlpWd Ba:Je SW:~, ~lOWIU1~ llt'l.d
             expc11S¢ reitnburscment$~ plU$ the pllt'ChMe: payment d~cri®d in S~tion :u, 1md sball provide
             to amployee and his spouse and dependent any Benefit:~ continWI!.g after te.l:"'lliilation of
            c.tmpk.iyment in M(;(lma.nc.c with their teJ:J.tm. A.Qd, (X}nwdon$,
                            (e)      Resj~tion.      Employee may ftSign from employment with the cOmpany
            by giving lhtr!Y (3.0)di!.ys wrlmn notice to lhe· Company. If during the Employment Period
              Employee's emplcymoot is ter.minated upon Emp]oyec's voluntary resigrmtfol"'l the CompaDy
              shall pay to Employee al.l·eamed and lle:Crned but unpaid Base Salary, allowances and expense·
             .rei:mb~.U:Sements. plus the purchase paymentdescribed in Sccti® •:;. t • .and shall provide to
             Emp[oyee and his spouse and dependents any Benefits eontinuing after termination of
             employment fuaccordance with their t.tnnB and. conditions~
                    .         (f}      .A.ny payments purmumt to this section 2.4. (other than Ute: purghe,se
             payment,:wmch shall be made in a lump sum as describedin Scction3J) shall be madeJJn the
            (payment dakS on which Employ~e's lJMe Salmy and tll!owances wou!d have otherwise been paid
    0       ;it"the J;:;rnployment .Peri<>d .J1ad. oonthl;ued. ·

                                                          .4.RTICLEID
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                            3J      :Purch!\,o:e payment Upoo h;x:minati!)n ofEmployee"s: employment at the
            end of'lhe Employment P'erlod or tor any~ under Section 2.4, the Company sha;ll purchase
            Employee's: interest the Comp~, including any intci'eSt held in·trust with reSpeot:to
            E.m.ployee {(ioU~tivel:t "Emplo.yu MemJ,e:rnhlp lnur~mt") for the ammmt: ofS£x Mmlon and
            No/lOO Dollars ($6,0£l.01000•.00),: pro\'id~ howeverJ Iftlle Employee voluntmUy resigns frrun
            emploj11llent with the Company~ the Company \vl;U purc1llsc the Employee Membemup Inten:st
            f<>r (i) Font Million M.d. N~/l 00 Dollru~ ($4.0'00,000) if the Employccvolnntarity~gcis.on a
            date prlot 1o date thhty-si:x {36) months after the Effective Date C'l Year Period~}; (U) Five
                               oo
            Million and Noll l}oltt:~ts:   (Ss,uoo.ooo) if 'the Employee voluntary resigns after the ejtpim.tion
            ottlu: 3 Y~ Pt=rlullwd prior to llu: date s~vtmly•:wo monl,lui ufler llul E!l'oodw Date (''6.Year
            Perl<~d!'); and {ili) Six Million and No/1 00 J;)pUm ($6,000,000) ifthe Bntployee voluntaty
            resigns mer the expiration o:fthe 6 Year Period. Such amount sl'udJ be payabfe in a lump sum .
            pa}"..l::elit mcash Wi.thi.n GO days !'lfter t~on of empioym~nt. The Company sWill purcihase.
            Md shall mail'ltaht in force throughout the Enlploym~.mt. Pt,trlod, a life msl.tl:lmce policy in an
            amount mtfficient to enable the Compnny to pay this. pureb.ase payment out oftbe proceeds of
            such Hfe ~c,e policy in the event of Bmployee's <l~tb.               ·

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                         ln.~ event the Employee's mnpipyment is tetmltmtOI.'l ftJr mlY reason under
       Section 2A. the Company wlll eitlm' (i) cause tb~ Employee tp be completely r~l~d from all
       UabiUtie.~~, costs~ oblisatiCI.ns ~r gwmmties of any nature directly <lr indirectly associated with the
       Company or any ofthe Company's operations (col!ectively''C<lmp~ny Obligi!<Uou''; or (ii)
       fully and completely indonmifY and holdbamlless Employee with ~ttoall trusting and
       tuwe Company ObllgatioM pursuantto the ~ttn$ and. condltions of an indemnification
       asreement WhichwiU·be in a form acceptable to Employee.
                      3.2 Jhroival. S!#tigns 2.3(!). 00 and, to the extent the terms and conditions
       of any :S~efits p.rovido fot continuttd.on ~ te~ttc.n of ¢ml)lo:ymcnt, ID. !md Sootipns 3.3
       through 3.12 shall mrvive and continue in .run rowe macoordmce wlJh thekterms . .. .
       trotwitbmnding'any termi.nation ofthe :t::rilplQyntenl Period.
                      3.3 N(jljj~. All noti~, demands or other com.m.w:Uoaf.ions 10 be liven or
       delivered under or lly reason.oftheprovlsians ofthis Agreement will be fn.wrlting and. will be
       deemed to have beeu given when delivered pm~onally. mailed by oomfied or :re~stered mai1•
       .retumreceiptn;quested m:~d ptistagc prepait.kor sent via a Wltionally reoognized overnight
        courier, o.r sent v:ia faesmu1~: to 1he recipient. Such notices, dematids Md other comnllll:lic:ttions
        will                  w:ldress. indicated below:
                         To ihe Comp.any:
                                     u.c
                                lQll6 Tom Watson P~
                               Attention: ChiefAdministrative Officer
                               Facsimile! (& lh) ':141-14fi'2.
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                       To Employee:
                               lame~   s, Allen, Jr.
                               7001 Waters Edge
                             · Patb1Ue. Mbsourl64l:52

                       With a copy to:
                               Micnuel J. Royle
                               B~Cave:LLP
                                1200 Mrlin Street. Suite 3500
                               Kansas City, Missouri 64105
                               l"~e!        (816) 374~3300
       or such .other adt:J.m,ss or to the attendon        other person as the :recipient pany shall have
       $peeified by prior 'Nritten notiee to    sending pmy.
                      3.4     sevemtlilint Whenever possltdej< ea® p~vision oft.hi$ Agremu:~nt will
       in~~ted in web ~eras to b~ effeetive Md·vali.d under appliceble Jaw, but if any provision
       oftb.fs Agreement is held to ooinva!id, illegnl or unenfcm.•.eahlr> in any respect ~der arty
       appticablo Iaw or ru1e in anyju:risdiction, such m~dity" illegality or \mei_lforceabilitywiU not
 .),   aficct.any other provision or any other jurisdiction, but this Agreement will be :reformed,
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         construed aru1 enforced lu Stlehjmisdlctlon ttsif S'llCh invalid,. illegal or unemotceabl~ provisicm
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\_,~,.   bad never been eonWined herein.
                         ~.S    C~m;nl.eg~ A~mt.            This A~eJ:tt is: the oo.mp.!eter.asreement and
         understanding among the parties and mpe:rsedes and pr!!empts any pdo:r understandings.
         ~ents or :representations by or mnong the parties, wrlt~n or oral.
                        3.6     Counterp~.      This Agret:J.ll:(ID.t nmybe execrut.ed inseplmfle ooooterpw,
         each ofwW:eh is de~ed. to be Wl orlgitW and aU ofwruch taken together constitute one and the
         same agreement
                       3.1 Sp~rs and Aru;Iggs, Bxce:ptas otherWise provided herein. all
         covenants acd agreements contalned in this Agreement s~t.btnd and inure to the benefit of and
         he oturi~e by ~ptoyll!t~>, tho CompM)') ana their regpwt.ive ~l'B ~md rwaip. E:Koept
         as otherwise Specifically: pf':lvided hemin, this Agreement, including the obliptions and bcneflt9
         Ju~reunder) may not be assigned to any Pax:tY by Employee or the Company.
                          3.8 No Strict Constrnoyon. The language U$ea mthis A~IQent will be
         deemed to be the language chosen by the pmties hereto to express their mutual intent, and no rule
         of strict construction shall be al)plied to thlsA~ment..
                         3.9     Descrip~y,e Headings. The de:scrlptiveheadings of this Agreemept are
         inserted for convenience only and dO not ~onstitutc a part ofthis Agreement.
                         3.10 SZ9l!mPn!J La;w. An questions concerning the oollStructian, validity and
         interpretation of this Asreement Will be governed by and construed in aooordance, with the
         dumestic·!aw ofthe State ofMissouri. witho:ut giving effect to IDl.Y "boice o{ law of CQnfliat of
0        law provision: or rule (whether offite State of ~S.'iQUn or any other jurisdiction) that would cause:
         the appUcruon ofthe laws of tmYJurlsdietlon other thm the State.ofMissourl.
                         3.t 1               .Htwfi of the patties to this Agreement will be entitled to
         enforee'its rights 1.mder this Agreement specUicaU;r. 1o recover daxnages .;md oo$ {including
         reasonable attorneyst :tees) caused by any breach of any provision ofthis Agreement m1.d to ·
         exemrse aU other rights existing<in its favor.
                        3.12    Amendment and.Wai.ver. 'The provisions ofthis Agr~~ent. may be
         am(<.:nd!'ld Md w.rdved only ~th t1w! rtier wri~n.ee~U~.t <lrtM ('.o:m.pan)'      RmplCtyee"
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                EXHIBIT B
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                AMENDED AND RESTATED EMPLOYMENT AGREEMENT
                  This Amended and Restated Employment Agreement ("Agreement") is dated as
 of January 1, 2010 ("Effective Date") and entered into by and among PIA ASSETS, LLC, a
 Missouri limited liability company ("PIA Assets"), FIVE STAR LIFESTYLES, LLC, a Missouri
 limited liability company ("Five Star"), and DOUBLE EAGLE BUILDERS, LLC, a Missouri
 limited liability company ("Double Eagle") and James S. Allen, Jr., an individual resident of the
 State ofMissouri ("Employee").
                                      Preliminary Statements
      A.     Employee and PIA Assets are parties to that certain Employment Agreement (the
"Original Agreement") dated October 9, 2006 setting forth the terms and conditions of
Employee's employment by PIA Assets.
        B.  Five Star and Double Eagle are wholly owned subsidiaries of PIA Assets, for
which Employee has performed substantial duties in the course of his emplo)111ent with PIA
Assets.
       C.      In connection with a non·taxable event transaction involving certain loans being
made to PlA Assets by Employee and PI Lending, LLC, PIA Assets desires to assign, and Five
Star desires to assume, the obligations of PIA Assets under the Original Agreement upon the
amended and restated terms and conditions stated herein.
                                                Agreement
       NOW, THEREFORE, in consideration of the mutual undertakings contained herein and
other good and valuable consideration, the receipt and sufficiency of which is hereby
acknowledged, the parties hereto agree as follows:
                                            ARTICLE I
                                            Employment

                1.1     Assignment, Assumption, and Employment. As of the Effective Date, PIA
Assets assigns, and Five Star assumes, all of the rights and obligations arising in connection with
Employee's employment after the Effective Date, including, without limitation, those rights and
obligations under the terms and conditions stated herein. Five Star hereby agrees to employ
Employee, and Employee hereby accepts employment with Five Star, upon the terms and
conditions set forth in this Agreement and te11ninating as provided in Section 1.4 ("Employment
Period").
                1.2    Position ang_l)uj:i~~·
               (a)      Dming the Employment Period, Employee will serve as President of Five
Star, and will perfo1m such executive and managerial duties normally associated with such
position, will have overall responsibility for Five Star's assets and will have such additional
duties, responsibilities and authority as will be reasonably assigned to him from time to time by
the Board of Managers of Five Star (the "Board").
                (b)      Employee will perform his duties and responsibilities to the best of his
abilities on a full·time basis in a diligent, trustworthy and businesslike manner, and may perform
his duties either at or away from Five Star's offices, as appropriate for the business needs of Five

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                                                                       EXHIBIT
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 Star. In the performance of his duties hereunder, Employee will at all times report to and be
 subject to the lawful direction of the Board.
                    1.3   Compensation and Benefits.
                (a)     Until January 18, 2010, Employee's Base Salary shall remain as stated in
 the Original Agreement. Effective January 18,2010 and continuing throughout the remainder of
 the Employment Period, Employee's base salary will be One Hundred Fifty Thousand and
 1\o/100 Dollars ($150,000.00) per annum (such salary, the "Base Salary"). The Base Salary will
 be payable in regular bi-weekly installments in accordance with Five Star's general payroll
 practices and will be subject to deductions for customary withholdings for federal, state and local
 taxes.
               (b)     Five Star will provide to Employee, without charge of any kind including,
but not limited to, any initial fee, dues or similar charges, membership at all clubs owned and/or
operated by PIA Assets or any of its subsidiaries or affiliates (collectively, the "PIA
Companies"). Such membership will remain in effect following the end of the Employment
Period and will continue for Employee's lifetime or for as long as PIA Assets has operating
control of such clubs. Such membership will also allow Employee to purchase food, drink and
merchandise at the most favorable rates made available by the PIA Companies, with an
allowance of $2,500.00 per month for the purpose of making such purchases.
                (c)  Employee's Base Salary under sub~cctio.Q__{i.!} will be increased effective
January I of each year by the percentage increase in the Consumer Price Index for All Urban
Consumers over the immediately preceding twelve calendar months for which such infonnation
is then available.
               (d)     Employee will also be entitled to payment or reimbursement by Five Star
of all expenses incurred by Employee in connection with the performance of his duties
hereunder, plus all legal costs and expenses (if any, up to the amount of $50,000.00) incuJTed to
enforce this Agreement;
              (e)     Five Star will provide Employee with the use of an automobile, of
Employee's choice, to be owned or leased by Five Star, with the monthly lease cost not to exceed
$750.00. In addition, Five Star will arrange and provide for appropriate levels of insurance on
such automobile.
                 (f)    Five Star will pay Employee, as additional compensation, a percentage of
the Profit (as defined below) that Double Eagle generates prior to the tenth (1 01h) anniversary of
the Effective Date. For each calendar year, Employee will receive the first One Hundred
Thousand and No/100 Dollars ($100,000.00) of Profit and twenty-five percent (25%) of all Profit
thereafter. As used herein, "Profit" shall mean the Gross Income (as defined in Exhibit A) of
Double Eagle, less Cost of Goods Sold (as defined in Exhibit A), less Overhead (as defined in
Exhibit A). All computations of Overhead and Cost of Goods Sold will exclude payments made
by Double Eagle to any other PIA Companies. Payments under this subsection shall be made to
Employee no later than thirty (30) days after end of the calendar year dming which such sales,
transfers, or other dispositions occur. Until the tenth (1oth) anniversary of the Effective Date, the
PIA Companies will continue to use Double Eagle as the entity which is the non-exclusive
prefeJTed builder of homes, consistent with past practices of the PIA Companies, at the


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 developments commonly known as "The National" and "Loch Lloyd", and that the PIA
 Companies, or any successors thereof, will not direct the operations or any transactions that have
 the purpose or effect of avoiding or limiting Profit of Double Eagle.
                 (g)    In addition to the foregoing, Employee will be entitled, during the
 Employment Period (and following the Employment Period to the extent provided in any plans,
 policies, programs or arrangements described below), to participate in all retirement, pension,
 savings, health, medical, dental, disability, insurance and other fringe benefit plans, policies,
 programs or arrangements of the PIA Companies generally available to executive employees
 (whether now or hereafter provided to such employees) in accordance with the terms thereof
 (collectively, "Benefits"), which will at a minimum consist of the following:
                      (1)   Six (6) weeks of paid vacation per year;
                 (2)    Continuation of Employee's Base Salary for up to twelve (12) months
         during any period of short-tetm disability during which Employee is unable to perfonn
         his duties under this Agreement;
                (3)     Five Star will pay tl1e premiums on a long-term disability insurance policy
         providing a benefit of sixty percent (60%) of Employee's Base Salary (or if greater, in
         accordance with Five Star's policies) in the event of Employee's continued disability
         following the period set forth in paragraph (2);
                 (4)     Five Star will pay the premiums on a term life insurance policy on the life
         of the employee in the face amount of Six Million and Noll 00 Dollars ($6,000,000.00)
         for the benefit of Five Star (the "Life Insurance Policy").
                (5)         Five Star will maintain a health care plan covering Employee and his
         spouse; and
                (6)    Five Star will maintain a 401(k) plan, in accordance with Section 40l(k)
         of the Intemal Revenue Code of 1986, as amended, in which Employee will be
         immediately eligible to participate and to contribute the maximum contribution permitted
         bylaw.
                  1.4       Tenn.
               (a)     The Employment Period will terminate on the date that is ten years after
the Effective Date; provided, however, that the Employment Period will continue for successive
periods of one year thereafter unless either Five Star or Employee gives written notice of
tetmination to the other party on or before the date that is six months prior to the date the
Employment Period would otherwise end. Notwithstanding the foregoi11g, the Employment
Period will be subject to earlier termination only upon the following circumstances in accordance
with the terms of this Agreement: (i) by Five Star for justifiable business reasons in accordance
with Section 1.4(b), (ii) by reason of Employee's death, (iii) by reason of Employee's disability,
or (iv) upon Employee's voluntary resignation.
              (b)     Five Star may terminate Employee's employment for justifiable business
reasons ("Company Termination") upon sixty (60) days prior written notice from Five Star to
the Employee ("Company Notice of Termination"). As used herein, 'justifiable business
reasons" does not include, among other similar things, the avoidance of paying any obligations

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owing to Employee under the te1ms of this Agreement or otherwise. In the event of any dispute
as to justifiable business reasons, it shall be Five Star's burden to evidence and establish such
circumstances. Upon the occurrence of a Company Termination, Five Star will pay to Employee
all earned and accrued but unpaid Base Salary, allowances and expense reimbursements until the
date sixty (60) days after the date the Employee receives the Company Notice of TemJination.
Additionally, with respect to the obligations under that certain Promissory Note dated on or about
the date hereof in the original principal an1ount of Nine Hundred Thousand and No/100 Dollars
($900,000.00) and executed by PIA Assets in favor of Employee (the "Note"), Five Star will pay,
or cause to be paid, to Employee, a principal payment of Six Hundred Thousand and Nofl 00
Dollars ($600,000.00) no later than sixty (60) days of the effectiveness of a Company
Termination. The remaining principal and all outstanding interest having accrued and thereafter
accruing thereon will be amortized over a three year period and will be paid to Employee in three
equal installments, each paid no later than January 1 of each of the first three calendar years
following the effectiveness of the Company Tennination.
                 (c)     If Employee's employment is terminated as a result of his death, Five Star
 will pay to Employee's estate all previously earned and accrued but unpaid Base Salary and other
 compensation hereunder, allowances and expense reimbursements up to the date of his death,
 plus a payment equal to Six Million and 00/100 Dollars ($6,000,000.00) in cash ("Payment
 Upon Death"). The Payment Upon Death will be paid upon the earlier of: (i) the date Five Star
 receives the Life Insurance proceeds from the Life Insurance Policy; or (ii) the date six (6)
 months after the date of the Employee's death. Notwithstanding the preceding sentence, Five
 Star's obligation to make the Payment Upon Death will be subject to payment of the proceeds by
 the issuer of the Life Insurance Policy; provided, however, that Five Star will remain obligated to
make the Payment Upon Death as otherwise required herein if proceeds of the Life Insurance
 Policy are not paid because of Five Star's breach of its obligations under this Agreement (i.e. the
non-payment of premiums or voluntary termination or amendment to the Life Insurance Policy).
Five Star will also provide to Employee's spouse and dependents any Benefits continuing after
the death of Employee in accordance with their terms and conditions. Five Star shall purchase,
and shall maintain in force throughout the Employment Period, the Life Insurance Policy in an
amount sufficient to enable Five Star to pay the Payment Upon Death out of the proceeds of such
life insurance policy in the event of Employee's death. Further, during the Employment Period,
the Life Insurance Policy will not be materially different than the Life Insurance Policy in effect
under the tem1s of the Original Agreement. Upon the Payment Upon Death being made, any
membership interests in any of the PIA Companies then held by the Employee (other than rights
to those which Employee may hold as security for the Note or other obligations of the PIA
Companies to him), if any, will tenninate and revert back to the issuing entity and all outstanding
obligations of PIA Assets tmder the Note shall tenninate. If the Payment Upon Death is not
made within six (6) months of Employee's death (whether such non-payment is pennitted
hereunder or not), Five Star will pay, or cause to be paid, to Employee's estate, a principal
payment of Six Hundred Thousand and No/! 00 Dollars ($600,000.00) on the Note no later than
fifteen (15) days following expiration of said six (6) month period. Thereafter, the remaining
principal and all outstanding interest having accrued and thereafter accruing on the Note will be
amortized over a three year period and will be paid to Employee's estate or devisees in three
equal installments, each paid no later than January 1 of each of the first three calendar years
following the year in which the initial principal payment is made. If the Payment Upon Death is

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 not made for any reason, Employee's membership interests in any of the PTA Companies will not
 be affected.
                (d)  Employee's employment with Five Star will terminate in the event of
Employee's disability within the meaning of the long-tenn disability policy described in
Section 1.3(g). If Employee's employment is terminated as a result of disability, Five Star will
pay to Employee all earned and accrued but unpaid Base Salary, allowances and expense
reimbursements up to the date the Employee became disabled, plus within sixty (60) days of the
date the Employee became disabled, all principal and interest outstanding under the Note, and
will provide to Employee and his spouse and dependent any Benefits continuing after termination
of employment in accordance with their terms and conditions.
                 (e)   Employee may resign from employment with Five Star by giving thirty
(30) days written notice to Five Star. If during the Employment Period Employee's employment
is ten11inflted upon Employee's voluntary resignation, Five Star will pay to Employee all earned
and accrued but unpaid Base Salary, allowances and expense reimbursements until the date thirty
(30) days after the date the Employee provides Five Star with written notice of the Employee's
voluntary resignation, and will provide to Employee and his spouse and dependents any Benefits
continuing after termination of employment in accordance with their te1111s and conditions.
               (f)     In additional to all other lights and benefits otherwise accruing or
contained herein, including without limitation any continuing Benefits, if Five Star tetminates the
employment of Employee for justifiable business reasons (unless such tennination is For Cause,
as defined below) prior to the tenth (lOth) anniversary of the Effective Date, Five Star will pay
Employee, no later than fifteen (15) days after the datt: of su~;h termination, a sum equal to one
year's Base Salary. As used herein, "For Cause" means (I) Employee's material breach of any
of Employee's obligations under this Agreement, or Employee's repeated failure or refusal to
materially perfonn or observe Employee's duties, responsibilities and obligations as an
Employee of Five Star, for reasons other than disability; (2) Conviction of Employee of a felony
involving misrepresentation or fraud; (3) Commission by Employee of acts or failure to act
which constitutes willful misconduct or gross negligence, any of which could reasonably be
expected to materially injure the reputation, business or business relationships of Five Star and/or
Employee.
              (g)     Except as otherwise provided, any payments pursuant to this Section 1.4,
will be made on the payment dates on which Employee's Base Salary and allowances would have
otherwise been paid if the Employment Period had continued.
                 (h)    In the event the Employee no longer is an employee of Five Star, Five Star
will either (i) cause the Employee to be fully and completely released from all liabilities, costs,
obligations or guaranties of any nature directly or indirectly associated with the PIA Companies
or any of the PIA Companies' operations (collectively "Company Obligations") within twelve
(12) months after the date Employee's employment tem1inates ("12 Month Period"); or (ii) fully
and completely indemnify and hold harmless Employee with respect to all existing and future
Company Obligations pursuant to the tenns and conditions of an indemnification agreement
which will be in a fonn acceptable to Employee; provided, however, in circumstance (i) above,
Five Star and the othet· PlA Companies will fully and completely indemnify and hold hmmless
the Employee during the 12 Month Period.


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                 (i)    During the 12 Month Period, Employee will not: (i) participate in, or be
 involved in any manner with, the hiring (or any attempt to hire) as an employee any person who
 is, at the time of such hiring or attempted hiring, an employee of Double Eagle or Five Star; or
 (ii) otherwise induce or attempt to induce any employee of Double Eagle or Five Star to leave the
 employ of either such company.
                                           ARTICLEJT
                                           Miscellaneous

                2.1    Survival. Section 1.3 and, to the extent the tenus and conditions of any
 Benefits provide for continuation after termination of employment, will survive and continue in
 full force in accordance with its tetms notwithstanding any tennination of the Employment
 Period.
                 2.2    Notices. All notices, demands or other communications to be given or
delivered under or by reason of the provisions of this Agreement wiJI be in writing and will be
deemed to have been given when delivered personally, mailed by certified or registered mail,
return receipt requested and postage prepaid, or sent via a nationally recognized overnight
courier, or sent via facsimile to the recipient. Such notices, demands and other communications
will be sent to the address indicated below:
                  To Five Star:
                         c/o PIA Assets, LLC
                         11504 Pawnee Circle
                         Leawood, Kansas 66211
                  To Employee:
                         James S. Allen, Jr.
                         7001 Waters Edge
                         Parkville, Missouri 64152
                  With a copy to:
                         Michael J. Royle
                         Bryan Cave LLP
                         1200 Main Street, Suite 3500
                         Kansas City, Missouri 641 05
                         Facsimile: (816) 374-3300
or such other address or to the attention of such other person as the recipient party will have
specified by prior w1itten notice to the sending party.
               2.3    _Sev~ability. Whenever possible, each provision of this Agreement will be
inteqxeted in such mmmer as to be effective and valid under applicable law, but if any provision
of this Agreement is held to be invalid, illegal or unenforceable in any respect under any
applicable law or rule in any jurisdiction, such invalidity, illegality or unenforceability will not
affect any other provision or any other jurisdiction, but this At,rreement will be refmmed,
construed and enforced in such jurisdiction as if such invalid, illegal or unenforceable provision
had never been contained herein.


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              2.4      Complete Agreement.          This Agreement and the other agreements
referenced herein, constitute the complete agreement and understanding among the parties and
supersedes and preempts any other prior understandings, agreements or representations by or
among the parties, \VTitien or oral, including, without limitation, the Original Agreement.
              2.5    Counterparts. This Agreement may be executed in separate counterparts,
each of which is deemed to be an original and all of which taken together constitute one and the
same agreement.
               2.6     Successors and Assigns. Except as otherwise provided herein, all
covenants and agreements contained in this Agreement will bind and inure to the benefit of and
be enforceable by all of the parties hereto and their respective successors and assigns. Except as
otherwise specifically provided herein, this Agreement, including the obligations and benefits
hereunder, may not be assigned to any party to hereto.
                 2.7    No Strict Construction. The language used in this Agreement will be
deemed to be the language chosen by the parties hereto to express their mutual intent, and no rule
of strict construction will be applied to this Agreement.
                2.S   Descriptive Headings. The descriptive headings of this Agreement are
inserted for convenience only and do not constitute a part of this Agreement.
                2.9     Governing Law. All questions concerning the construction, validity and
interpretation of this Agreement will be governed by and construed in accordance with the
domestic law of the State of Missouri, without giving effect to any choice of law or conflict of
law provision or rule (whether of the State of Missouri or any other jurisdiction) that would cause
the application of the laws of any jurisdiction other than the State of Missouri.
                2.10 Remedies. Each of the parties to this Agreement will be entitled to
enforce its rights under this Agreement specifically, to recover damages and costs (including
reasonable attorneys' fees) caused by any breach of any provision of this Agreement and to
exercise all other rights existing in its favor.
             2.11 Amendment and Waiver. The provisions of this Agreement may be
amended and waived only with the prior written consent of Five Star and Employee.
               2.12 Guaranty. PIA Assets, on behalf of itself and each of the other PIA
Companies, unconditionally and irrevocably guarantees, as primary obligor and not merely as
surety, to Employee the due and punctual perfonnance, observance and discharge of each term,
provision, duty, covenant and agreement of Five Star and Double Eagle contained in, and the due
and punctual payment (when and as the same may become due and payable) of each amount
which Five Star or Double Eagle is or may become obligated to pay pursuant to this Agreement.
PIA Assets, on behalf of itself and each of the other PIA Companies, hereby waives promptness,
diligence and notice as to the obligations and covenants contained herein, and waives any other
circumstance which might otherwise constitute a legal or equitable discharge, release or defense
of a guarantor or surety, or that might otherwise limit the obligations of PIA Assets and the other
PIA Companies under this Agreement. PIA Asset's and the other PIA Companies' guaranties
hereunder are a guaranties of payment, performance and compliance and not of collection, and
PIA Assets and the other PIA Companies waive any right to require that any action be brought
against Five Star.

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                2.13   Effectiveness. This Agreement will only become binding and effective
upon: (a) its execution ;md delive1y by all parties, and (b) the execution and delivery of the Note
in tonn and substance satisfactory to Employee.


                           [remainder of page intentionally left blank]




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                                                                                           PC000823
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       IN WITNESS WHEREOF, the parties hereto have executed this Amended and Restated
 Employmt)nt Agreement as of the date first written above.


                                               PIA ASSETS, LLC,
                                               a Missouri limited liability company, on behalf of
                                               itself and each of the other PIA Companies (as
                                               defined herein)

                                               FIVE STAR LIFESTYLES, LLC,
                                               A Missouri limited liability company

                                               DOUBLE EAGLE BUILDERS, LLC,
                                               a Missouri limited liability company

                                               By: _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                    Cliff Illig. as authorized signatory of PIA
                                                    Assets, LLC, Five Star Lifestyles, LLC,
                                                    Double Eagle Builders, LLC and all other PIA
                                                    Companies

                                              Dme: __________________________________




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                     Signature Page to Amended and Restated Employment Agreement




                                                                                         PC000824
                                                                                                         Electronically Filed - Platte - October 04, 2016 - 08:13 AM
                                            Exhibit A
                                        Computation of Profit

 "Cost of Goods Sold" means the cost, as reflected in the books and records of Double Eagle, of
 all real estate and other inventory sold during the applicable calendar year, including the interest
 on the indebtedness of Double Eagle directly attributable to its operations, determined on a cash
 basis using the accepted accounting principles consistently applied by PIA Companies in the
 three calendar years preceding the Effective Date (the "Accounting Principles").

 "Gross Income" means all revenues received, or to be recognized according to the Accounting
 Principles from all operations or sales, transfers or other dispositions of real estate by Double
 Eagle of the developments commonly known as "'The National" or ''Loch Lloyd", including,
 without limitation all real estate commissions accruing through such activities.

"Overhead" means the administrative expenses, as renected in the honks and reeords of Double
Eagle, attributable to the operations of Double Eagle to be recognized in a given calendar year, as
detennined in accordance with the Accounting Principles.




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                EXHIBIT C
                                                                                                                           Electronically Filed - Platte - October 04, 2016 - 08:13 AM
Karen Virgillito

From:                              Deborah Smeltzer <IMCEAEX-_0= FIRST+ 200RGANIZATION_OU =EXCHANGE+
                                   20ADMINISTRA TIVE + 20GROUP+ 20+ 28FYDIBOHF23SPDLT + 29
                                   _CN=REOPIENTS_CN=DEBORAH+20SMELTZER845342F4@pandicapital.com>
Sent:                              Wednesday, April 25, 2012 9:13 AM
To:                                Maureen Evans
Subject:                           $817K Note from PIA to Jim Allen
Attachments:                       1785_001.pdf



Maureen,

We wrote the note in late October 2010 and had Cliff sign it. Cliff asked us to hold it as he did not want to ask Jim to
sign at the time. Attached is what we have.

Deborah




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                                                                                                            PC000849
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              Summary of Promissory Note
       Note from PIA Assets to James S. Allen, Jr.
     $817,585 Promissory Note Dated January 1, 2010

Note Summary
Promissory Note of $817,5 85 is issued from PIA Assets, LLC to James S. Allen, Jr. as of
January 1, 2010.

This is a new note for amounts loaned to PIA Assets from James S. Allen, Jr.



Interest Rate and Maturity Date
Interest on note is calculated at 20% IRR and note matures January 1, 2013.



Promissory Note Signatures:
Clifford W. Illig, on PIA Assets, LLC                Date Signed:
James S. Allen, Individual                           Date Signed:._ _ _ __!___ _




Limited Guaranties on Note:
There are no guaranties associated with this note.
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                                      PROMISSORY NOTE



$817,585.00                                                                        January 1, 2010

        For value received, the undersigned, PIA Assets, LLC, a Missouri limited liability
company ("Borrower"), promises to pay to the order of James S. Allen, Jr., an individual
resident of the State of Missouri ("Lender"), the principal sum of Eight Hundred Seventeen
Thousand Five Hundred Eighty-Five and No/100 Dollars ($817,585.00) (the "Prineipal"), with
interest thereon at the Interest Rate (as hereinafter defined), and to be payable as follows:

         A.      Borrower shall pay all accrued and outstanding interest at the Interest Rate on the
Maturity Date;

        B.     Borrower shall pay all outstanding principal and accrued interest together with the
IRR True Up (defined below) and all other amounts owed pursuant to this note (the "Note") on
the third anniversary of the date hereof (the "Maturity Date"), unless earlier accelerated
pursuant to the terms of this Note.

       All payments to be made by Borrower to Lender shall be deemed received by Lender
only upon Lender's actual receipt of the same.

        1.     Interest. Interest shall accrue at the Interest Rate on the outstanding Principal
balance at the end of each day on which any amount is outstanding under this Note. Interest
shall be calculated on a daily basis (computed on the actual number of days elapsed over a year
of 360 days), commencing on the date of this Note, and shall be based upon the outstanding
Principal balance at the end of each day.

         2.      Definitions; and Construction.

               (a)     When used in this Note, the following terms have the following meanings
(terms defined in the singular have the same meaning when used in the plural and vice versa):

                        "Excess Cash Flow" means the net amount of cash flow (after debt-
service) generated by Borrower determined by Borrower's accountants based on earnings before
interest, taxes, depreciation and amortization.

                        "Interest Rate" means a rate equal to the IRR True Up.

                      "IRR True Up" means an amount necessary such that, after the payment
of which, as of such date, Lenders' internal rate ofretum (as calculated using Microsoft Excel's
XIRR function) on the Loan will be 20%.

                        "Loan" means the loan evidenced by this Note.




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                        "Usury Law" means any Jaw or regulation of any governmental authority
 having jurisdiction, limiting the amount of interest that may be paid for the loan, use or detention
 of money.

                (b)   An Event of Default shall "continue" or be "continuing" until such Event
 of Default has been waived in writing by Lender.

        3.      Usury. All agreements contained in this Note are expressly limited so that in no
event whatsoever shall the amount paid or agreed to be paid by or on behalf of Borrower to
Lender for the use, forbearance or detention of money exceed the highest lawful rate permissible
under any applicable Usury Law. If, from any circumstances whatsoever, compliance with this
Note, at the time performance thereunder shall be due, shall involve transcending the limit of
validity prescribed by law which a court of competent jurisdiction may deem applicable thereto,
then, ipso facto, the obligations to be fulfilled shall be reduced to the limit of such validity. If
from any circumstance, Lender shall ever receive as interest an amount which would exceed the
highest lawful rate, such amount which would be excessive interest shall be applied to the
reduction of the unpaid principal balance due under this Note and not to the payment of interest.
This provision shall control every other provision of all agreements between Borrower and
Lender; provided, however, that there shall be no automatic reduction of such payments or
obligations as to any party barred by law from availing itself in any action or proceeding of the
defense of usury, or any party barred or exempted from the operation of any Usury Law, or in the
event and to the extent the Loan, because of its amount or purpose or for any other reason, is
exempt from the operation of the Usury Law.

         4.    Prepayment.

               (a)     Voluntary Prepayment.      This Note may be prepaid in whole or in     part at
anytime.

               (b)    Mandatory Prepayment. On the fifteenth day (15th) day of February,
May, August and December, Borrower shall prepay this Note in the amount of all Excess Cash
Flow for the three calendar months ended December, 31, March 31, June 30 and September 30,
respectively.

              (c)    Application of Prepayments.          All prepayments will be allocated as
determined by Lender.

       5.       Conditions of Lending. Lender shall not be obligated to continue to make the
Loan under this Note unless the following statements shall be true: (i) the representations and
warranties of Borrower contained herein are correct on and as of the date of the Loan, and (ii)
there exists no Event of Default as of such·date, nor would any Event of Default result from the
making of the Loan requested by Borrower.

         6.    Representations and Warranties.

               (a)    Organization, Existence and Corporate Names. Borrower (i) is duly
formed, validly existing and in good standing under the laws of the Kansas, (ii) is in good
standing in all other jurisdictions in which it is required to be qualified to do business as a

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 foreign entity, and (iii) has obtained all licenses and pennits and has filed all registrations
 necessary to the operation of its business (except where the failure to so qualify or to obtain such
 licenses or permits would not materially and adversely affect the actual or prospective business,
 financial condition or operations of Borrower).

                (b)    Authorization. The execution, delivery and performance by Borrower of
this Note: (i) are within Borrower's organizational powers; (ii) have been duly authorized by all
necessary action; and (iii) do not contravene any Borrower's certificate formation or operating
agreement or any law or contractual restriction binding on or affecting Borrower or its
properties.

        7.     Covenants. So long as any amounts remain unpaid under this Note or Lender
shall have any commitment to extend credit to or for the benefit of Borrower, unless otherwise
consented to in writing by Lender, Borrower covenants to Lender as follows:

                (c)    Compliance with Laws. Borrower shall comply in all material respects
with all applicable laws, rules, regulations and orders affecting Borrower or its properties.

                (d)    Reporting Requirements. Borrower shall furnish to Lender:

                       (i)    Year-End Statements. As soon as available and in any event
within one hundred twenty (120) days after the end of each fiscal year financial statements
including statements of income and stockholders' or members' equity and cash flow from the
beginning of the current fiscal year to the end of such fiscal year and for such year and the
balance sheet as at the end of such fiscal year, all prepared in accordance with GAAP applied on
a basis consistent with prior practices, and in reasonable detail and reported upon without
qualification, except for the effects of reporting depreciation based on rates and lives for tax
purposes rather than as required by GAAP as set forth therein; and

                       (ii)    Other. Such other information respecting the condition or
operations, financial or otherwise, of the Borrowers as Lender may request from time to time.

All financial statements as to which GAAP is applicable shall be complete and fairly present in
all material respects (subject, in the case of interim financial statements, to normal year-end audit
adjustments) and to be prepared in reasonable detail and in accordance with GAAP applied
consistently throughout the periods reflected therein (except as concurred in by such reporting
accountants or officer, as the case may be, and disclosed therein and except as qualified for the
effects of reporting depreciation based on rates and lives for tax purposes rather than as required
byGAAP).

         8.    Default.

               (a)     Events of Default. Any one or more of the following events shall
constitute an event of default (each, an "Event of Default") under this Note:

                      (i)    Borrower fails to timely pay the Principal under this Note in
accordance with the terms ofthis Note; or


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                        (ii)  Borrower fails to timely pay any interest under this Note in
 accordance with the tenns of this Note and such failure continues more than five (5) days after
 such interest was due and payable; or

                        (iii)   Borrower fails or neglects to timely perform, keep, or observe any
 other term, provision, condition, covenant, or agreement contained in this Note; or

                       (i)    Borrower breaches any other agreement with Lender or fails or
 neglects to timely perform, keep, or observe any other term, provision, condition, covenant, or
 agreement contained therein; or

                      (ii)    Borrower defaults in any material respect on any other
 indebtedness of Borrower; or

                        (iv)   Borrower makes an assignment for the benefit of creditors or is
unable to pay its debts and obligations generally as they become due, or an order, judgment,
decree or injunction is entered adjudicating Borrower bankrupt or insolvent or requiring the
dissolution or split up of Borrower or preventing Borrower from conducting all or any part of its
business; or any order for relief with respect to any Borrower is entered under Title II of the
United States Code (as amended, modified, supplemented or replaced from time to time); or

                        (v)     Borrower petitions or applies to any tribunal for the appointment
of a custodian, trustee, receiver or liquidator of Borrower, or of any substantial part of the assets
of Borrower, or commences any proceeding relating to Borrower under any bankruptcy
reorganization, arrangement, insolvency, readjustment of debt, dissolution or liquidation or
similar laws of any jurisdiction now or hereafter in effect; or any such petition or application is
filed, or any such proceeding is commenced, against Borrower and either (i) Borrower by any act
indicates its approval thereof, consent thereto or acquiescence therein or (ii) such petition,
application or proceeding is not dismissed within 60 days.

               (b)     Acceleration upon Event of Default. Upon the occurrence of any Event
of Default (whether or not Lender has knowledge that such Event of Default exists), then the
Loan shall, at the option of Lender immediately become due and payable without demand and
without notice to Borrower or any other person or entity. Notwithstanding the foregoing, upon
the occurrence of an Event of Default described in Section 8(a)(iv} or (y), the debt shall be
immediately due and payable automatically without presentment, demand, protest or notice of
anykind.                                    ·

         9.    Lender's Rights and Remedies.

                (a)   Rights and Remedies. Upon the occurrence, and during the continuation,
 of an Event of Default: (i) Lender shall have all rights and remedies available to it at law or
 equity for collection of the amounts due under this Note; (ii) Lender shall have alJ rights,
 powers and remedies available to it under any applicable law or as otherwise provided at law or
 in equity; (iii) Borrower shall pay to Lender, in addition to the sums stated above, the
 reasonable costs of collection, regardless of whether litigation is commenced, including any
 reasonable attorneys' (and any other consultants' or experts') fees, expenses and other costs, to
 the extent not prohibited by law; and (iv) notwithstanding any other provision of this Note,

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  during the period of existence of such Event of Default, interest on the Loan evidenced by this
  Note shall accrue and be paid, not at the Interest Rate, but at the lesser of (A) the Default Rate,
  or (B) the maximum lawful rate of interest under the applicable Usury Law, if any. "Default
  Rate" shall mean, a rate per annum equal to the lesser of (a) the maximum rate permitted by
  applicable law, or (b) five percent (5.0%) above the applicable Interest Rate.

                 (b)    Remedies Cumulative. Lender's rights and remedies under this Note and
  all other agreements related to this transaction shall be cumulative. Lender shall have all other
  rights and remedies not inconsistent with this Note as provided by law or in equity. No exercise
  by Lender of one right or remedy shall be deemed an election, and no waiver by Lender of any
  Event of Default shall be deemed a continuing waiver. No delay by Lender shall constitute a
  waiver, election, or acquiescence by it.

                (c)    Borrower's Approvals, Ratifications, and Waivers.

                        (i)    Except as expressly set forth in this Note, to the fullest extent
permitted by applicable law, Borrower, for itself, and its successors and assigns, expressly
waives presentment, demand, protest, notice of dishonor, protest, notice of protest, notice of
intent to accelerate, notice of acceleration, and any and all other notices, demands and consents
in connection with the delivery, acceptance, performance, default or enforcement of this Note,
and hereby further waives stay of execution and all suretyship defenses to payment generally.
No release of any security held for the payment of this Note, or extension of any time periods for
any payments due under this Note, and no alteration, amendment or waiver of any provision of
this Note, shall modifY, waive, extend, change, discharge, terminate or affect the liability of
Borrower under this Note.

                       (ii)    No delay or omission on the part of Lender or any holder of this
Note in exercising its rights under this Note, or course of conduct relating thereto, shall operate
as a waiver of such rights or any other right of Lender or any holder of this Note, nor shall any
waiver by Lender, or any holder of this Note, of any such right or rights on any one occasion be
deemed a bar to, or waiver of, the same right or rights on any future occasion.

                       (iii)  Borrower covenants and agrees that it is liable with respect to all of
the obligations under the Note. Upon the occurrence of any Event of Default and at any time
thereafter, Borrower covenants and agrees that Lender may, in its sole and absolute discretion,
proceed directly against Borrower or any other person or entity liable for the payment or
performance of the Note, or any or all of the collateral, or other security for the Note, and/or any
combination of the foregoing, in one or more claims, actions or proceedings, whether or not any
such claims, actions or proceedings are instituted simultaneously or at different times.

        10.     Revival and Reinstatement of Note. To the extent that any payment to Lender
in reduction of the Loan is subsequently invalidated, declared to be fraudulent or preferential, set
aside and/or required to be repaid to a trustee, to Borrower (or Borrower's successor) as a debtor-
in-possession, or to a receiver or any other party under any bankruptcy law, state or federal law,
common law or equitable cause, then the portion of the Loan intended to have been satisfied by
such payment or proceeds shall remain due and payable and shall continue in full force and
effect as if such payment or proceeds had never been received by Lender whether or not this


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 Note has been marked "paid" or otherwise canceled or satisfied and/or has been delivered to
 Borrower, and in such event Borrower shall immediately return the original Note to Lender and
 any marking of"paid" or other similar marking shall be of no force and effect.

         11.   Lender's Fees, Expenses and Costs. Borrower shall pay to Lender, upon
 demand, all expenses, costs, charges, disbursements, and reasonable attorneys' fees incurred by
 Lender in connection with the underwriting, origination, making, documentation, administration,
 enforcement and/or collection of the Loan, and all such amounts incurred by Lender shall be part
 of the Loan.

         Statutory Language; Oral Agreements

         (a)  THIS IS THE FINAL EXPRESSION OF THE AGREEMENT BETWEEN
         BORROWER AND LENDER, AND THIS AGREEMENT MAY NOT BE
         CONTRADICTED BY EVIDENCE OF ANY PRIOR ORAL AGREEMENT OR OF A
         CONTEMPORANEOUS ORAL AGREEMENT BETWEEN BORROWER AND
         LENDER.

         (b)  BORROWER    AND    LENDER   ACKNOWLEDGE      THAT   ALL
         NONSTANDARD TERMS OF THIS AGREEMENT AND ALL PRIOR ORAL
         AGREEMENTS AND CONTEMPORANEOUS ORAL AGREEMENTS BETWEEN
         THEM ARE SUFFICIENTLY SET FORTH HEREIN EXCEPT (IF NONE, WRITE
         "NONE"):

         NONE.

         BORROWER AND LENDER FURTHER ACKNOWLEDGE THAT THE ABOVE
         SPACE IS SUFFICIENT FOR DISCLOSURE OF TERMS AND AGREEMENTS, IF
         ANY, NOT SET FORTH IN THIS AGREEMENT.

         (c) BORROWER AND LENDER AFFIRM THAT NO UNWRITTEN ORAL -
         AGREEMENT BETWEEN THEM EXISTS.

         BORROWER'S INITIALS:
         LENDER'S INITIALS:

      12.  Governing Law; Consent to F rum. THIS NOTE SHALL BE GOVERNED
BY THE LAWS OF THE STATE OF MISS URI WITHOUT GIVING EFFECT TO ANY
CHOICE OF LAW RULES THEREOF. AS PART OF THE CONSIDERATION FOR NEW
VALUE THIS DAY RECEIVED, BORROWER HEREBY CONSENTS TO THE
JURISDICTION OF ANY STATE AND FEDERAL COURTS LOCATED WITHIN THE
STATE OF MISSOURI, AND WAIVES PERSONAL SERVICE OF ANY AND ALL
PROCESS UPON IT AND CONSENTS THAT ALL SUCH SERVICE OF PROCESS BE
MADE BY CERTIFIED OR REGISTERED MAIL AND SERVICE SO MADE SHALL BE
DEEMED TO BE COMPLETED UPON ACTUAL RECEIPT THEREOF. BORROWER
W AlVES ANY OBJECTION TO JURISDICTION AND VENUE OF ANY ACTION
INSTITUTED AGAINST IT AS PROVIDED IN THIS NOTE AND AGREES NOT TO
ASSERT ANY DEFENSE BASED ON LACK OF JURISDICTION OR VENUE.

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 BORROWER FURTHER AGREES NOT TO ASSERT AGAINST LENDER (EXCEPT BY
 WAY OF A DEFENSE OR COUNTERCLAIM IN A PROCEEDING INITIATED BY
 LENDER) ANY CLAIM OR OTHER ASSERTION OF LIABILITY WITH RESPECT TO
 THIS NOTE, LENDER'S CONDUCT OR OTHERWISE IN ANY JURISDICTION OTHER
 THAN THE FOREGOING JURISDICTIONS. NOTWITHSTANDING THE FOREGOING,
 LENDER HAS THE RIGHT TO BRING ANY ACTION OR PROCEEDING AGAINST
 BORROWER OR ITS PROPERTY IN ANY COURTS OF ANY OTHER JURISDICTION
 LENDER DEEMS NECESSARY OR APPROPRIATE.

      13.  Waiver of Jury Trial and Counterclaims. TO THE FULLEST EXTENT
PERMITTED BY LAW, AND AS SEPARATELY BARGAINED-FOR CONSIDERATION TO
LENDER, BORROWER HEREBY WAIVES ANY RIGHT TO TRIAL BY JURY (WHICH
LENDER ALSO W AlVES) IN ANY ACTION, SUIT, PROCEEDING OR COUNTERCLAIM
OF ANY KIND ARISING OUT OF OR OTHERWISE RELATING TO THIS NOTE, THE
OBLIGATIONS, THE COLLATERAL, OR LENDER'S CONDUCT IN RESPECT OF ANY
OF THE FOREGOING. TO EFFECTUATE THE FOREGOING, LENDER IS HEREBY
GRANTED AN IRREVOCABLE POWER OF ATTORNEY TO FILE, AS ATTORNEY-IN-
FACT FOR BORROWER, A COPY OF THIS NOTE IN ANY KANSAS COURT, AND THE
COPY OF THIS NOTE SO FILED SHALL CONCLUSIVELY BE DEEMED TO
CONSTITUTE BORROWER'S WAIVER OF TRIAL BY JURY IN ANY PROCEEDING
ARISING OUT OF OR OTHERWISE RELATING TO ANY OF THE CREDIT
DOCUMENTS, THE OBLIGATIONS, THE COLLATERAL OR LENDER'S CONDUCT IN
RESPECT OF ANY OF THE FOREGOING.

         14.   Miscellaneous.

               (a)     Time is of the essence in this Note.

               (b)     Any provision of this Note that is prohibited or unenforceable in any
jurisdiction shall be ineffective to the extent of such prohibition or unenforceability without
invalidating the remaining provisions of this Note in that jurisdiction or affecting the validity or
enforceability of such provision in any other jurisdiction.

               (c)     This Note: (i) constitutes the final expression of the agreement between
Borrower and Lender; (ii) contains the entire agreement between Borrower and Lender
respecting the matters set forth in this Note; and (iii) may not be contradicted by evidence of any
prior or contemporaneous oral agreements or understandings between Borrower and Lender.
Neither this Note nor any of the terms of this Note may be terminated, amended, supplemented,
waived or modified orally, but only by an instrument in writing executed by the party against
which enforcement of the termination, amendment, supplement, waiver or modification is
sought.

               (d)    If there is a conflict between or among the terms, covenants, conditions or
provisions of this Note and any other document, any term, covenant, condition and/or provision
that Lender may elect to enforce from time to time so as to enlarge the interest of Lender in its
security for the Note, afford Lender the maximum financial benefits or security for the Note,
and/or provide Lender the maximum assurance of payment of the Loan in full shall control.


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 BORROWER ACKNOWLEDGES AND AGREES THAT IT HAS BEEN PROVIDED WITH
 SUFFICIENT AND NECESSARY TIME AND OPPORTUNITY TO REVIEW THE TERMS
 OF THIS NOTE WITH ANY AND ALL COUNSEL IT DEEMS APPROPRIATE, AND THAT
 NO INFERENCE IN FAVOR OF, OR AGAINST, LENDER OR BORROWER SHALL BE
 DRAWN FROM THE FACT THAT EITHER SUCH PARTY HAS DRAFTED ANY
 PORTION OF THIS NOTE.

               (e)    Borrower hereby acknowledges the receipt of a copy of this Note, and
 further acknowledges that they have had sufficient opportunity to review this Note with legal
 counsel.

                (f)     Borrower represents and warrants to Lender that Borrower is making this
 Note and borrowing the Loan on Borrower's own behalf, and not as nominee, designee, or agent
 for another, nor is Borrower acting for another in so borrowing the Loan. Borrower agrees that it
 will use the proceeds of the Loan for "business purposes" and not for personal, family or
 household purposes.




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 IN WITNESS WHEREOF, each Borrower has executed and delivered this Note to Lender and
 Lender has accepted this Note from Borrower as of the day and year first above written.

                                        PIA ASSETS, LLC
                                        a Missouri limited liability company
                                                                           •

                                                                          sets, LLC




                                        James S. Allen
                                        an individual

                                        By:    -------------------------~
                                        Name: James S. Allen




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                                                                          Redacted




         -----Original Message-----
         From· St11eve, Pat [mailto·st'leve@st,,evesiegel com[
         Sent: Saturday, April 06, 2013 9:02AM

         Cc: Funk, Andrew
         Subject. Coiifidei 1lial settle• 1lEI 1l   p1   oposal


         Scott: I am prepared to send to you a confidential settlement proposal. Can you conf1rm that your cl1ents will
         keep it confidential and used solely for the purpose of attempting to resolves pending and potential litigation as
         we discussed at our meeting on Monday. My client will treat any response by your clients as confidential as
         well. Thanks. Pat.

         Sent from my i Pad



                  From: Goldstein, Scott J.
                  Sent: P1oAcJay, April 08, 2013 12:22 PP1
                  To: Maureen Evans
                  Cc: Hertel, Richard; Weems,              Oo~glas   M.
                  Subject: RE: bank strategy

                  This works for us as well. Please use call in number:

                   1-888-857-4042

                  Code 816-292-8218. Thanks, sjg


                             From: Maureen Evans [mailto: mevans@pandicapital.com]
                            Sent: Monday, April 08, 2013 12:11 PM
                            To: Goldstein, Scott J.
                            Subject: RE: bank strategy
                            Importance: High




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                                                                                                                           Electronically Filed - Platte - October 04, 2016 - 08:13 AM
               Z:OO this afternoon works for us.




               Yes. Give me a time you aAd KareA are available. sjg




                       Cc: Hertel, Richard; Weems, Douglas M.
                       Subject: R.E. banK strategy

                        co '

                       I just talked to Cliff and he is not available today or tomorrow. Do you want to get on
                       the phone later this afternoon with Karen and I to go through the list and see what we
                       can keep moving along? We can probably get Cliff on a call sometime Wednesday if we
                       determine we still need that.



                       Thanks,



                       MaureeA M. Eva As ICtlief FiAaAcial Officer IPaRdi Capital, LLC Ioffice 816 265 61141 cell




                       Sent: Monday, April 08, 2013 11:08 AM
                       To: Cliff Illig; karen@tifec.com; Maureen Evans
                       Cc: Hertel, Richard; Weems, Douglas M.
                       Subject: RE: bank strategy

                       Here is a list of items I would like to discuss today, which includes Maureen's question
                       below about dealing with the Banks.

                       l.Follow-up regarding Stueve-confidential discussions solely for the purpose of
                       attempting to resolve pending and potentjalljtigatjon     they \r.tj!! treat as confjdentjal


                       2,Making Sblre all resolutions ,notes, min~:.~tes, corporate docyments have been
                       signed, are organized and we have copies of same.

                       3.Bank follow-up:

                       Completion of document gathering on loan documents.

                       Karen/Cliff to work on script to be delivered by Pete.




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               Pete is communicator-does not want Cliff or Neal to be involved-will need to
               harmonize obligation of PIA to indemnify with keeping Allen on guaranties.

               Goals: Allen stays on guaranties-no more Banks providing two sets of
               doc~ments; ~leal and Cliff don't sign any new or additional g~aranties or reaffirmations
               of guaranties; Banks allow Pandi to take a subordinate lien on assets; longer term
               alte11 1ati ves, but fo1 110vv 11eed to deal vvitl1 fi1 st tl11 ee ite1 1IS.

               Meet with l'ete later this weeK to get this underway.

               4. Lawsu1t by Pand1 Capital/Development to protect our nghts:

               Notes   changes to same as necessary.

               Draft Petition.

               Additional fact gathering.

               Tax issues/implications.

               S.PIA/Corporate Governance Misc.:

               Indemnity agreement Pete is working on

               Five-Star meetings for appointment of officers-construct resolutions for officers/
               pos1t1ons-quarterly reports may be lim1t of Boards' mvolvement.

               6.Current cash needs request form Dale.

               Please let me know if there is anything else to discuss. Karen, Maureen, can you let me
               know a good time and whether Cliff is available? Thanks, sjg




                       Scott,

                       When we talk on Monday, can we also address the next steps we are taking
                       with the Banks. Neal wants to know why we haven't approached the Banks and
                       gotten them to go after Jim Allen's guaranty. He says that was our strategy
                       when we got this thing started and he wants to know why we haven't done any
                       of that et.

                       It   is going to   bp hard for mp   to get hjm   to   sign   off on   thjs   npxt   capital   call for
                       Wednesday if I can't explain what we are doing next.




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                                                                                                       Electronically Filed - Platte - October 04, 2016 - 08:13 AM
               Thanks
               Maureen

               Maureen M. Evans IChief Financial Officer I Pandi Capital, LLC Ioffice 816-265-
               61141 cell 9B 269 5&10 Ilax &16 265 61151 mevans@pandicapital.com




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